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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b2e
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12817
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rhonda Pardoe


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0044374
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12818
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Phillip Parker


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Sincerely,

Phillip W. Parker
933 Webb Street
Lafayette, LA 70501




                                                                                           0044375
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b37
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12819
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lawrence J & Theresa M Muskevitsch


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12820
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Anthony


                                  General Comment
The Democrats and Obama should stop being such blatant Nazis.




                                                                                        0044377
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12821
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Julie Perron


                                    General Comment
I object to any government regulations which would:

•require women's health plans to cover sterilization and contraception, including "abortifacients" that
cause abortion

•force many Catholic colleges, schools, and charities to violate their CATHOLIC identity by providing
immoral health benefits

•force college student insurance plans—even on CATHOLIC campuses—to offer FREE birth control
and sterilization to college girls.

The U.S. is a democracy, not a dictatorship.

Sincerely,
Julie Perron




                                                                                             0044378
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                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12822
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Carl Ohnemus


                                  General Comment
Do not take away our rights




                                                                                        0044379
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PUBLIC SUBMISSION                                           Status: Posted
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                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12823
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Susan Zook


                                  General Comment
Stop Now




                                                                                        0044380
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12824
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Larry Bassett
Organization: self


                                   General Comment
While not a Roman Catholic, I am absolutely catholic in nature and fully subscribe to the catholicism
that I profess in the Apostles Creed. That which endangers and offends any within the Body of Christ
offends and endangers all. Accordingly I stand with the Cardinal Newman Society and with the
Roman Catholic Bishops as they proptest against provisions of the Health Care Law that provide for
abortificants or otherwise provide for any type of abortive drug or procedure.
While I look forward to the day when the U. S. Supreme Court reverses Rowe v Wade, proper
application of that ruling should not force religious persons or organizations to support in any way,
financial or otherwise, practices which violate long held, traditional, moral beliefs. Our US
Constitution protects such beliefs and yet this administration ignores them, substituting their own.
Stop it!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12825
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ann Uzzardi


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12826
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Donna Bethell
Organization: Imago Dei


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans forces Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12827
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Darcie Knapschaefer
Organization: FAMILY


                                   General Comment
Government Officials:

This is APPALLING!

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

This is CRAZY!

Darcie Knapschaefer




                                                                                           0044384
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12828
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mark Frye
Organization: Just a concerned Catholic


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12829
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Karen Gardner
Organization: N/A


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force people to
choose between spiritual health and bodily health. To make this insurance coverage mandatory, our
government will violate the consciences of people of faith and infringe upon rights to practice
religious beliefs. The regulations’ religious employer exemption will not protect MANY organizations
not owned by the Church. These institutions are being forced by the government to violate their
religious beliefs. Of course, not everyone works for these employers, and individuals who purchase
health insurance will also be Forced by the government to violate their religion. This is not
government involvement we need! Mandatory contraception and sterilization coverage in college
student insurance plans force colleges to undermine their missions as religious institutions. Please
REPEAL these regulations! Protect the religious freedoms we are guaranteed by the First
Amendment. Thank you!




                                                                                           0044386
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b42
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12830
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Edward Cote
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12831
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Stephen Gilson
Organization: U.S. Army


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.
By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs.
The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions.
Please repeal these regulations and protect the religious freedoms guaranteed by the First
Amendment.




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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19b43
                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12832
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: CARMELITA MANGILIT,md
Organization: MEMBER AMERICAN ACADEMY OF PEDIATRICS


                                  General Comment
i AM TOTALLY AGAINST DOCUMENT id os 2011=0023=0002 because it is a violation of the teachings
of my catholic faith.




                                                                                        0044389
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b44
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12833
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kelly Rogers


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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                                                              Tracking No. 80f19b45
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12834
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Jo Gremling


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                                Posted: October 31, 2011
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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12835
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Colleen Conzalina


                                    General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Please do the right thing and do not put this regulation into effect.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12836
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Damien Horn


                                   General Comment
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12837
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Dan Gurta
Organization: none


                                    General Comment
Antone who thinks that they can pass a law that restricts what religion a person can practice is an
enemy of the U.S.A.

The Pro-life people do not attempt to impose their beliefs on the nation and in this they are patriots.
The pro-death people want to impose their beliefs that unwanted unborn babies should be killed and
the very elderly who are not good for anything anymore should be killed as well. These are the
traitors of the U.S.A.

Religious institutions that hire should not have to submit to the tyranny of despots and finance
activities that violate their religion.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12838
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Terry Alley


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12839
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12840
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: james seippel
Organization: none


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12841
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dennis Mihora
Organization: Independents of California


                                   General Comment
This program is wrong for so many reasons. It violates the conscience of American Catholic voters. It
is like a Chinese sterilization and abortion program. It is wrong. it discriminates against those who
have a decent and respecting morality.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12842
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Leslie Hammer


                                    General Comment
The HHS regulations on sterilization and contraception force Catholics to choose between faith and
health care. By making this insurance coverage mandatory, the government violates the consciences
of Catholics and infringes on our rights to practice our faith. The regulations' religious employer
exemption will not protect the hundreds of Catholic colleges, schools, and organizations which are not
owned by the Church, but instead run by lay Catholics. These Catholic institutions—as well as
individual Catholic employers and health insurance purchasers—are being forced by the government
to violate their religious beliefs. Mandatory contraception and sterilization coverage in college student
insurance plans force Catholic colleges to undermine their missions as Catholic institutions. In
addition it forces everyone to pay for the agenda of a few. These procedures are not free -- the
insurance companies will make us all pay! Please repeal these regulations and protect the religious
freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12843
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Sierra


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12844
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Lorene C. Mullins


                                    General Comment
I vehemently oppose the new "health care" regulations being discussed. Pregnancy is not a disease,
nor is it a condition that individuals must be protected from. A person's sexual choices are their own.
If a woman chooses to be sexually active, she can assume personal responsibility for her decision. I
resent that as a tax-payer who opposes abortion & sterilization, my tax dollars will go to supply
individuals with free birth control, abortificants and sterilization. Worse still, these regulations also
blatently violate the religious freedoms of faith-based colleges and individuals who--as lay people--
are not covered by the religious employer exemption.

Please repeal these regulations and protect the religious freedoms guaranteed in our Constitution.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12845
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Darwin Messerly
Organization: Church of the Sacred Heart


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12846
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: James
Organization: Individual


                                    General Comment
The HHS's decision to impose their will and principals on a Catholic organization is immoral, unethical
and violate the First Amendmant. It clearly violates the principle stated in the Amendment stating:
"impeding the free exercise of religion".

People are first of all responsible for their actions and if they are in a position where they want
assistance then privately funded organizations can choose to assist them. Forcing a Catholic based
organization to provide services that violate their basic principals is unjust.

To forceable impose your will is not a solution to a problem that is not a health issue but rather a
personal issue.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12847
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Thomas Collier
Organization: Private citizen


                                    General Comment
I most vigorously oppose the recent mandate that requires all insurance companies, including private
insurers cover contraception without co-pay, as well as sterilization procedures.

Choice should be afforded private insurers. Choice should be afforded all of those entities who
conscientiously object to providing these services - not just under the proposed definition that  is so
narrow as to exclude virtually all entities that follow non- discrimination laws.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12848
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Bobette Pestana
Organization: Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12849
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Brian Hanifan


                                    General Comment
You cannot require us to provide health care that violates our religion.




                                                                                        0044406
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12850
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Stephanie Kropog


                                   General Comment
Instead of our young people being taught to say no or refrain from immoral acitivity, we serve it up
to them on a silver platter. How about instead of making things easier, we make them more
accountable for their actions? Don't you think this will make fore a more accountable adult? Here's a
suggestion...put prayer back in schools, allow the Pledge to be spoken loud and clear, tight up the
rules instead of letting them take the easy way out.....Build character!!!




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12851
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Karl


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12852
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kevin Grisamore


                                   General Comment
Dear HHS,

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Sincerely,

Kevin Grisamore




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12853
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: harry skolodz
Organization: k of c


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12854
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Coover


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12855
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Sarah Smith


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

As a start to reining in the cost of health care, insurance should be scaled back to cover catastrophic
expenses -- those which actually bankrupt families -- and not usual expenses which people can well
afford on their own. To include these items, to make them mandatory, is an offensive power grab
and exacerbates the financial difficulties which plague our great country.




                                                                                            0044412
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12856
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Raymond Falcsik


                                    General Comment
I adamantly oppose President Obama mandate regarding the inclusion of abortion, contraceptives
and sterilization. The new HHS regulations on sterilization and contraception (including abortifacients)
force Catholics to choose between our faith and health care. By making this insurance coverage
mandatory, our government has violated the consciences of faithful Catholics and infringed on our
rights to practice our religious beliefs. The regulations' religious employer exemption will not protect
the hundreds of Catholic colleges, schools, and organizations which are not owned by the Church, but
instead run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and
health insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0044413
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 41 of 1192
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                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b58
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12857
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044414
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 42 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b59
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12858
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Dixon


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044415
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 43 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b64
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12859
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Hughes


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b65
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12860
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Ridge Sink
Organization: Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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            Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 45 of 1192
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                                                                Posted: October 31, 2011
                                                                Tracking No. 80f19b5a
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12861
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Lorraine De Land


                                    General Comment
Please remove sterilization and prescription contraceptives from the list of "preventive services" the
federal government is mandating in private health plans. It is especially important to exclude any
drug that may cause an early abortion. Pregnancy is not a disease, and drugs and surgeries to
prevent it are not basic health care that the government should require all Americans to purchase.

These regulations should respect religious freedom as other federal laws do. The narrow religious
exemption in HHS's new rule protects almost no one. I urge you to allow all organizations and
individuals to offer, sponsor and obtain health coverage that does not violate their moral and
religious convictions.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 46 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12862
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lilian Rodriguez


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 47 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b67
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12863
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Edmond Diorio
Organization: Law Office


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 48 of 1192
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12864
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jamie Ballenger
Organization: Citizen


                                    General Comment
We are entitled to form our conscience, and live by it. Both, as individuals, and as a community.
Please come up with laws allowing our citizens to live out their faith traditions without fear. Pax
Christi, Jamie Ballenger.




                                                                                             0044421
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 49 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b5b
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12865
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Frank Harris


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 50 of 1192
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12866
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Barbara Cooper
Organization: Self


                                   General Comment
This is a disgusting trampelling of our Religion & Religious of Freedom Rights. Why are you so intent
on KILLING AMERICAN BABIES?? you let the muslims breed & breed voters while you intend to kill
ours!! STAY OUT OF OUR RELIGIOUS HOUSES & RIGHTS!! THIS IS STILL AMERICA!!




                                                                                           0044423
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12867
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Anderson
Organization: None


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 52 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19b72
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12868
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jodi Beyers


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 53 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12869
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Warren Kneis
Organization: Retired


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

My right to practice my faith without interference from the government in any fashion is guaranteed
by the US Constitution and is what I signed up yo protect when I signed up to join the US Marines in
1955.
Warren D. Kneis




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12870
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Maura O'Donnell
Organization: I am a Catholic American and I vote


                                   General Comment
Please keep your evil legislation out of my Catholic church, schools, campuses, charities or anything
that pertains to Holy Mother Church. She is the last beacon of light and truth in this world. We stand
alone as every other institution one by one has fallen into the lies of moral relativism.

Jesus promised the gates of hell would not pervail over the church He started. The only thing you will
accomplish is raising up more saints. Look to your history books. The more you persecute us the
more you sanctify us.

May the Lord have mercy on all who knowingly promote this evil.

In His Most Holy Name,
Maura O'Donnell
Bay Village, OH




                                                                                           0044427
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
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                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12871
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: J Sibayan


                                  General Comment
Proud to be a Roman Catholic and encourage life. I do not want my tax dollars be spent for
contraception or anything along those lines.




                                                                                        0044428
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 56 of 1192
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19b6b
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12872
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rose Hoffman
Organization: Roman Catholic


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12873
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: David Reyes


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Thank you.




                                                                                           0044430
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                                                               Tracking No. 80f19b6c
                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12874
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Colleen Kaelin


                                    General Comment
You have no right to force Catholics to pay for Contraceptives,Sterilizations, abortion coverage in
insurance policies or as taxpayers in the USA!




                                                                                             0044431
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 59 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12875
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael McMahon


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12876
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mary Ellen Jensen


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortificacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0044433
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12877
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kelly Smith


                                   General Comment
The new regulations on sterilization and contraception are a terrible affront on the rights of the
Catholic Church. This is a terrible human rights violation. What happened to freedom of conscience?
These regulations are nothing more than communist rule.




                                                                                         0044434
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12878
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Colleen Martin


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044435
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12879
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Buck Danielson
Organization: Retired


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12880
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary K Kearney
Organization: Cardinal Newman Socity


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12881
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Chris Weber


                                    General Comment
As a Catholic, the new HHS regulations on sterilization and contraception (including abortifacients)
force Catholics to choose between our faith and health care. By making this insurance coverage
mandatory, our government has violated the consciences of faithful Catholics and infringed on our
rights to practice our religious beliefs. The regulations' religious employer exemption will not protect
the hundreds of Catholic colleges, schools, and organizations which are not owned by the Church, but
instead run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and
health insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12882
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Ornella Quinn


                                     General Comment
I strongly oppose the contraception and sterilization mandate for insurance companies.

Although, the mandate includes a so-called "religious exemption", the provision is so narrowly defined
that it only includes those organizations that hire or serve members of the same religious faith.

Under this fig leaf of an exemption, virtually no Catholic organization or charity would be eligible.

Catholic organizations that serve the sick and the poor have always opened their doors to persons of
all faith or no faith. But under this new rule, if a Catholic institution employs or cares for a non-
Catholic, they will not qualify for the exemption. Our government is effectively saying, in order to
care for our neighbors, we must discriminate and only help our fellow Catholics. This is a direct
violation of our calling to go and spread the Gospel to all nations.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12883
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathleen Fenniman


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12884
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ann Whelan


                                   General Comment
Please do not violate my CHOICE of religious beliefs.

It's a matter of conscience and no government can regulate that.

Mrs. Ann Whelan




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12885
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mirta


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendm




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12886
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John Kegaly
Organization: Individual


                                    General Comment
Obama Administration :
As a practicing Roman Cartholic I am appalled at the fact that the proposed Obama Care provisions
would require Catholic institutions health care programs to include abortion assistance, sterilization,
contraception and other requirements that would force practiciing Catholics and Catholic health care
and academic institutions to support such deviations from Catholic Doctrine and Teaching.
I urge you to file the entire bill in the recycling bin and start over with the consideration off ALL
Americans , not just the ultra liberal left wing element which appears dedicated to destroying all that
this great country used to stand for.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12887
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Chris Castagnoli


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12888
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Monica Padera


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12889
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Doug Warrens
Organization: Self


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12890
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Pamela Gagliano


                                   General Comment
My civil rights are mine and legislation must at all times reflect those given rights. Helping others
with their health care at that cost is unforgivable, surely there is a much better way, you are our
elected reps, well then represent us too, and do the job you are elected for and paid for handsomely
at our cost.
Why are you not in the so called health plan for all Americans??? why do you not contirbute to SS???
WHY? It is time to take that action and not legislate what we don't want.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12891
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: James Rimelspach


                                     General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Orthodox
Christians to choose between our faith and health care. By making this insurance coverage
mandatory, our government has violated the consciences of faithful Orthodox Christians and infringed
on our rights to practice our religious beliefs. Please repeal these regulations and protect the religious
freedom of Orthodox Christians as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12892
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Eileen Muench


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12893
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Anthony Stockus


                                   General Comment
Please respect conscience rights of US citizens. Do not allow HHS mandate against life to go forward.

Thank you

Anthony Stockus




                                                                                          0044450
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12894
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Andy Kwari


                                    General Comment
I demand that the Obama Administration revoke new healthcare regulations that violate our rights.

Here are what I demand the Obama Adminsitration to revoke:

require women's health plans to cover sterilization and contraception, including "abortifacients" that
cause abortion…

force many Catholic colleges, schools, and charities to violate their CATHOLIC identity by providing
immoral health benefits…

force college student insurance plans—even on CATHOLIC campuses—to offer FREE birth control and
sterilization to college girls!

Thank you




                                                                                             0044451
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12895
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Cindy Yamnitz


                                    General Comment
I urge you to please repeal the new HHS regulations on sterilization and contraceptives. The new
HHS regulations on sterilization and contraception (including abortifacients) force Catholics to choose
between our faith and health care. By making this insurance coverage mandatory, our government
has violated the consciences of faithful Catholics and infringed on our rights to practice our religious
beliefs. The regulations' religious employer exemption will not protect the hundreds of Catholic
colleges, schools, and organizations which are not owned by the Church, but instead run by lay
Catholics. These Catholic institutions—as well as individual Catholic employers and health insurance
purchasers—are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                             0044452
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12896
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Margaret and William Natalie


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12897
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: michael henry


                                   General Comment
I am Catholic, and the new HHS regulations violate my belief of the sanctity of life. Pres Obama has
said he would not hesitate to provide his daughters with an abortion, but my belief holds that to be
murder. Please repeal these regulations on conception and sterilization.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12898
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Lilly Weathers


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.
As a voter, I will definitely be looking at the voting records of my representatives and senators, and
of course the president on issues that violate my religious freedom for upcoming elections. Thank
you for your time.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12899
Comment on FR Doc # 2011-19684



                                Submitter Information

                                    General Comment

Please repeal the new HHS regulations on sterilization and contraception (including abortifactants). As
currently written, these regulations require practicing Catholics to choose between free observance of
our faith and forced acceptance of offensive stipulations in the Adminstration's universal health care
plan. By making this coverage mandatory, the government has violated Catholic's rights and
consciences. The religious employer exemption does not cover institutions and organizations run by
lay Catholics. Given our First Amendment rights, no Catholic should be forced to accept yet another
unconscionable move by the federal government. Again, please REPEAL these new HHS regulations.
May God have mercy on us.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12900
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James deLeon


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12901
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Daniel Gallagher
Organization: Private Citizen and Registered Voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12902
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Patricia McBride


                                    General Comment
The new HHS regulations (Document ID HHS-OS-2011-0023-0002) on sterilization and contraception
(including abortifacients) force Catholics to choose between our faith and health care. By making this
insurance coverage mandatory, our government has violated the consciences of faithful Catholics and
infringed on our rights to practice our religious beliefs. The regulations' religious employer exemption
will not protect the hundreds of Catholic colleges, schools, and organizations which are not owned by
the Church, but instead run by lay Catholics. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions. Please repeal these
regulations and protect the religious freedom of Catholics as guaranteed by the First Amendment. Mr.
Obama is a servant of the people of this great nation and is also subject to it's laws whether he likes
them or not. Freedom of religion is one of those laws.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12903
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rosemary Carroll


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12904
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: CAROL JOHNSTON


                                  General Comment
THE devil IS ALIVE & WELL .........I CANNOT WAIT TILL YOU ARE THROWN OUT OF OFFICE !! YOU
ARE A DISGRACE TO THE HUMAN RACE!!




                                                                                        0044461
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12905
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mike McEuen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12906
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sue R


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12907
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Harold Furlong
Organization: REtired


                                   General Comment
We must oppose all attempts by the government to impose a violation of our Catholic religious
principles as supperior to our religious ethic. Especially in regards to questions regarding
contraceptives, abortion, and sterialization.

Sincerely
H. Furlong




                                                                                         0044464
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12908
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Melinda Planchard


                                   General Comment
You are overstepping your authority on the public. Feds have no business in this!




                                                                                        0044465
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12909
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Scott


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.
Abortion is murder and abortifacient birth control are murder weapons. It is anti-American to use
them and anti-American to force its citizens into being accomplices. We trust our government to do
the right thing!




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12910
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Richard Fairbank
Organization: attorney


                                   General Comment
The Federal Government should not intrude into areas not authorized by the Constitution. It should
not mandate insurance coverage for contraception, sterilization and abortions. It should not attempt
to compell Americans to pay for coverage that violates their conscience and religious freedoms.
Trampling the freedoms of all under the pretext of helping some, is not what this country was
founded upon.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12911
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Freet


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

It is really an attack on the 1st Admendment. The 1st Admentment is just as sacred as the 2nd
Admentment. It is as sacred as all other Admentments. I know those who do not believe in a
freedom of religion or even in god have no use for the 1st Admentment. I do not own any guns, still
believe others should have that right because of the 2nd admentment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12912
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Suzanne Galligan


                                    General Comment
The new HHS regulations requiring mandatory sterilization and contraception (including
agortifacients) insurance coverage for all Americans are a violation of my Roman Catholic beliefs.
Please repeal these and protect the religious freedom of Catholics as guaranteed by the First
Ammendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12913
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Judy Hodges


                                    General Comment
Thank you for allowing me to comment. I feel very strongly that these new healthcare regulations
need to be revoked for the following reasons: The new HHS regulations on sterilization and
contraception (including abortifacients) force Catholics to choose between our faith and health care.
By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs. The regulations'
religious employer exemption will not protect the hundreds of Catholic colleges, schools, and
organizations which are not owned by the Church, but instead run by lay Catholics. These Catholic
institutions—as well as individual Catholic employers and health insurance purchasers—are being
forced by the government to violate their religious beliefs. Mandatory contraception and sterilization
coverage in college student insurance plans force Catholic colleges to undermine their missions as
Catholic institutions. Please repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12914
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Michael Phelan


                                    General Comment
I am gravely concerned with the recent ruling requiring nearly all insurance coverage to cover
contraception as a preventative measure. This coverage was compared to the government covering
the "flu shot" for free. Astounding. That is an appropriate analogy only if we are afraid children make
us sick. Is that where we are as a nation"

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12915
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ed Arroyo


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044472
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12916
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kim Peltier


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12917
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Galia


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12918
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kimberly Jackson


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12919
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ann Hawkins


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12920
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tom Fitzsimmons


                                   General Comment
I object to the proposed rules that would require insurers to cover contraception and "emergency
contraception" (morning-after pill type abortion), and see the rules as they apply to insurers and
hospitals as a violation of religious conscience.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12921
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kelly Comeau


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12922
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
Get out of our lives, get out of my church, stop tearing at the fabric of this country. The complete
disregard for human life is completely disgusting. We have become a country that protects everyone
except our most innocent. By the way tell the president babies are not "mistakes."




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12923
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Laura Rahe


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12924
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Curtis Street


                                     General Comment
I am STRONGLY opposed to any federal mandate for insurance coverage of sterilization and
contraception, including "abortifacients" that cause abortion! Birth control is not health care, it is
health destruction, preventing and destroying new human lives.

Study upon study has shown the direct rise in breast cancer rates of women that use birth control.
But the federal government isn't really concerned about the health of women, but rather lining the
pockets of Planned Parenthood.

Now that our country is in financial crisis and our government is struggling to demand more money
of citizens to fund it's population control agenda, it is instead making new laws that require other
companies to do it's dirty work.

This is absolutely disgusting! The Obama administration is blatantly disregarding the will of the
people. We do NOT want to fund abortion or birth control in any way! We made our voices heard
from the start with ObamaCare, and we still haven't changed our minds!




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12925
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: GORDON KREMER


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12926
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Wyman


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12927
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Deborah Kaufman


                                   General Comment
Dear Sirs:
I am writing in regards to the work in place to remove the conscience clause for Medical and
Pharmacy workers. This
clause was put into place so that these valuable workers are able to follow their choice of careers as
well as their own carefully formed consciences. To remove this protection from them will force many
out of the medical field completely as well as give some of them no option other than to perform acts
against their own values.
This is not a viable option for them and not a choice that they should have to make.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12928
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jane Irwin
Organization: Individual Concerned Catholic American


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12929
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Peter Vogt


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12930
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Sharron Bubenik


                                     General Comment
I am writing to protest the portion of the Health bill that violates every practicing Catholics Religious
Freedom...especially in requiring abortions and abortion meds available in Catholic Institutions,
including Catholic universities...those who want to use those services have many options in this
country. I have noted that this country has become much more aware of Muslim religious precepts
and makes sure they are respected across the land.

I demand the same Religious Freedom rights for Catholics and Catholic Institutions.

Thank you.




                                                                                               0044487
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12931
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Walter Miller
Organization: American college of surgeons


                                    General Comment
President Obama; It is clear that your machine is relentless is pursuing goals which interfere with
issues that affect my conscience. I will work to defeat your reelection. Walter J Miller MD




                                                                                            0044488
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12932
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sean Tobin


                                   General Comment
Please repeal thsee regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment!! Hands off my FAITH!!!




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12933
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sheila Beller


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12934
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Wayne Rodabaugh


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
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insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12935
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Charles Miller


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044492
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12936
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Gina Smith


                                   General Comment
It saddens me to see how much you disreguard the rights of the most vunerable among us, the
unborn. They should have the same rights as every individual, no matter what race, religion, or sex.
People should not be forced to preform, offer or accept abortion as an alternative to health care.
Please change the healthcare bill back to help everyone in America, the One Nationn Under God.
May God Bless You and guide you to lead the Nation back to greatness.




                                                                                          0044493
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12937
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: CHARLOTTE BELDEN
Organization: CATHOLIC


                                  General Comment
THIS IS A REQUEST THAT YOU STOP TRYING TO FORCE RELIGIOUS OR MORAL INSTITUTIONS TO
VIOLATE THEIR BELIEFS AND UNDERWIRITE THE CONTRACEPTION AND ABORTION INDUSTRIES.
IT IS NOT RIGHT TO FORCE THE DEMISE OF ALL SUCH INSTITUTIONS AS THEY ARE NEEDED
MORE NOW THAN EVER TO TRY TO BRING SANITY AND MORALITY TO OUR SOCIETY!!!




                                                                                        0044494
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12938
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Edward Charles, Sr Olivares
Organization: Retireed -Active Roman Catholic


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12939
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Eric Watson


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12940
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Greg Colton


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12941
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sharron Lassiter
Organization: Church Member


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Christians
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Christians and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Christian colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Christians. These Christian institutions—as well as individual Christian employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Christian
colleges to undermine their missions as Christian institutions. Please repeal these regulations and
protect the religious freedom as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12942
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Kirkconnell


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

May the Lord bless you and keep you.




                                                                                           0044499
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12943
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Deborah & Gary Motl
Organization: none


                                   General Comment
This man is evil, he is not a man of GOD!




                                                                                        0044500
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12944
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: William J. Gazzerro


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12945
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Domenic Pitrelli


                                    General Comment
If need be, I would shut down all catholic hospitals until the law is amended. See if the health system
can get along without us catholics.




                                                                                            0044502
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12946
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: William Ryan


                                    General Comment
I am not in favor of the new HHS regulations on sterilization and contraception (including
abortifacients). They force Catholics to choose between our faith and health care. By making this
insurance coverage mandatory, our government has violated the consciences of faithful Catholics and
infringed on our rights to practice our religious beliefs. The regulations' religious employer exemption
will not protect the hundreds of Catholic colleges, schools, and organizations which are not owned by
the Church, but instead run by lay Catholics. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions. Please repeal these
regulations and protect the religious freedom of Catholics as guaranteed by the First Amendment.
Thank you.




                                                                                             0044503
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12947
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Peter Kwasniewski
Organization: Wyoming Catholic College


                                   General Comment
The new HHS regulations on sterilization and contraception force Catholics to choose between our
religious beliefs and health care. By making this insurance coverage mandatory, our government has
violated the consciences of faithful Catholics and infringed on our rights to practice our religion.

The regulations' religious employer exemption will NOT protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12948
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Mich Stronczek


                                  General Comment
Abortion Hurts women. There are options. Killing is wrong.
No one should be forced to pay for another persons actions.




                                                                                        0044505
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12949
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Jean
Organization: Pro-Life of Mercer County, PA


                                     General Comment
Catholics are being forced to choose between their faith and health care because of new HHS
regulations. Mandatory insurance coverage will include sterilization contraception and abortifacients,
putting faithful Catholics in a moral dilemma. This is a blatant violation of their consciences! Sadly,
employer exemption fail to protect many Catholic organizations which are not owned by the Church,
but run by lay individuals. Catholic icolleges will be forced to violate their religious beliefs, accepting
mandatory contraception and sterilization coverage in college insurance plans undermining the
mission of these Catholic institutions. Please protect the religious freedom of Catholics as guaranteed
by the First Amendment by repealing these terrible regulations.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12950
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Linda A. Costello


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12951
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Mueller
Organization: Catholic run business


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12952
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Charol Abrams
Organization: none


                                    General Comment
The new HHS regulations concerning sterilization and contraception (including abortifacients) force
Catholic citizens to choose between our faith and health care. By declaring that this insurance
coverage is mandatory, our government has violated the consciences of faithful Catholics and
infringed on our rights to practice our religious beliefs. The regulations' exemption for a religious
employer will not protect the hundreds of Catholic colleges, schools, and organizations that are not
owned by the Church, but instead run by lay Catholics to foster Catholic values.

These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college-student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions.

Our government officials swear an oath to preserve, protect, and defend the Constitution of the
United States, so please do your duty. Please repeal these regulations and protect the religious
freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12953
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Vicky Watson
Organization: Voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12954
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Maureen Pratt


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                                  Tracking No. 80f19bdb
                                                                  Comments Due: September 30, 2011
                                                                  Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12955
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: T Doyle


                                     General Comment
I am opposed to many facets of the Healthcare Act. Most importantly, I am strongly opposed to any
provision that requires Catholic hospitals, institutions, and/or individuals to participate in or contribute
financially to immoral practices such as abortion and artificial birth control. It is wrong to force
Catholics to choose between violeating the tenets of their religion or violating the law. That is not the
way the founders intended this great country to operate.




                                                                                                0044512
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 140 of 1192
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12956
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patrick Leonard


                                   General Comment
I strongly resent my tax dollars going towards abortions. There is no way that this insurance policy
can stand without a strong influx of tax dollars. If my taxes are used to support something against
my religion, then I must decide if I can morally pay them.




                                                                                           0044513
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 141 of 1192
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                                                            Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12957
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Jim Beck
Organization: The Cardinal Newman Society


                                  General Comment
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment (Document ID HHS-OS-2011-0023-0002)

We want the government to get out of our lives. Please revoke these new regulations. We do a
better job with managing ourselves than all the debt that the government has placed on us and our
children.




                                                                                        0044514
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 142 of 1192
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12958
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mary Weaver Mann
Organization: the Catholic Church


                                    General Comment
Personally, I would expect 1/5th to 1/6th of our hospitals to have to close if these regulations are not
changed.

WHERE WILL THOSE PATIENTS GO, PLEASE? (To say nothing of lost jobs and revenue for so many
localities!)

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                             0044515
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 143 of 1192
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12959
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mark Schueller


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044516
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 144 of 1192
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                                                                Posted: October 31, 2011
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                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12960
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jane Garwood
Organization: Asclepion Publishing, LLC


                                     General Comment
President Obama:

Please halt PPACA's assault on conscience rights. It is a Constitutional violation, plain and simple.




                                                                                              0044517
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 145 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12961
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Christian Watson
Organization: Voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 146 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12962
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Bethany Meola


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12963
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robyn Kerchner


                                   General Comment
let's not forget where we came from. following our religious beliefs and our consciences is a core
value of American citizens. Do not allow regulations that would infringe on these rights. MANY
services today are provided by the very organizations that would be deeply impacted by the loss or
"flimsey" clauses in regard to conscience protection. We are a great nation walking toward a slippery
slope. Please don't let this happen. Thank You




                                                                                           0044520
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12964
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Kathy Taylor
Organization: Holy Roman Catholic Church


                                     General Comment
As Catholic Christians we understand that if we live by God's laws we will always be living above the
laws of mankind. There has been a shift away from God's laws in this country, laws of mankind are
not in line with God's laws, so Christians must make a stand against those laws or rules which are
unjust, or act against our consciences. Our great command is to love God first and then to love one
another. There is no love shown in killing babies at any time or point in a pregnancy, and love is
prohibited or incomplete when birth control, which by the way has done nothing to control births,
and sterilization are forced into peoples lives directly or indirecty. You are either with God or against
Him. I am with Him, and I pray for those who are against Him, bcause they will need someone to
pray for them.




                                                                                               0044521
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 149 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12965
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rick Simpkins


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 150 of 1192
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Docket: HHS-OS-2011-0023
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12966
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Albert Holder
Organization: retired teacher


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12967
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: paul kane


                                   General Comment
Please stop your attacks on my Catholic Church and our religion!!




                                                                                        0044524
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12968
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: marcelle zuniga


                                   General Comment
I don't want to be pressured to participate in any way in something that violates my religious
freedom. As a Catholic I can't support any kind of mandatory coverage for contraception or
abortifacients.




                                                                                           0044525
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12969
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Margaret Hohnberger
Organization: Catholic church member


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044526
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12970
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Amedeo Colucci
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12971
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
To: The Obama Administration

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12972
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Barbara Kraft


                                    General Comment
The new HHS regulations on sterilization and contraception(including abortifacients) force Catholics to
choose between faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. The Catholic institutions, as well as individual Catholic employers and health insurance
purchasers, are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college students insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 157 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12973
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Judith Case


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12974
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jeff Watson
Organization: Voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                            Comments Due: September 30, 2011
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12975
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: william mikesell


                                    General Comment
We have had enough ! We do not wish to be billed to
destroy human life or to force us to pay for others birth
control and lack of "self control" Our health care should
not be forced to cover these immoral and unnecessary
procedures!




                                                                                        0044532
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 160 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12976
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Quinn
Organization: Immaculte Conception Seminary


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044533
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 161 of 1192
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                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19bf3
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12977
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Linda Hubbard
Organization: Catholic


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044534
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 162 of 1192
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                                                               Posted: October 31, 2011
                                                               Tracking No. 80f19bfa
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12978
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Michael O'Brien


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

The First Amendment has no meaning if the government can force a Catholic institution to provide
contraception and sterilization coverage. Several forms of contraception have the potential to result in
an abortion. Therefore, these regulations would force Catholic institutions to fund abortion. How can
that be constitutional?




                                                                                            0044535
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19bfb
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12979
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044536
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 164 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12980
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Zimmerman


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 165 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19bfc
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12981
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Julie Wanta


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 166 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12982
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: David Cox


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 167 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19bf5
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12983
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Corrine Josten


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12984
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: JoAnn Thornton


                                   General Comment
Please repeal the regulations and protect the religious freedom of Catholics as guaranteed by the 1st
Amendment




                                                                                           0044541
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 169 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19c01
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12985
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jay Watson
Organization: Voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                             Posted: October 31, 2011
                                                             Tracking No. 80f19c02
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12986
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Wlamir Amós Saint Martin
Organization: Wlamir


                                   General Comment
Keep it up Obama! Increasingly putting Catholics against the wall! I think Americans have never had
a president with such a dubious form of government. Onward Catholic! With the Church of Christ
until the death!




                                                                                         0044543
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 171 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c03
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12987
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Marvin Westendorp


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                            Tracking No. 80f19c0a
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12988
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jo Ann Moe


                                  General Comment
I protest the government supporting abortion.




                                                                                        0044545
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 173 of 1192
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                                                             Posted: October 31, 2011
                                                             Tracking No. 80f19c0b
                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12989
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Dale Spencer
Organization: Retired


                                    General Comment
The Affordable Care Act will be renamed to:
"Unaffordable Care Act", unless it is completely repealed.




                                                                                        0044546
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 174 of 1192
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12990
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Case


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 175 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c0c
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12991
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul R. T. Mathis
Organization: Calix Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044548
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 176 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c06
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12992
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Barbara Kessler


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                                Posted: October 31, 2011
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                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12993
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Thomas Vaughan


                                     General Comment
Pregnancy is not an illness, and so the classification of contraception and sterilization as "preventive"
is an abuse of the word. In the context of a health plan, prevention refers properly to the avoidance
of disease. For the government to require health plans to provide these services is to engage in
propagandist double-speak, to violate the natural law, and to inhibit the religious freedom of
institutions whose mission is to promote a culture of life.




                                                                                              0044550
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 178 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12994
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: dr, james mittelstadt
Organization: private independent voting citizen


                                    General Comment
Dear Mr. President,

I am wiriting to complain vociferously aboout your new mandates in the health insurance field that
definitely is a back door totalitarian merhod of destorying and subverting the religious beliefs of
millions of u.s. citizens.

I consider that a blatant infingement upon re;igious beliefs and is against the constitution. You are
supposed to be an expert in constitutional law. Where is your so called iintelligence in this matter?

Thank you,

Dr.James Mittelstadt




                                                                                             0044551
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                                                              Tracking No. 80f19c07
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12995
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sharon Eversvik
Organization: St. John's Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044552
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 180 of 1192
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12996
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Leona Tearr
Organization: None


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044553
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 181 of 1192
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12997
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ron Greulich
Organization: Archdiocese of Indianapolis


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044554
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 182 of 1192
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                                                              Tracking No. 80f19c08
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12998
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Maura Hogan
Organization: self


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044555
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 183 of 1192
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                                                              Tracking No. 80f19c09
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-12999
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Vernon Hubbard
Organization: Catholic


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044556
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 184 of 1192
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13000
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ilona Spina


                                   General Comment
To the Obama "health Plan"

This is a free country. Do NOT force your Godless policies on others!!




                                                                                        0044557
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 185 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13001
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathleen Joyce


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044558
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13002
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Sara Buscher
Organization: none


                                    General Comment
Religious institutions that serve the public should not be required to provide insurance coverage for
abortions, contraception and other "services" contrary to their beliefs, nor should professionals who
work for these institutions be required to provide services contrary to their religious beliefs.




                                                                                            0044559
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13003
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Michal Leonczuk


                                  General Comment
I demand that the Obama Administration revoke new healthcare regulations that blatantly violate our
—yours, mine, the Church's—religious freedom.




                                                                                        0044560
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 188 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13004
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Constance


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044561
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 189 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13005
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Janine Schneider


                                   General Comment
This is unconscionalbe that sterilization and contraception may be mandated as part of a health care
plan. I am offended and shocked that our government would aid people in committing these sins at
my expense. This is a direct attack on religious freedom and I urge you to oppose this.




                                                                                          0044562
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 190 of 1192
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13006
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Damaris Montero


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044563
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 191 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13007
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: LISA BRINDLEY
Organization: SELF


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044564
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13008
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Susan Kulha
Organization: A Concerned Citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment. Thank you for your
time in considering this important opinion.




                                                                                          0044565
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13009
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jim Mazurek


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044566
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13010
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Elizabeth Duke


                                  General Comment

I demand that Obama Administration revoke new healthcare regulations that violate my religious
freedom.




                                                                                        0044567
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 195 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13011
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert LaCombe


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044568
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13012
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13013
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Kathryn Giordano


                                  General Comment
I do not want my religious freedom taken away by the Patient Protection and Affordable Care ACT.
Do not force your morals on me.




                                                                                        0044570
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 198 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13014
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Giles Hadrych
Organization: None


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0044571
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13015
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mike and Teresa Tario
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044572
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 200 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13016
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Evelyn Sucgang


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044573
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 201 of 1192
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f19c28
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13017
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: jim skelly


                                     General Comment
Stop these egregious health regulations that interfere with religious beliefs.




                                                                                        0044574
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                                                             Tracking No. 80f19c1a
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13018
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nancy Murphy
Organization: Epiphany Cathedral Right to Life


                                   General Comment
Please understand that we feel strongly that no government should force insurance on people who
do not believe in abortion in any form. We are a people of life.

We also do not believe taxpayers should be forced to pay for abortion clinics like Planned Parenthood
when we are firmly against abortion.

Please respect our rights. Thank you.
Nancy & Tom Murphy




                                                                                          0044575
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                                                              Tracking No. 80f19c29
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13019
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sr. Mary Helen Nixon
Organization: Carmelite Monastery, Terre Haute


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13020
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Danaher


                                   General Comment
Please uphold the conscience clause for medical providers.




                                                                                        0044577
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13021
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Madeleine Faust
Organization: N/A


                                    General Comment
The new HHS regulations on sterilization and contraception will force Catholics to chose between our
faith and health care. By making this insurance coverage mandatory, our government has violated
the consciences of faithful Catholics and infringed on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
organizations which are not owned by the Church but run by lay Catholics. The Catholic institutions,
a/w/a Catholic employers and health insurance purchasers, are being forced to violate their religious
beliefs by the government. Mandatory contraception and sterilization coverage in student health care
insurance plans forces Catholic colleges to undermine their own mission. Please repeal these
regulations and protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                             0044578
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13022
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: philip balmforth


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13023
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John and Liz Post


                                   General Comment
My husband and I are devout Catholics and are distressed by the new HHS regulations on sterilization
and contraception (including abortifacients) that force Catholics to choose between our faith and
health care. By making this insurance coverage mandatory, our government has violated the
consciences of faithful Catholics and infringed on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
and organizations which are not owned by the Church, but instead run by lay Catholics. These
Catholic institutions—as well as individual Catholic employers and health insurance purchasers—are
being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions. Please repeal these regulations and protect the religious freedom of
Catholics as guaranteed by the First Amendment. May God bless you for your courage in standing
against this evil in disguise. Sincerely, John and Liz Post




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13024
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Michael Pallas
Organization: Roman Catholic Church


                                      General Comment
Mr. President:
I am an ardent Roman Catholic and believe that life begins at conception and should end in a natural
death.

With that said, this bill is a horrendous bill and also, it is unconstitutional. By forcing all health plans
to cover thing that the Catholic Church opposes, i.e. sterilization and contraception. By doing so, you
then force Catholic organizations and schools to provide such things they are morally opposed to in
their health plans, and this violates the freedom of religion and separation of church and state
guaranteed in the United Stated Constitution. Therefore, these regulations need to be repealed.




                                                                                                 0044581
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13025
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Matt London


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13026
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: rebecca cook


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13027
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Barbara Muth


                                    General Comment
I can't believe what you are doing to our Country.....you need to listen to the People!




                                                                                          0044584
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13028
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: M A
Organization: Independent Freeman


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044585
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13029
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: AIDEE FLORES
Organization: CARDINAL NEWMAN SOCIETY


                                   General Comment
Stay away from our sons and daughters with your new regulations that violate our faith and beliefs.
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13030
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Stephen & Sharon Graham


                                    General Comment
Stay out of our lives--especially our moral lives. It is wrong of you to demand that people go against
their consciences in the area of birth control and abortion.




                                                                                            0044587
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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13031
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Patricia Forman
Organization: Cardinal Newman


                                    General Comment
To whom it may concern.
Please respect the rights of conscious of individual Catholics and other religious. Do not force us as
individuals, organizations, and businesses to fund immoral practices. Do not require health plans to
pay for and provide contraception, abortion, and euthanasia drugs. This also forces everyone to pay
for an elective drug that isn't necessary for life such as heart medicine or insulin to foster someone
else's life style. If they are truly adults and capable of making that decision to have sex they are
capable of paying for it.Thank you.




                                                                                            0044588
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13032
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Helen Faust
Organization: Citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.


I would like to say more but am afraid I would be reported to the Obama police state web site




                                                                                           0044589
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13033
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Patricia Tomaskovic
Organization: USA


                                    General Comment
The new Health Care Plan violates my religious freedom. I'm Catholic and PRO LIFE. I'm offened that
MY TAX dollars will pay for abortions and require Catholic organizations to cover such actions. This is
a MORTAL SIN and how dare this administration demand this of us. If any other religion ie. Muslums
felt this deeply about an issue they would be granted a waiver. However, this adm. is out to offend
and attack God and Christians as offten as possible. Actions speek louder than words.




                                                                                            0044590
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13034
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Linda Caffarelli


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13035
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tom Lavin
Organization: Self


                                   General Comment
Concerning Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive
Services under Patient Protection and Affordable Care Act: Amendment (Document ID HHS-OS-2011-
0023-0002), repeal it. No religion should be forced to comply with federal mandates which are not
"pro-life." If the Federal Government has a death wish, let it be known now, so that we can eliminate
the cancer before it kills us.




                                                                                          0044592
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c3c
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13036
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044593
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 221 of 1192
                                                             As of: April 02, 2012
                                                             Received: September 14, 2011
PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
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                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13037
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Murphy


                                   General Comment
Please co-sponsor the Respect for Rights of Conscience Act (H.R. 1179).
This measure ensures that the rights of conscience of all participants in our nation's health care
system will be respected. I do not support a federal government mandate that ignores the rights of
religious entities. Thank you for taking a stand in support of religious liberty.




                                                                                         0044594
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 222 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c3f
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13038
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tarese Hammes


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044595
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 223 of 1192
                                                             As of: April 02, 2012
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PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
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                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13039
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Monaghan


                                  General Comment
Please respect the conscience of Catholics who are opposed to funding contraceptives and abortion.




                                                                                         0044596
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 224 of 1192
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19c38
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13040
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: WILLIAM DEMPSEY


                                  General Comment
Totally opposed to OBAMACARE as contrary to the constitution.




                                                                                        0044597
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 225 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c40
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13041
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: marie devoss
Organization: catholic church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044598
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 226 of 1192
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19c41
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13042
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Michael Ryman


                                     General Comment
Can these regulations . .. this is an assualt on religion




                                                                                        0044599
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 227 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c3b
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13043
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: K. Kumler
Organization: Citizen


                                   General Comment
Please do not force me to pay for abortion-inducing drugs with my healthcare premiums. Pregnancy
is not a disease, and people of faith should not be coerced into paying for drugs that violate their
consciences.




                                                                                          0044600
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 228 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c52
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13044
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Anthony Kizlauskas
Organization: none


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044601
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 229 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c42
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13045
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: W. Lawrence Wescott II


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044602
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 230 of 1192
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19c43
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13046
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Jen Hula


                                     General Comment
Please do not do this! It is not right. Think about it!




                                                                                        0044603
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 231 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c44
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13047
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: R C


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 232 of 1192
                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13048
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Tim Simunds


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0044605
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PUBLIC SUBMISSION                                                Status: Posted
                                                                 Posted: October 31, 2011
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                                                                 Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13049
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: David Cabral
Organization: St. Finbars Parish


                                     General Comment
I wish to call for a repeal of the HHS regulations as it it infringes on the religious freedoms of
Catholics as guaranteed by the First Amendment.




                                                                                               0044606
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 234 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c57
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13050
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ted Alfermann


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044607
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 235 of 1192
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f19c58
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13051
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Randall Engel
Organization: St. Joseph Catholic Church - Richardson, TX


                                    General Comment
The regulations which you are about to impose are offensive to my concience and to all of us who
hold life and personhood sacred. What you are about to do will cripple the efforts of Catholic
hospitals and other institutions from carrying out their mission of care and will lead to their eventual
distruction. You may have the power now to implement this offense, but it is only a matter of time
and you will no longer have the power.




                                                                                              0044608
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 236 of 1192
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c5a
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13052
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lanette Nordquist


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044609
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 237 of 1192
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                                                               Posted: October 31, 2011
                                                               Tracking No. 80f19c5b
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13053
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: joan skelly


                                    General Comment
stop these proposed health regs that interfere with religious beliefs. Thank you.




                                                                                        0044610
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c5c
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13054
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patricia Vas


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.
Please recind this new policy immediately.
Patricia Vas




                                                                                           0044611
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                                                              Tracking No. 80f19c5d
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13055
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The Obama administration seems to not understand religious liberty by their forcing the new HHS
regulations on sterilization and contraception, including aborifatients. This violates the rights of
faithful Catholics and others and infringes on their rights to practice their religious beliefs, as
guaranteed by the First Amendment. This will not protect Catholic (and others who agree) colleges,
schools, and organizations or individual health care employers and health insurance purchasers. No
one should be forced by the government to violate their religious beliefs!! This is America!




                                                                                           0044612
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 240 of 1192
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13056
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tom Wagener
Organization: Self


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044613
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13057
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: JAMES BLESSINGER
Organization: CORPUS CHRISTI CATHOLIC CHURCH


                                    General Comment
It appears to me that the new HHS regulations on sterilization and contraception (including
abortifacients ) force Catholic Christians to choose between strongly held christian values and health
care. By making this kind of insurance coverage mandatory our government is violating the
consciences of faithful Catholics and infringes on our rights to practice our religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. I ask you to protect our rights and
religious freedom as Catholic Americans as guaranteed by the First Amendment.
Please repeal these regulations. Thank you.




                                                                                            0044614
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 242 of 1192
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                                                              Received: September 14, 2011
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c61
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13058
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Bob Tomaskovic
Organization: USA


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044615
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 243 of 1192
                                                                As of: April 02, 2012
                                                                Received: September 14, 2011
PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f19c59
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13059
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Michaelene Prater


                                    General Comment
The new HHS regulations on sterilization and contraception force Christians to choose between their
faith and health care. By making insurance coverage mandatory, our government has violated the
consciences of Christians and in fringed on their rights to practice religious beliefs. The regulations'
religious employer exemption will not protect the hundreds of Catholic colleges, schools, and other
organizations which are not owned by the Church, but instead run by lay Catholics or other
Christians. These institutions--as well as individual Christian employers and health insurance
purchasers--are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic Christian institutions. Please repeal these regulations and
protect the religious freedom of Christians as guaranteed by the First Amendment.




                                                                                              0044616
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 244 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13060
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Palowitch


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044617
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                                                                As of: April 02, 2012
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                                                                Posted: October 31, 2011
                                                                Tracking No. 80f19c63
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13061
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: ann flannery


                                     General Comment
i ask that you repeal the new hhs regulations that force catholics to violate their religious beliefs and
undermine the very mission of catholic institutions. thank you.




                                                                                              0044618
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 246 of 1192
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13062
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa Curran
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044619
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13063
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Lester Murphy
Organization: retired


                                    General Comment
this attack on religion will weaken the position of the united states worldwide. you, the government
have consistantly undermined the foundation of morality and families, 50 million abortions is 1/3 of
the present generation since roe vs wade... a situation that will not allow any country to survive for
long. If for anything else, for the loss of talent, revenue and diversity.




                                                                                             0044620
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13064
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Regina Karako


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13065
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Claire Metz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044622
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                                                               Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13066
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marguerite Stauver
Organization: Immaculate Conception Catholic Church


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 251 of 1192
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PUBLIC SUBMISSION                                               Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13067
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: William Munk


                                     General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force people of
faith to choose between our faith and health care. By making this insurance coverage mandatory,
our government has violated the consciences of faithful believers of many faiths and infringed on our
rights to practice our religious beliefs. Specifically, the regulations' religious employer exemption will
not protect the hundreds of Catholic colleges, schools, and organizations which are not owned by the
Church, but instead run by lay Catholics. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions. Please repeal these
regulations and protect the religious freedom of Catholics and other Christian believers as guaranteed
by the First Amendment.




                                                                                              0044624
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13068
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Peter Kelly
Organization: Resurrection Parish, Farmingville NY


                                    General Comment
Do not violate the religious conscience rights of thousands of Catholics and Catholic institutions. We
will not stand for it!!

Peter Kelly




                                                                                             0044625
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13069
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ronald Redler


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044626
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13070
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Stephen Thordarson


                                  General Comment
America was founded by a great group of men who listened to their conscience when it told them
that they could no loger follow the King and his unjust laws.
No you seek to stamp out this most valuable right that made our country different than any that has
come before it. You have shown me that my rights come second to your personal interests. I will be
voting for someone who has a better vision for America.




                                                                                         0044627
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13071
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Brenda mannschreck
Organization: Speech Pathologist private practice


                                     General Comment
Please revoke the Health care law. It goes against all Christian values. It allow sterilization,abortion
and birth control. Significantly against my religion. I have worked for forty-years. It is a crime to use
my money against health care that is against my religion.




                                                                                              0044628
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c73
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13072
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Prisco


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044629
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19c69
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13073
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Therese Lanuti


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044630
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 258 of 1192
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f19c74
                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13074
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jessica Montgomery


                                    General Comment
Do not force Catholic institutions to provide birth control or other contraceptives and abortion on
their campuses.




                                                                                             0044631
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 259 of 1192
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PUBLIC SUBMISSION                                              Status: Posted
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13075
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Ray Humble
Organization: Catholic University Graduate


                                    General Comment
The health care legislation that will require Catholic Universities
to provide monies for contraceptives et al are against my beliefs and those of the universities
involved. Please defeat this measure




                                                                                            0044632
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13076
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Louis Poulin
Organization: All Catholic Churches


                                    General Comment
I oppose and kind of legislation that discriminates and applies their conditions of new laws in
congress against the principals of any church's belief's and rules.

I also oppose sharia law as it contains horrific rules against women.

I do believe that the Federal government practice SEPARATION OF CHURCH AND STATE as directed
by our constitution.




                                                                                            0044633
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13077
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Susan Stanich
Organization: none


                                    General Comment
Mandatory regulations on sterilization and contraception (including abortifacients) force Catholics to
choose between our faith and health care. Government should not violate the consciences of faithful
Catholics and infringe on our rights to practice our religious beliefs. The regulations' religious
employer exemption will not protect the hundreds of Catholic colleges, schools, and organizations
which are not owned by the Church, but instead run by lay Catholics.

These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions. Please repeal these regulations and protect the religious freedom of
Catholics as guaranteed by the First Amendment.




                                                                                             0044634
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                                                                Tracking No. 80f19c77
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13078
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Peter Hetherman


                                    General Comment
I object to the new HHS regulations for the following reasons:

Making buying a product, health insurance, mandatory. I personally see the reason for health
insurance, but it should not be mandatory, and I believe this requirement is unconstitutional.

Having government panels review and decide treatments, rather than a persons own health
professional. An individual must be able to rely on his/her own health professionals
recommendations.

Requiring sterilization, contraception, abortion coverage in the plan, even when the provider objects
on their own religious beliefs, whether they provide these services thru a religious owned facility or a
privately owned facility, or a government owned facility.




                                                                                             0044635
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 263 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13079
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Harry J Tucci Jr


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044636
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 264 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13080
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Debora Branecky


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044637
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 265 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13081
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John Laboe


                                    General Comment
The institutionalized assault upon the private expression of moral principles as contained in
ObamaCare must and will be resisted by every legal and political means available to us. These
regulations are not those that a majority of the electorate would embrace and will eventually fall -- to
the extent that democracy is permitted to function.




                                                                                             0044638
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13082
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Peter Connolly


                                    General Comment
New HHS regulations on sterilization and contraception violate the rights of those of the Catholic
Faith. They infringe on our right to practice our religious beliefs. The religious employer" exemption"
will not protect many Catholic colleges, schools, and organizations which are not owned by the
Church, by lay Catholics. Mandatory contraception and sterilization coverage in college student
insurance plans force Catholic colleges to undermine their missions as Catholic institutions. Repeal
these regulations and protect the religious freedom of Catholics as guaranteed by the First
Amendment. And stop this unceasing invasjon of our religious rights and our rights as citizens. You
have overstepped yourself beyond belief.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 267 of 1192
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PUBLIC SUBMISSION                                              Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13083
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Bill Brucks


                                    General Comment
As Catholics, we can not let this administration take away more of our freedoms. It is our right to
choose life!! The government has again over stepped their authority. Please vote this anti-God
administration out of office!!




                                                                                            0044640
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13084
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kelly Bunting


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13085
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Catherine Turner


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13086
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: GRACIELA VELA


                                  General Comment
STOP ABORTION




                                                                                        0044643
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13087
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: James GURN
Organization: None


                                    General Comment
This latest"shot-across-the-bow"from the Obama administration

to the Catholic Faith per HHS w the "sterilization 'n contraception

forced implementation w/in Catholic colleges is NOT CONSTITU-

TIONAL and CANNOT be acceptable to me nor anyother citizen

who beleives in the SEPARATION of CHURCH 'N STATE

declaration. These diabolical manuveurs HAVE TO BE DEFEATED
for our nation to survive and SURVIVE WE SHALL!

James Gurn




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13088
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sue F.


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13089
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jim DeSmet


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13090
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kaitlyn Tomaskovic
Organization: Student


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13091
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nancy Parks


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13092
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: E. Bloch


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13093
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sean Duerr


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13094
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Margaret King


                                   General Comment
To whom it may concern:

You have no right to make a business do something that is against their religion. It is you who shout,
when it is convenient, that Church and State should be separate. Someday, you will stand before
God and have to answer for this atrocity. May god have mercy on you.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13095
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jaime Rivera


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13096
Comment on FR Doc # 2011-19684



                                Submitter Information

                                    General Comment

"The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions as well as individual Catholic employers and health insurance
purchasersare being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment."




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13097
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mark Kalpakgian


                                    General Comment
I am very concerned that the new health care regulations will:


- require women's health plans to cover sterilization and contraception, including "abortifacients" that
cause abortion…

- force many Catholic colleges, schools, and charities to violate their CATHOLIC identity by providing
immoral health benefits…

- force college student insurance plans—even on CATHOLIC campuses—to offer FREE birth control
and sterilization to college girls!


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. Please prevent this from happening.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13098
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Phyllis Reagan
Organization: Catholic Church


                                  General Comment
In reference to Group Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment (Document ID HHS-OS-2011-0023-0002).
This is to inform you I am opposed to any mandatory provisions that violate citizens freedom of
conscience in matters of birth control, abortion, sterilization.




                                                                                        0044655
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13099
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Paula Hellenbrand


                                  General Comment
Please DO NOT support the coverage of preventative services under the Patient Protection and
Affordable Care Act.




                                                                                        0044656
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13100
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jane Malak


                                    General Comment
I do not want to be forced to pay for items that are not in accord with the catholic church teaching.
Let everyone pay for their own birth control, why should i pay for things i do not believe it. You are
forcing people to choose between their faith and your spreading the wealth initiatives.
Do not pass this bill with this language included that forces us to include birth control and abortion
funding.




                                                                                            0044657
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13101
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: john nicholson


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13102
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Justin Jurek


                                   General Comment
The sterilization and contraception mandates fly in the face God's law and violate the conscience
rights of health care workers by forcing them to provide something morally offensive to them. This
vile mandate should be scrapped.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13103
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michelle Tomaskovic
Organization: student


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13104
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Kent Kelly


                                  General Comment
Mr. President,

Please stop promulgating more and more regulations!!!!

Government is already too big. Too expensive. Gov is the problem.

The Patient Protection and Affordable Care Act: Amendment is simply another example. Stop. Stop.
Stop.




                                                                                        0044661
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13105
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Steve Purves
Organization: None


                                    General Comment
It is unbelievable to me that so many men and women have been able to rise to the federal
government in all three branches that have no idea what American freedom is or what the "American
Dream" is. The American Dream is FREEDOM.

This country was founded to free God's children to worship Him freely, with our work, with our words
and with our freely given charity in all forms as directed by our Lord Jesus and his Catholic
(Universal) Church here on earth. This is the definition of "Freedom of Religion".

Politicians under the influence of the Liberal Spirit of Satan have fought day and night to restrict this
charitable freedom by destroying this God given free nation. For decades this spirit has slowly
rewritten history, infiltrated our education system, taken control of the news and entertainment
media and now has control of two (down from three) branches of the federal government. You have
shoved your culture of death upon us, promoted homosexuality and now are trying to force us to
accept the sexual abuse of young children as “normal” behavior. For decades God’s children in
America have been drunk with your wine but, today God’s children and his Catholic Church are
awake!
We don’t want your money or your lies about what the future will be like if we just trust your liberal
tales!! Your day has come, God will not be mocked! All I have to say is REPENT. This law is not going
to be enforced and those that have worked so hard to push it through are going to lose their jobs.
Today it is time to consider your eternal future. Regardless of what you believe every life is eternal
and it is your choice to spend eternity with God or not. I will be praying for you to make the right
choice…




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13106
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert & Mary Christman
Organization: Voters


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13107
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Therese


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13108
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Dr. William Farmer
Organization: Transplant support Grp of So. Texas/ St. Anselm's


                                   General Comment

The regulations requiring Catholic Schools and Hospitals to provide birth-control and abortion services
of all kinds under the obscenity called "Obamacare", is utterly abhorrent to all that is American,
Constitutional, and moral - this and all other regulations imposed by this ridiculous excuse for an
Administration must be repealed, revoked, and sent to abyss from whence they came.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13109
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lynn Staley


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics, Orthodox and like-minded Protestants as guaranteed by
the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13110
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Nolan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
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Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13111
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Christopher Morrell
Organization: Texas Wesleyan Law


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13112
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mark Smith


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13113
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mary Murphy
Organization: St. Margaret Mary CHurch


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) are
unacceptable. By making this insurance coverage mandatory, our government has violated the
consciences of faithful Catholics and infringed on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
and organizations which are not owned by the Church, but instead run by lay Catholics. These
Catholic institutions—as well as individual Catholic employers and health insurance purchasers—are
being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions. Please repeal these regulations and protect the religious freedom of
Catholics as guaranteed by the First Amendment




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13114
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Fleming,Jr.


                                   General Comment
The government can not force individuals or institutions to have or provide insurance that covers
abortion and related services.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13115
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: marilyn zayac


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13116
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Richard McNally


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13117
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Kirk


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13118
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mark Kilkeary


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044675
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 303 of 1192
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PUBLIC SUBMISSION                                            Status: Posted
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                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13119
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: ROBERT GREENE


                                   General Comment
For a bunch of people so in tune with sensitivity, you have no tolerance whatsoever for Christian
principles. You are not our masters. Stop dictating. The mandates in your monstrous, destructive act
force people to support procedures antithetical to their faith. You actually think you have the
authority to engineer people's beliefs. Why don't you go back to the academic closets you came from
and continue writing your utopian socialist fantasies for each other. You are too destructive in the
real world.




                                                                                         0044676
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                                                              Tracking No. 80f19ca9
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13120
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: David LaCava


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment
Get your culture of death out of our Catholic schools!!!




                                                                                           0044677
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13121
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Catherine Tackman


                                    General Comment
As a Catholic, I strongly oppose birth control, and any thing that forces Catholic institutions to go
against their morals. That is not freedom.




                                                                                              0044678
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13122
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Patricia Meccia


                                   General Comment
Do not force secularism on religious institutions. Would you force Jewish schools to offer pork on
their menus? Would you bully Islamic students this way??




                                                                                           0044679
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13123
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Daniel McNicoll
Organization: McNicoll Consulting Corp


                                   General Comment
To Whom It May Concern:

I am writing today to ask in the strongest way possible that you rescind the unjust and coercive
mandate that all "contraceptives" and sterilization procedures be covered by private health insurance
with no co-pay to patients. If you do not reverse course I ask you to expand conscience protections
for any organizations that provide individual and group insurance and have moral or religious
objections. I strongly oppose the government forcing free insurance coverage on Americans especially
for drugs and devices that I oppose because some of these can cause an abortion (such as ella and
Plan B).

I also ask you to reconsider your definition of religious employer and offer an authentic conscience
protection for any organization and business that has moral or religious objection to providing such
insurance to their employees. This legal mandate clearly violates the spirit of conscience laws which
prohibit government discrimination against those who object to various health services on moral or
religious grounds. The definition of "religious employer" in the regulation is so narrow as to only
include churches, but will still mean that a host of businesses and organizations that have conscience
objections will be required to choose between either violating their conscience or not being able to
offer employees health insurance.

Please protect the conscience rights of insurers, providers and people like me who object to being
forced by the federal government to offer or subsidize contraceptives and sterilization services,
especially when some of these drugs can take the life of early unborn children. No Americans should
be forced by the federal government to essentially subsidize services they object to. I again urge you
in the strongest way possible to reverse course and remove contraceptives and sterilizations from the
list of mandatory preventive services.



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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13124
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nicholas Weiler
Organization: Retired


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13125
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Frank Molnar
Organization: Catholic


                                     General Comment
Sir:

I object to your complete dismissal of the right to worship, believe and practice my, our, religion--
Catholic--as we wish, as we must. Having spent my early years in a Communist country, Hungary, I
am especially sensitive to dictatorial powers exercised to limit and eliminate religious freedom for all
religions other than Muslim. I ask that you withdraw the ill-conceived amendment, HHS-OS-2011-
0023-0002.

Sincerely,




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13126
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Edwina Hopkins
Organization: Daughters of the Immaculata


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13127
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Paul Thibault


                                  General Comment
I am strongly opposed to mandating support for contraceptive and abortifacient procedures that
violate my moral principles.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13128
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Donahue


                                   General Comment
Our government is blatantly violating ours, yours, mine and the Church's religious freedom. This is
wrong. This is not freedom!!




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13129
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Stephannie Toland
Organization: American mother


                                    General Comment
I object profoundly to your regulations that are interferring with the conscience clause. As usual this
administration and its regulation czar is using everything in thier power to promote abortion and
planned parenthood. Catholic colleges and universities have thier rights which have always been
upheld until this administration came into office. On one hand you preach separation of church and
state so what do you call this as in regard to Christian and Catholic schools?




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13130
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rufino Alejandro
Organization: Knights of Columbus


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
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Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13131
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathleen Frasco


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our righst to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions - as well as individual Catholic employers and health
insurance purchasers - are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterliization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13132
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jack Bartlett


                                    General Comment
Without LIFE there is no liberty or pursuit of happiness!




                                                                                        0044689
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13133
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Michael Verzola


                                    General Comment
Let's keep the government out of our church, especially when it comes down to what we Catholics
consider to be a mortal sin (even if you don't agree, it is our doctrine). The Health Care Bill will
require Catholic institutions to cover abortions. Please remove all this wording from the bill, or modify
it with statements that waive religious institutions from the mandates that are contrary to their
beliefs.




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Comment On: HHS-OS-2011-0023-0002
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Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13134
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jerry


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13135
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Kathy Taylor


                                    General Comment
Please remove sterilization and prescription contraceptives from the list of "preventive services" the
federal government is mandating in private health plans. It is especially important to exclude any
drug that may cause an early abortion. Pregnancy is not a disease, and drugs and surgeries to
prevent it are not basic health care that the government should require all Americans to purchase.

These regulations should respect religious freedom as other federal laws do. The narrow religious
exemption in HHS's new rule protects almost no one. I urge you to allow all organizations and
individuals to offer, sponsor and obtain health coverage that does not violate their moral and
religious convictions.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13136
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa Feely
Organization: none


                                   General Comment
The Federal Government has no right to interfere with the religious beliefs and teachings of Catholic
schools. Making demands that are contrary to Catholic teachings is blatant overstepping by the
Obama administration and should be challenged at every step. They're called Catholic Schools for a
reason whether the administration likes it or not.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13137
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Hermilo Quintero
Organization: self


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
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Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13138
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Mary Wolff


                                  General Comment
You're FIRED!




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                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13139
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jennifer Cagliuso
Organization: JJDDV


                                    General Comment
Do not force immoral ways upon Catholics.
Stay out of the Catholic colleges and hospitals.
Where is the tolerance you always brag about?

Do the RIGHT thing.




                                                                                        0044696
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 324 of 1192
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                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19cc5
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13140
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




                                                                                           0044697
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 325 of 1192
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19cbe
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13141
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Debra Holbus
Organization: Catholic


                                  General Comment
For the Love of God, I implore you to revoke this un-precedented attack on Christian morals
(document ID HHS-OS-2011-oo23-0002), by limiting our right to follow our consciences! Sincerley,
Debra Holbus




                                                                                        0044698
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 326 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19cbf
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13142
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Jo Koltuniuk


                                   General Comment
The new regulations put forth by the Group Health Plans and Insurance Issuers Relating to Coverage
of Preventive Services under the Patient Protection and Affordable Care Act will seriously violate and
compromise the morals and conscience of millions of Christians in the United States. Please stand up
for the rights of all Americans and not just a select few. Not every American can in good conscience
help a woman harm themselves or the life of another. They should have that freedom protected in
our great country.




                                                                                           0044699
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19cc7
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13143
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13144
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Charles Doerr
Organization: Home


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044701
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13145
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Dr. Timothy Reisenauer


                                     General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics because it requires me to spend my
money to purchase services which murder an unborn person. It infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment. The constitution
protects my right to practice my religion unhindered by government interference. the goverment
interferes when it moves to force me to participate financially under threat of law in an act which I
and millions of other people, Catholic, Muslim, and Jewish alike, know to be the taking of an innocent
person's life.

The logic is undeniable. If it is murder to kill an innocent 13 year old child it is therefore murder to
kill a 13 minute old child and therefroe murder to kill a ( minus 13 minute old) child and therefore
murder to kill a ( minus 9 month old child). A person's a person no matter how small (or old).
Dr. Tim Reisenauer




                                                                                               0044702
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13146
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: THOMAS CORRIGAN
Organization: N/A


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044703
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13147
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Stanley Kata
Organization: Resurrection Catholic Church


                                  General Comment
I am against the "government" trying to take away my freedom.

Government is the problem.




                                                                                        0044704
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13148
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Val Buchmiller
Organization: Retired


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044705
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PUBLIC SUBMISSION                                              Status: Posted
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13149
Comment on FR Doc # 2011-19684



                                Submitter Information

                                    General Comment
Please, return to America and get US on the right track. Socialism has been tried, and fails.




                                                                                            0044706
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13150
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Ernie Kluft


                                    General Comment
I strongly oppose forcing religious organizations to violate their beliefs to implement Obamacare.... It
defininately violates the First Amendment offering religious freedom....




                                                                                             0044707
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13151
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Janet Burrow


                                   General Comment
HHS-OS-2011-0023-9992 will require us to pay for things that violate our consciences and religious
convictions. Please change the requirements.

Thank you.




                                                                                         0044708
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13152
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Irene Dominiak


                                   General Comment
President Obama:
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Irene Dominiak




                                                                                           0044709
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13153
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: T Rosa


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044710
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13154
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Juan Castaneda


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13155
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Frances (Frankie) Rudometkin


                                  General Comment
May God have mercy on you!




                                                                                        0044712
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13156
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Stephen Leech
Organization: St. Vincent de Paul Society


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13157
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Denice Flannigan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13158
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: dolores puchi
Organization: St. John Vianney Church, Sedona AZ


                                    General Comment
I do not want any public funds to go towards funding for sterilization, contraceptives, etc. which
prevent birth or cause abortions. No one of faith who oppose such practices should have to
participate against their will in providing these.




                                                                                            0044715
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13159
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joseph


                                    General Comment
I fully agree with the following statement drafted by the Cardinal Newman Society:

"The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment. "




                                                                                            0044716
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 344 of 1192
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                                                                Received: September 14, 2011
PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13160
Comment on FR Doc # 2011-19684



                                 Submitter Information

                                     General Comment
This is an attack on Article 3 of the 1st Ammendment of the Constitution in which the government
shall not interfere in the free exercise of religion. This specification forces those who are Catholic as
well as Catholic institutions to act in ways that are in direct conflict with their beliefs and practices.
This prescription of the plan was disguised in thousands of pages of text in order to achieve passage.
While it suits followers of earthly gods and saviours, it subjects those on the front lines who submit
to a higher power into an immoral and demonic dilemma. This provision in the act should be
repealed immediately.




                                                                                              0044717
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 345 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13161
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert J. Awerkamp
Organization: Owner of small business that is self insured for health coverage


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044718
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 346 of 1192
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13162
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044719
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 347 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13163
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Brad Danforth


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 348 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13164
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jennifer Salemi


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13165
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Sr Madeleine McGill
Organization: Dominican Sisters of Blauvelt, N.Y. 10913


                                     General Comment
I am greatlyl displeased with the interference of the President of this country. Our catholic church
stands for high
principles. In no way should our nation impose views that are contrary to what we believe God
Himself would want His
p eople to practice and obey all their life long. Do not interfer in the lives of our wonderful teachings
of our catholic church.......




                                                                                              0044722
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13166
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joan Smith


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13167
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Reimers


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13168
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Diane Waldo
Organization: Catholic


                                  General Comment
Do not force me to spend my money for abortions when I am morally opposed to them.




                                                                                        0044725
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13169
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tom Burke
Organization: Painesville, Ohio


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13170
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Scott Bowhay


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13171
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Bartell


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13172
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Christian Platania


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13173
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Adrienne Iannuzzi


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19ce5
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13174
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Link


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13175
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jerome Ruesch
Organization: A Cathoilc US citizen


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemptionwill not protect the hundreds of
Catholic colleges, schools, and orgaizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions - as well as individual Catholic employers and health
insurance purchasers - are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteednby the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13176
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Conti


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13177
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Warren Gale


                                    General Comment
Get out of the unconstitutional health care business. You can't even run a post office properly!




                                                                                            0044734
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13178
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: KATHARINE SANTOS


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13179
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tim O Donnell


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044736
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 364 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13180
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Terry Hardy
Organization: A US Citizen, Taxpayer and Catholic Voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044737
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 365 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13181
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Barbara D D'Ercole


                                   General Comment
To the Obama Administration:
I urge you to please stop the violation that is in the new Health Care Reform, that will not allow
doctors and hospitals and colleges campuses to follow their consciences, and not provide services
such as sterilization, abortion, etc.




                                                                                           0044738
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13182
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Constance Burek


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.


As the parent of two college students who are currently enrolled at a midwestern Catholic College, I
am bound to protecting their religious beliefs and freedoms. I urge you to prayerfully consider this
sitution and vote to repeal these HHS regulations.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13183
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Dan Mishler


                                  General Comment
I am against insurance companies being forced to cover abortions, birth control methods, and any
thing else that harms an unborn child. Obamacare must be repealed!




                                                                                        0044740
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13184
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Leilani Frietas


                                    General Comment
I do not belileve that Catholic medical personnel or hospitals should be forced to provide abortions,
or pregnancy prevention services against their conscience and moral beliefs. I believe that any
person of any faith or whose moral conscience is opposed to these practice be exempt from
providing or assisting in them. Thank you for considering my viewpoint. Leilani Frietas




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13185
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Bailoni
Organization: KNIGHTS OF COLUMBUS


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13186
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Alice Moore


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The reulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions - as well as individual Catholic employers and health
insurance purchasers - are being forced by the government to violoate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13187
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Regina Davison
Organization: Catholic American


                                   General Comment
I object to the government requiring Catholic colleges to provide health care insurance that includes
contraceptives and abortion coverage. The United States has always been a country where freedom
to practice your religion was safe-guarded. Please make sure that the United States continues to
uphold this standard of the free practice of religion for all of its citizens, including Catholics.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13188
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Teri Carmona
Organization: ACTS


                                  General Comment
President Obama needs not to make this a socialist nation!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13189
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Rev. David Fulton
Organization: Archdiocese of Omaha


                                    General Comment
I am getting very tired of this administration's policies that disregard conscience, including mandating
that insurance companies cover contraceptive drugs and devices. Please consider people's
consciences when moral questions intersect government policy decisions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13190
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ken Marco


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13191
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Teresa Bergman


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Sincerely,
Teresa Bergman




                                                                                           0044748
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13192
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Janice Schultz-Aldrich


                                    General Comment
The new HHS regulations on sterilization and contraception--including and especially abortifacients--
force us Catholics to choose between our faith and health care. Making this insurance coverage
mandatory violates our consciences and infringes on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
and organizations which are not owned by the Church, but instead run by lay Catholics. These
Catholic institutions--as well as individual Catholic employers and health insurance purchasers--are
being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions. Please repeal these regulations and protect the religious freedom of
Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13193
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ezekiel Stear
Organization: St. Lawrence Catholic Center


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13194
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jennifer Roche


                                   General Comment
This is un American and I am against Obama care! I don't want gov't controlling this aspect of my
life. I am Catholic and I have moral issues against abortion.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13195
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dan and Marvis Stafford


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

The country is wearing thin on patience with the legislation and regulation coming from Washington.
We will not stand for this. We will demand freedom and change from your overbearing controls.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13196
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: George Borowski


                                   General Comment
Dear President Obama,

You PROMISED to have a totally transparent administration. In reality you have forced your political
agenda upon the American citizenry without transparency as promised.

Such is the case of your health care plan. You did NOT give me and all other citizens an opportunity
to review, consider or evaluate your one-sided health care program as you promised. We now take
offense not only to your under-handed methods but more importantly, the contents of this Ill
conceived and totally non-sustainable, socialistic government controlled program.

I totally object to your methods and the contents of Obama care. It must be done away with before
it's tenicles penetrate our free market system and destroy more freedoms.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13197
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: RICHARD BARAJAS
Organization: DON'T HAVE ONE


                                  General Comment
IF PEOPLE WANT TO BE ASSOCIATED WITH ABORTIONISTS,
LET THEM GO WHERE IT IS TOLERATED. It is a heinous enough act, ....don't force it on people who
consider
it anathema. Catholic schools and others of similar position
should be left to their curriculum and NOT BE INFRINGED ON
by those who are above and "know better than the rest of the common herd".




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13198
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Garvey


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13199
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Diane Gutierrez


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044756
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13200
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Theresa Pearson


                                    General Comment
I could have sworn that President Obama, during his inauguration, swore to uphold the constitution
of the United States. The 4th Amendment is a part of this constitution. Why is he and his
administration violating our rights by forcing people to do things that viiolate the constitution? Is he
trying to make this country into a monarchy or socialist ruled society? Does he think that he is above
the law, that he can do anything he wants? Does he want to keep our courts so busy spending
money that we don't have to stop him from doing what he should not have been doing anyway?
Exactly what is his agenda? Could he really be trying to subjugate the people of the United States so
that he can rule? Stop this insane business of telling people how to run their lives. Birth control is so
cheap already that it does not need to be forced down any businesses throat. It is a chioce of who
takes birth control. It is not a life threatening health issue.




                                                                                              0044757
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13201
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tracy Beberwyck
Organization: U.S. citizen


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13202
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa Albright
Organization: Parent/Concerned Citizen of USA


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.
Mrs. Theresa Albright, MA




                                                                                           0044759
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13203
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Ken Martin


                                    General Comment
The mandate of reproductive controls is a clear violation of the historic position of our government
and degrades our moral standing with young citizens and around the world. No individual or
institution should be forced to compromise their Christian beliefs in order to obey a governmnet
manadate, and this portion of the law must be recended immediately.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13204
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: steve roche


                                    General Comment
Please respect our religious beliefs. Thank you




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13205
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Dr and Mrs Ed Knish


                                     General Comment
Dear President Obama-
Regarding Group Health Plans and Heaalth Insurance Issuers Relating to Coverage of Preventive
Services Under PPACA:
Please do not force Catholic health care workers, Catholic Universities, Catholic Hospitals and many
other Cathlic organizations out of business by failing to protect our American rights to exercise our
consciences. Catholics and Catholic organizations should not be forced to provide or cooperate in any
activities that provide unnatural birth control, sterilization or abortion.
Life is precious, and life is always a gift from God. Please let us live according to our Catholic beliefs.
Thanks and God bless-
Paula Knish RN
Ed Knish MD




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13206
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michelle Switzer
Organization: U.S. citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13207
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Katie Williams


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13208
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Stan Simmer
Organization: Catholic voter


                                    General Comment
Obama Administration,

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions-as well as individual Catholic employers and health insurance
purchasers-are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment. Thank You.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13209
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Brent Moberg


                                      General Comment
Please stop tying the hands of doctors, religious institutions, and individuals with this anti-life rule.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

I implorer you to immediately override this horrific HHS rule.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13210
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Daniel Gallaugher


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13211
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Cheryl Bercier


                                     General Comment
Dear Sir:
You MUST allow for faithful Catholics to opt out of anything having to do with forced participation,
whether financial or practical, in the evils of abortion, sterilization, and artificial contraception. There
MUST be allowances for Catholics and Catholic institutions and businesses to opt out of this
healthcare mandate due to items in it which violate our conscience. This is a republic founded on the
principles of freedom of religious expression, which this mandate blatantly violates.

Thank you for listening.




                                                                                                0044768
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13212
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Steven Kallesser


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions as well as individual Catholic employers and health insurance
purchasersare being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13213
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Terence Lee


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13214
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Karen Jordan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13215
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Aixa Feliciano


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13216
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Laura Wojcik
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13217
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Regina Durel


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13218
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sally J Wenzel


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13219
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Timothy Anderson


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13220
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dot & Dave Hassler


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13221
Comment on FR Doc # 2011-19684



                                Submitter Information

                                    General Comment
I do not wish to:
"require women's health plans to cover sterilization and contraception, including "abortifacients" that
cause abortion…

force many Catholic colleges, schools, and charities to violate their CATHOLIC identity by providing
immoral health benefits…

force college student insurance plans—even on CATHOLIC campuses—to offer FREE birth control and
sterilization to college girls!"
I sdon't want my taxes to pay for these things which I consider wrong.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13222
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sydney McGyver
Organization: Cardinal Newman Institute Student


                                   General Comment
Stop your evil ways. We do not want your idea's of immorality shoved on us. This is not your job as
elected officials. Your job is to defend our rights not take them away.




                                                                                          0044779
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13223
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Terri Krause


                                  General Comment
When government begins to make laws that violate one's religious beliefs, it has become the very
monster the early settlers were fleeing from when they left England. Is that what America has
become?




                                                                                        0044780
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13224
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dianne


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13225
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: John Smithhisler


                                     General Comment
I would like to comment on the decision to comment on the guidelines requiring almost all private
health plans to cover contraception and sterilization as "preventive services" for women.

Being in the health care field I understand what increases costs in the health care system. If the HHS
decided that certain preventative measures would be mandated such as cholesterol lowering drugs,
dietary training classes, hypertensive drugs, etc. which would prevent chronic or life-threatening
diseases< I would support your efforts. But to decide that mandating services and pharmaceuticals
for a specifically defined group of individuals is discriminatory and ludicrous! Why would you
encourage women to take a drug that has known detrimental side-effects" Why would you
encourage women to take a drug that could cause the additional use of health care services as a
result of those side-effects.

Being a CEO of a faith-based organization I know that this new rule will cause a number of health
care workers to reassess being in a field where the government mandates procedures that conflict
with their religious beliefs. If you decide to proceed with this ridiculous rule at least allow those with
religious objections to opt out. This new rule provides a narrow religious exemption and protects
almost no one. I urge you to allow all organizations and individuals to offer, sponsor and obtain
health coverage that does not violate their moral and religious convictions.

Thank you.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13226
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Linda Zachar


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13227
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: MICHAEL J BRUNING
Organization: PERSONAL


                                     General Comment
The tragic reality of what we see here in this action by the Obama Administration is a direct result of
the Churches failings to use the full force of its "authority" to remind Catholic lawmakers that they
should not and cannot use their legislative positions to support/promote laws that undermine life,
especially life that is directly related to the unborn.

For far too many years, the Church has been willing to sleep in the same bed with their
archrivals.....ploiticians.....for the purpose of having the ability and the prestige of rubbing elbows
with each other in order to be of mutual benefit. However, the relationship was doomed from the
very beginning and the "church", because of its heretical relationship with government....chose to
abandon the Word of God and the Teachings of Jesus christ with impunity. Indeed, it also
abandoned many of the faithful as well.

One would hope.....and pray daily, for the spiritual repatriation of the church and its leadership, but,
when all is said and done, the church will continue to suffer because of its own unwillingness to
reform itself and return to its divine roots.

There should be no doubt in anyone's mind that the employee's of the government will always put
the actions of the government first, over any other consideration, especially those that will only serve
to undermione their authority and their positions and rank. The Church does the same thing and has
been doing this since molesting boys, selling indulgences and ignoring the abortion issue became the
rage of the day. The church fathers have no scruples and they have no belief in a prctice that
requires faith. The secularization of the Church has become a reality on their watch and they are not
about to change the direction it is going. That is why the pews are empty and the confessionals are
barren.

May God have mercy on us all.


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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13228
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Katrina Johnson


                                    General Comment
President Obama, For Catholics respect for life includes respect for self and others, not treating
others as objects, but as subjects. That is why our faith does not coincide with mandatory health
care insurance which includes contraceptives, sterilization and abortifacients. Please do not make us
choose between health care and our faith. Aborted fetuses were human, they could not grow to be
anything but human beings.
Sincerely,
Kat Johnson




                                                                                            0044786
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13229
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michelle Michieli


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13230
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                              Submitter Information

                                  General Comment
EVERYTHING begins with LIFE!!!!!!!!!




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13231
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Thoo


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Thank you.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13232
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sandy Vasek


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13233
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: JAMES MCDADE
Organization: JAMES TECHNICAL


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
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Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13234
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Steve Roper


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13235
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Eleanor Nishio


                                    General Comment
The new regulations on sterilization and contraception (including abortifacients) force Catholics to
choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. Please repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13236
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Kwarta


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
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insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13237
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Heidi Frechin


                                    General Comment
This country is founded upon freedom of religion. If this basic and inalienable right is violated in the
name of care, we are no better than the political tyrannies we oppose. Coercing institutions to violate
their religious foundation and identity is wrong.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Please, for the sake of religious freedom, this must be reconsidered.




                                                                                             0044795
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                                                              Tracking No. 80f19d35
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13238
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Marie Hawbecker
Organization: Hawbecker Family


                                   General Comment
To the Obama Administration:

As a citizen of a free country, I fail to understand why we should be forced to purchase and provide
morally unacceptable services that we do not want and are totally against our faith beliefs. One of
the reasons our Founding Fathers came to this country and swore their allegiance to it is because the
governments of other countries refused to acceppt their deeply felt religious beliefs. When the
American people voted to place your administration in office, they voted for change. This is not
change. This is Washington business as usual. This is ignoring the faith and beliefs of the people. If
you force this medical system on us, you are not only going back to the bad policies of the past, you
are also going back to the tyranny our Founding Fathers came to our shores to escape.

Please save our freedom, and do not do this to us!




                                                                                           0044796
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19d3e
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13239
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Beth Wasko


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044797
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PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f19d36
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13240
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Gary Bourbeau


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) and force
Catholics to choose between our faith and health care. By making this insurance coverage
mandatory, our government has violated the consciences of faithful Catholics and infringed on our
rights to practice our religious beliefs. Please repeal these regulations and protect the religious
freedom of Catholics as guaranteed by the First Amendment and upheld consistently by our greatest
leaders, George Washington and Abraham Lincoln.




                                                                                         0044798
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19d3f
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13241
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Barb Vomund


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 427 of 1192
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19d37
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13242
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Daniel Froment


                                  General Comment
Stop the murder of our own children!




                                                                                        0044800
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 428 of 1192
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f19d38
                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13243
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Charlie King


                                     General Comment
I find that your changes in the Health Plan requiring women's health plans to cover sterilization and
contraception, including "abortifacients" that cause abortion, absolutly revolting. As a Catholic I find
these changes revolting and they strongly violate my conscience. I will have to fight thiese changes
with all that I have. God would not want me to do anything else.
I will fight against all those in favor of forcing these changes down the throat of all of us.
Thanks,
Charlie




                                                                                              0044801
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13244
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: OWEM KENNEDY


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 430 of 1192
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13245
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Carol Winstanley
Organization: private citizen


                                     General Comment
he new HHS regulations on sterilization and contraception (including abortifacients) force Catholics to
choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

If freedom of religion is a "right" for Americans, forcing someone to violate that belief is a blatant
exercise of power by the "stonger". Please do not support this amendment




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 431 of 1192
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PUBLIC SUBMISSION                                                Status: Posted
                                                                 Posted: October 31, 2011
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                                                                 Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13246
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Laura Hamer


                                     General Comment
It is with great presidence that I write to you to uphold the laws that protect all religious freedoms
for all people. By mandating health plans and facilities to provide all options approved by the FDA for
sterilization and prescriptive contraceptions that have refused such services in the past based solely
on religious beliefs is a true violation of Constitutional Rights. Providing assistance to those religious
institutions who help the poor and underpriveleged does not open the door for government to step in
and dictate their policies and procedures.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 432 of 1192
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13247
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Jacobs
Organization: Retired but Still Vote


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19d49
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13248
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Leanne


                                   General Comment
This is a threat to catholic teaching! It is not conducive to our stand on health issues and could
cause confusion and immoral practice among our young adults with these services so readily
available. We will not allow this amendment which tramples our religious freedom and rejects our
religious truths without a fight! Please repeal these regulations!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13249
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Gary Eisenbarth


                                   General Comment
Please review Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive
Services under Patient Protection and Affordable Care Act: Amendment (Document ID HHS-OS-2011-
0023-0002). My concern is very simple. The rule would apply to Catholic institutions and are directly
in opposition to Catholic belief. The government should respect individual religious belief and not
require people or institutions to do things that they believe are immoral.




                                                                                          0044807
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13250
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Lorentz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13251
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13252
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Father Justin Damien
Organization: St. Benedict's Abbey


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Sincerely,
Fr. Justin D. Dean, OSB




                                                                                           0044810
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13253
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: ELIZABETH SCHNEIDER


                                  General Comment
REJECT OBAMACARE!
RESPECT LIFE!




                                                                                        0044811
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13254
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rita Biegel
Organization: St. Anthony Hospital, Michigan City, In 46360


                                   General Comment
What is next, if our freedom of Conscience is taken from us? One nation under God, with liberty and
justice to all.




                                                                                         0044812
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 440 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19d51
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13255
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carol Fay
Organization: none


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044813
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 441 of 1192
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19d52
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13256
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rebecca Daigle


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044814
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13257
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: DAVID MALLE


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                              Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13258
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Sarah Belanger


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0044816
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 444 of 1192
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PUBLIC SUBMISSION                                           Status: Posted
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                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13259
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Linus Langer


                                  General Comment
We are Catholic. We oppose your plans which are immoral.




                                                                                        0044817
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 445 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13260
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Matthew Huntley, Jr
Organization: A Catholic American Patriot


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044818
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 446 of 1192
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
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                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13261
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Jeffrey Nunes
Organization: Roman Catholic


                                     General Comment
The Federal Government under our First Amendment has an obligation to not interfere with the free
exercise of religion which are blatantly doing by attempting to force people who oppose for religious
reasons abortion and birth control in any way, shape form or verbiage.

This interference with our religious practices and beliefs is blatantly set forth under the windy title;
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment (Document ID HHS-OS-2011-0023-0002)




                                                                                              0044819
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 447 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13262
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Peter Thomas


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 448 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13263
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Davis


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044821
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 449 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13264
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Grace Legaspi


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 450 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13265
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Bertha


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 451 of 1192
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13266
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: christine ross


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 452 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13267
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sammye Zuniga


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 453 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13268
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Vickie Cross


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 454 of 1192
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13269
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Howard T Clark
Organization: A Citizen of the USA


                                   General Comment
The new HHS regulations on sterilization and conception(including abortificatents) force catholics to
choose between our faith adn health care. Bynkaing the insurance coverage mandatory, our
governmant has violated the consciences of faithful Catholics and infringed on our rights to practice
ourreligious beleifs. The regualions' religius employer exemption will not protect the hundreds of
Catholic Colleges, schools, an organizations which are not owned by the Church, but instead run by
lay Catholics. THese Catholic insttitutions, as wll as individual Catholic employers and health
insurance purchasers are being forced by the government to violate their religious beleifs. MAndatory
conraception and sterilization covergae in college students insurance plans force Catholic colleges to
undermine their missions asCAtholic instituitons. Repeal these regulations and protect the religious
freedom of Cathoics as guaranrteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13270
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Vito Scopa


                                   General Comment
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendmen




                                                                                          0044828
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 456 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13271
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: allen ross


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13272
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Bernadette Gibson, LPN
Organization: Personal


                                    General Comment
I agree with the Cardinal Newman Society that the new HHS regulations on sterilization and
contraception (including abortifacients) force Catholics to choose between our faith and health care.
By making this insurance coverage mandatory, our government has DELIBERATELY violated the
consciences of faithful Catholics and infringed on our constitutional rights to practice our religious
beliefs. These regulations wage war against people practicing Christian beliefs.

The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being COERCED by the government to violate their religious beliefs. Mandatory contraception
and sterilization coverage in college student insurance plans force Catholic colleges to undermine
their missions as Catholic institutions. Please repeal these regulations and protect the religious
freedom of Catholics as guaranteed by the First Amendment.

The power to regulate is the power to destroy. Are you deliberately trying to destroy the Catholic
Church? Please do not drive Catholics from the Democratic Party. Again, please repeal these
regulations. Protect the right of religious freedom and the right not to have an "Established Church"
in the government which mandates how people must behave.

Bernadette Gibson, LPN




                                                                                            0044830
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13273
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: William Ridgeway JR.


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044831
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13274
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mike Cross


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13275
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Pete Kleff


                                   General Comment
I am a Antiochian Orthodox Christian. I am deeply troubled by the current and proposed infusion of
federal government requirements which interfere with freedom of religion guaranteed by the First
Amendment. As an attorney and professor, I see no Consdtitutional justification for the actions of the
Obama Administration in this arena.




                                                                                           0044833
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13276
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Jane Kane
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                               Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13277
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Elizabeth Wenzel


                                    General Comment
Hello!

I am a Pre-Medicine student, plan to attend medical school next year, and am completely opposed to
the new HHS regulations. The new HHS regulations on sterilization and contraception (including
abortifacients) force Catholics to choose between our faith and health care. By making this insurance
coverage mandatory, our government has violated the consciences of faithful Catholics and infringed
on our rights to practice our religious beliefs. The regulations' religious employer exemption will not
protect the hundreds of Catholic colleges, schools, and organizations which are not owned by the
Church, but instead run by lay Catholics. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions. Please repeal these
regulations and protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0044835
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 463 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13278
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Louise Ritz


                                    General Comment
Please remove sterilization and prescription contraceptives from the list of "preventive services" the
federal government is mandating in private health plans. It is especially important to exclude any
drug that may cause an early abortion. Pregnancy is not a disease. Drugs and surgeries to prevent
pregnancy are not basic health care that the government should require all Americans to purchase.

These regulations need to respect religious freedom as other federal laws do. The narrow religious
exemption in HHS's new rule protects almost no one. I urge you to allow all organizations and
individuals to offer, sponsor and obtain health coverage that does not violate their moral and
religious convictions.




                                                                                             0044836
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 464 of 1192
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13279
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Steven Ramey


                                     General Comment
Don't force me to be a part of killing the children of our future.




                                                                                        0044837
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13280
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mark Loos
Organization: Abolish Abortion Across America [www.4a4life.org]


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044838
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 466 of 1192
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13281
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michelle Rontell


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13282
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Layton C Binon
Organization: Private Citizen and member of Knights os Columbus


                                    General Comment
I am deeply offended that Obama Care is trying to force abortion and sterilization on Catholic
citizens. I hope you will cease this attempt to violate the rights of citizens with these measures.




                                                                                              0044840
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                                                              Comments Due: September 30, 2011
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13283
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: alina sturgis


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13284
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13285
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joanne
Organization: US Citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13286
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Barbara Downey


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13287
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Andrew Harrod


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13288
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Penny Cowan
Organization: Sacred Heart Social Justice Committee, Bellingham, WA


                                   General Comment
Please DO NOT force me to buy or provide insurance that includes practices and drugs that violate
my conscience. Our nation simply cannot exclude one segment of citizens (the unborn) from
protection under the law, nor can we force citizens to act against our consciences. When our
constitution guarantees religious freedom, it does not simply permit us to worship as we choose -- it
also gives us freedom to interact in the public square in grave matters such as this one. May God
help America! PLEASE DO NOT ENACT THESE REGULATIONS!




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13289
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: cindy carroll


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13290
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Gerald Suther
Organization: Private


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13291
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Raymond Auld


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                            Posted: October 31, 2011
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                                                            Comments Due: September 30, 2011
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13292
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Leo Hunt


                                  General Comment
Obamacare must be eliminated!




                                                                                        0044850
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13293
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Jennifer Keck
Organization: Catholic Church Parishoner


                                     General Comment
To Whom It May Concern,

Please note that if these regulations come to be, and Catholics are forced into contraception, birth
control, and abortions, you will have many Catholics (many of whom are conservative, wealthy
Americans who pay LOTS of taxes!) who will not tolerate this - actions will be taken to relocate our
families to other areas of the world that are not so primitive, or we will happily undergo arrest,
persecution, prosecution to defend our Catholic values. (Read: If you think the prisons / justice
system is overcrowded now....just wait!)

This legislation should NOT NOT NOT NOT NOT be passed! Would you like it, Mr. President, if when
Sasha goes to college she is offered free birth control, encouraging her promiscuity? I think NOT!
Think as a Christian and not as a politician. Politics and legislation are important, yet - but not at the
cost of SALVATION. Think it through, legislators. Do what you know is right.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13294
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Maureen Hanson
Organization: Independent Citizen


                                    General Comment
Our federal government does not have the right to mandate that each citizens purchase health
insurance and furthermore to require that health care providers include contraceptions and
sterilization in the healthcare. Having health insurance does not make us healthier, it may make us
less responsible for our health because many people want to believe that you can take a pill to help
with a health problem. The prescriptions drugs that people continue to take, because their doctors
think this will help them actually just maintains their disease and does not help them to get well. I
think our health care industry is in a shambles from most aspects and it is a crime to support it. We
need to focus on preventive healthcare and the only part government health care should pay for is
emergency first aid/life threatening situations. Prescription drugs alter a persons normal health level.
When our body has been altered by drugs, we may make choices that we would otherwise not make,
and these choices will have life altering consequences for our future.




                                                                                             0044852
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13295
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Matthew Habiger
Organization: St. Benedict's Abbey


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13296
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Ruth deMille
Organization: Cardinal Newman Society


                                     General Comment
Your healthcare bill goes too far. Infringing upon the rights and beliefs of Amercans against the
Constitution that you took an oath to support.

Making it mandatory for college students to defile their own faith bu either sterilization or abortion is
NOT freedom of choice!

A privately funded college is just that PRIVATE! Please do not attempt to mix Church and State! You
have your turf. Although under God all is His. One nation under God, so we shall remain forever!




                                                                                              0044854
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13297
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Koster


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.
The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044855
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13298
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kevin


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13299
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jerome Rosenbloom


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13300
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Julie Werst
Organization: just a voting citizen


                                      General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.
The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions.
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.

A nation that kills its youth has a dismal future.

Sincerely,
Julie Werst




                                                                                           0044858
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13301
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Gwendolyn Kasprzycki
Organization: Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                             Posted: October 31, 2011
                                                             Tracking No. 80f19d91
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13302
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ron & Marilyn Summers
Organization: Holy Family Catholic Church


                                   General Comment
We are opposed to any mandate that forces any individual to personally or professionally to violate
Christian principles.

Repeal the Healthcare Law




                                                                                          0044860
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13303
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: David Hicks
Organization: Conerned Cathalic


                                    General Comment
How can we stand by and allow the results of the Religious rights of our citizens to be regulated by
the government.. As a voter and a Catholic I feel strongly our first ammendment rights are being
tested by suggesting any form of abortion or sterilization

Group Health Plans and Heath Insuraance Issuers related to Coverage Preventive Services under
Patient Protection and Affordable Care Act: (Document ID HHS-0S-2011-0023-002

Please help us to continue to be the greatest country in the world...




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13304
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Fred Isaacs
Organization: Jurisconsult, LLC


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19d97
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13305
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael & Maria Haley


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13306
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Claudia Essma


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13307
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: William Watts
Organization: The Cardinal Newman Society


                                     General Comment
The new HHS regulations on sterilization and contraception force Catholics to choose between our
faith and health care. By making this insurance coverage mandatory, our government has violated
the consciences of faithful Catholics and infringed on our constitutional rights to practice our religious
beliefs. The regulations' religious employer exemption will not protect the hundreds of Catholic
colleges, schools, and organizations which are not owned by the Church, but instead run by lay
Catholics. These Catholic institutions—as well as individual Catholic employers and health insurance
purchasers—are being forced by the government to violate their religious beliefs.

These regulations will certainly be challenged in the courts if enacted.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Do not enact these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                              0044865
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13308
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John McGalloway
Organization: Self Employed


                                    General Comment
Respect the Constitution and the rule of law and respect the consciences of faithful Catholics who will
not have our religious freedoms trampled upon by so called Czars. We will not support immoral
"health benefits". Stop the discrimination against Churches and people with religious beliefs. More
people attend church services on Sundays than all sporting events combined -- and we are eager to
express our beliefs come the next election!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13309
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathleen McLaughlin


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13310
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Lynwood Prest
Organization: Private Individual


                                    General Comment
To whom it may concern:
The Obama Health Plan that has been signed into law is violating our private rights and consciensces.
The new HHS regulations on sterilization and contraception (including abortifacients) forces Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.

The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. The US Government was never founded
for the purpose of forcing its citizens to go against their principals of right and wrong. This law does
just that.

Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.

Thank you.

Lynwood V. Prest
Groton. MA




                                                                                             0044868
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13311
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Kinkade


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13312
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joan Bristow


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13313
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Diana Freyberger


                                    General Comment
Birth control, including abortifacients, are not acceptable to Roman Catholics--or to other people of
sense. Requiring them to be provided by Catholic colleges, hospitals, or doctors is a clear violation of
the Constitution, which forbids the government to favor one religion over another. Abortifacients, of
course, are manifestly not health care, since they pretty well destroy the health of the patient given
them. And they don't do the mom carrying her any good either.

Just stop doing this. Just stop. Turn away from the evil, and respect the rights of your Catholic
brothers and sisters who must not be expected to choose between common decency and health care.
You must not ask me to support the killing of innocent children as the price for health care that I and
my family need.

Killing is not health care. Stop the insanity! Health care must *heal*. It is hard to even know how to
address reasoning so misguided that it would force those who wish to provide healthcare--to provide
for killing the innocent also.

It is, again, evil. Decent people must all stand with those who oppose the killing of innocent children,
and with those who wish to be allowed to live their faith without government mandates to sin.

Blessings,

Diana




                                                                                             0044871
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13314
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ken


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13315
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: David Smith


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044873
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13316
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joanne Buto


                                   General Comment
Dear President Obama,

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Very sincerely,

Joanne Buto




                                                                                           0044874
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13317
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Holly Simonich


                                   General Comment
The requirement for private insurance to provide contraceptive services and abortion services is
immoral. Private businesses/churches, etc., have the right to decide what benefits they want to
provide. I am praying for your conversion.




                                                                                           0044875
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Docket: HHS-OS-2011-0023
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13318
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                              Submitter Information
Name: Lawrence Peterson


                                  General Comment
ObamaCare is unconstitional and unacceptable to me as a Catholic. It must be revoked.




                                                                                        0044876
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13319
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: SHARON HERMEL


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13320
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Angela Smith


                                    General Comment
The big problem with the new HHS regulations on sterilization and contraception is that it if a
religious institution wants to opt out, the exceptions to the law are so absurdly narrow, that very few
of the institutions that religious organizations run would qualify. For instance, a shelter for the
homeless, ran by a church, that employs 100% Catholics but serves those that may not be Catholic
are then not exempt from the law. That is ridiculous. The Church, in its very nature, does not limit
itself to only its own kind. The Church in its very essense is open to help all the come for its help.
Please, with greatest concern, review and change these limitatins. For if you do not, may religious
places may be forced to go agianst their core beliefs and the impact will be felt through out all the
branches of the church.
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13321
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: David Speach


                                     General Comment
Please support the protection of freedom of conscience in medical decision making for health care
providers. This includes prescription medications, oral contraceptives and referral for sterilization,
euthanasia and abortion.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13322
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Gerald Monaghan
Organization: Our Mother of sorrows Church, Diocese of Rochester, NY


                                     General Comment

Obama Administration,

Please repeal the HHH regulation mandating coverage for sterilization and contraception including
abortifacients. This regulation violates the religious rights of Catholic organizations, especially those
operated by lay catholics and those that minister to non-catholics as well as catholics.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13323
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dolores Thompson


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13324
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Camilo Pedrano


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13325
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13326
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Christine Mello


                                    General Comment
Please consider the following; forcing persons to go against their religious beliefs is not what our
Constitution stands for.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13327
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joel Gibbons
Organization: Logistic Research & Trading Co.


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13328
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jack Gallagher
Organization: N/A


                                    General Comment
We, as Catholics, are in this situation due to a complete failure of senior leadership in the Catholic
Church. The law that was passed, known as ObamaCare, which allowed these regulations to be
published in the first place, was heralded by prominent Catholics in Congress as well as by lobbying
groups that included Catholic clergymen (and clergywomen). No consequences of any kind were
meted out to those Catholic sponsors and promoters of the legislation. Now we are told that the U.S.
Bishops (really? all of them? - I doubt it) are "preparing to launch a nationwide campaign on this
critical issue." How are we supposed to have faith in the credibility of these Bishops in their
opposition to "new health regulations" when they couldn't even muster the gumption to openly
oppose the Catholics who wrote/promoted ObamaCare? Now we lay Catholics are asked to support
this very late-in-the-game effort by the Bishops? To what end, may I ask?

Are the U.S. Bishops going to be recommending civil disobedience to these new regulations by
Catholic hospitals and Catholic colleges? And if those hospitals and colleges refuse to engage in such
civil disobedience, then what?

Hopefully the Bishops will not be openly crossing the line into political opposition that would
jeopardize tax exempt status. I certainly do not recommend that any Church sponsored activity be
engaged in for the purpose of changing the law or the regulations via promotion of, or opposition to,
candidates, etc.

I find it impossible to support an effort by the Bishops until I know what that effort entails, and we
shall see. But it should be made perfectly clear that we are here in this awful predicament because
these very same Bishops have a long history of failing to make any efforts at reining in the rogue
clergy who seem to think that alignment with the party of the Democrats makes them good,
unassailable Catholics by default. God help us all.



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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13329
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jay Matuga
Organization: Retired


                                   General Comment
Do not infringe upon my religious freedom.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13330
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joy Garrison


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13331
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Gary Terschluse


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13332
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Angela Schm


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13333
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Andrew Rosato


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0044891
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19dbe
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13334
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Eugene Karam


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13335
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Patricia Commender


                                    General Comment
The new HHS regulations on sterilization & contracepeption (including abortifacients) violates the first
amendment By making this insurance coverage mandatory, our government has violated the
consciences of faithful Catholics and infringed on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
and organizations which are not owned by the Church, but instead run by lay Catholics. These
Catholic institutions—as well as individual Catholic employers and health insurance purchasers—are
being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions. Please repeal these regulations and protect the religious freedom of
Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13336
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joseph Stalmach
Organization: private


                                    General Comment
Dear Sir or Madam,
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. I obect to that strenuosly. By making this insurance
coverage mandatory, our government has violated the consciences of faithful Catholics and infringed
on our rights to practice our religious beliefs. The regulations' religious employer exemption will not
protect the hundreds of Catholic colleges, schools, and organizations which are not owned by the
Church, but instead run by lay Catholics. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions.
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.
Sincerely yours,
Joseph Stalmach




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13337
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Ellen Firsching


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) will force
Catholics to choose between our faith and health care. By making this insurance coverage
mandatory, our government has violated the consciences of faithful Catholics and infringed on our
rights to practice our religious beliefs. The regulations’ religious employer exemption will not protect
the hundreds of Catholic colleges, schools, and organizations which are not owned by the Church, but
instead run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and
health insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                               Comments Due: September 30, 2011
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13338
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joseph Stalmach
Organization: private


                                    General Comment
Dear Sir or Madam,
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. I obect to that strenuosly. By making this insurance
coverage mandatory, our government has violated the consciences of faithful Catholics and infringed
on our rights to practice our religious beliefs. The regulations' religious employer exemption will not
protect the hundreds of Catholic colleges, schools, and organizations which are not owned by the
Church, but instead run by lay Catholics. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions.
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.
Sincerely yours,
Joseph Stalmach




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13339
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Denise Trahan
Organization: I'm just a citizen concerned about the Health Plan and it's components


                                    General Comment
I pay for my own insurance and am glad to do it. I think that those who can't afford it have been
going to charity hospitals on tax payers dime for a long long time... my own mother had to deliver
one of my siblings at a charity hospital because they didn't have insurance. However, I do not think
it's the governments place to force to me get my insurance where they want me to get it and limit
me to services the government body thinks I should get.

I am against birth control... especially when my tax dollars are used to pay for it!

Put the whole government body... past and present on the public sucial security pland and this health
care plan... do it.. and don't allow any exemptions to it!




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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13340
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joseph Stalmach
Organization: private


                                    General Comment
Dear Sir or Madam,
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. I obect to that strenuosly. By making this insurance
coverage mandatory, our government has violated the consciences of faithful Catholics and infringed
on our rights to practice our religious beliefs. The regulations' religious employer exemption will not
protect the hundreds of Catholic colleges, schools, and organizations which are not owned by the
Church, but instead run by lay Catholics. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions.
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.
Sincerely yours,
Joseph Stalmach




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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13341
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Susan Gursky


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13342
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Linda Cox
Organization: Blessed Sacrament Parish


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13343
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Steve DeWitt
Organization: Cardinal Newman Society


                                     General Comment
Stop the Obamacare provision requiring abortions, and contraceptives at all schools, including high
schools, colleges, and universities. The current provision violates my belief that all life is valuable,
even a human fetis.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13344
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joseph Stalmach
Organization: private


                                    General Comment
Dear Sir or Madam,
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. I obect to that strenuosly. By making this insurance
coverage mandatory, our government has violated the consciences of faithful Catholics and infringed
on our rights to practice our religious beliefs. The regulations' religious employer exemption will not
protect the hundreds of Catholic colleges, schools, and organizations which are not owned by the
Church, but instead run by lay Catholics. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions.
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.
Sincerely yours,
Joseph Stalmach




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13345
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sherri Craig
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13346
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Carlo Salzano


                                  General Comment
Please record my opposition to the proposed amendment to the preventive services act.




                                                                                        0044904
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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13347
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ann Smith
Organization: "Free American"


                                   General Comment
I (and many, many, many other Americans) am SOOOO SICK of the super congress, the
unethical/corrupt government and president stepping all over our rights and freedoms that OUR
Constitution and Declaration of Independence that OUR country was and STILL IS founded upon!!!
We are NOT blind and see SOOOOO many violations DAILY to OUR freedoms and rights as US
Citizens!!!

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13348
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: William Rothe
Organization: Registered Voter in Texas


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13349
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Denise Trahan
Organization: I'm just a citizen concerned about the Health Plan and it's components


                                    General Comment
I pay for my own insurance and am glad to do it. I think that those who can't afford it have been
going to charity hospitals on tax payers dime for a long long time... my own mother had to deliver
one of my siblings at a charity hospital because they didn't have insurance. However, I do not think
it's the governments place to force to me get my insurance where they want me to get it and limit
me to services the government body thinks I should get.

I am against birth control... especially when my tax dollars are used to pay for it!

Put the whole government body... past and present on the public sucial security pland and this health
care plan... do it.. and don't allow any exemptions to it!




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13350
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Berneta Schneider


                                  General Comment
Repeal OBAMACARE now, please!
Respect life and God's law.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13351
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Michael Vogelpohl
Organization: Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13352
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Richard Cipolla


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044910
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 538 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13353
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Diane Ridgeway


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044911
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 539 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13354
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marcela Bonilla
Organization: private citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044912
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 540 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13355
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jake McCoy


                                    General Comment
I'm writing to dispute this policy of requiring Church's to provide immoral medical services to their
employees. This is a BLATANT VIOLATION of the Separation of Church & State. The state has no
authority in this matter, it is a matter of religious freedom. Please reconsider this action.




                                                                                             0044913
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 541 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13356
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marcela Bonilla
Organization: private citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044914
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PUBLIC SUBMISSION                                              Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13357
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Richard Reschick


                                    General Comment
"VIOLATION OF OUR RELIGIOUS FREEDOM!"


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 543 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13358
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Clemons


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13359
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jean Sheehan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13360
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Suzanne Technow


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13361
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Sharon Pichler


                                    General Comment
I think it is OUTRAGEOUS that Catholic institutions (including Catholic churches) are being required to
provide "services" or "benefits" that directly contradict Church teachings. Although there is an
conscience exemption, it is so narrowly defined that most churches won't even qualify! If people
want to have abortions, the Catholic Church can not stop them, but to force us to PAY for these
people to kill their babies is disgraceful! In what way is abortion "preventive services"? Perhaps you
do not agree with Catholic Church teaching on the sanctity of human life (from conception to natural
death) but Catholics (and other religious groups) should not and must not be prevented by the
federal government from living their faith and living according to their conscience. This legislation
CAN NOT stand!




                                                                                            0044919
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13362
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Katrina Ederer


                                   General Comment
Dear Me. President,

I am sending this to you to urge you to re-consider your new health care regulations. It is utterly
unconstitutional to "require women's health plans to cover sterilization and contraception, including
"abortifacients" that cause abortion…
force many Catholic colleges, schools, and charities to violate their CATHOLIC identity by providing
immoral health benefits…
force college student insurance plans—even on CATHOLIC campuses—to offer FREE birth control and
sterilization to college girls!"
We are a nation formed by religious standards and we need to uphold those standards. Not
necessarily for religious reasons as much as plain old moral and ethical rights and wrongs. To force
an individual that is devoting their lives to helping other people go against their beliefs and
conscience is undermining everything this country fought for and believes in. Thank you for your
time.

Sincerely,

Katrina Ederer




                                                                                          0044920
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13363
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Eric Lund


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13364
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Janet Deken


                                    General Comment
Please repeal the new HHS regulations on sterilization and contraception and protect the religious
freedom of Catholics as guaranteed by the First Amendment. By making this insurance coverage
mandatory, the government has violated the consciences of faithful Catholics and infringed on our
rights to practice our religious beliefs. The regulations' religious employer exemption will not protect
the hundreds of Catholic colleges, schools, and organizations, not owned by the Church, but instead
run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers should not be forced by the government to violate their religious beliefs, by
participating in the mandatory contraception and sterilization coverage. We should not be forced to
choose between our faith and health care. It is your duty to repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment. Thank You.




                                                                                             0044922
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13365
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Marianne Weber


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
as well as other denominations to choose between our faith and health care. By making this
insurance coverage mandatory, our government has violated the consciences of faithful Catholics,
certain Protestant groups and orthodox Jews and infringed on our rights to practice our religious
beliefs. The regulations' religious employer exemption will not protect the hundreds of Catholic
colleges, schools, and organizations which are not owned by the Church, but instead run by lay
Catholics. These Catholic institutions—as well as individual Catholic employers and health insurance
purchasers—are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics, certain Protestant denominations and orthodox Jews as guaranteed by
the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13366
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joyce Bogovic
Organization: Lebhar-Friedman, Inc.


                                    General Comment
Has everyone lost their fear of Almight God? The new HHS regulations on sterilization and
contraception (including abortifacients) force Catholics to choose between our faith and health care.
By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs. The regulations'
religious employer exemption will not protect the hundreds of Catholic colleges, schools, and
organizations which are not owned by the Church, but instead run by lay Catholics. These Catholic
institutions—as well as individual Catholic employers and health insurance purchasers—are being
forced by the government to violate their religious beliefs. Mandatory contraception and sterilization
coverage in college student insurance plans force Catholic colleges to undermine their missions as
Catholic institutions. Please repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13367
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Poston


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13368
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Stanley Don Ragsdale
Organization: Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044926
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13369
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Robert McGowan


                                    General Comment
As an American citizen, taxpayer and believer in responsible government, I take gross exception to
the consideration for mandatory "pregnancy preventive services" in ANY legislation whatsoever. It is
my conviction that the government has completely overstepped its' boundaries in "dictating" this
forced coverage on all American's that actually impacts a very small percentage of our legal
population.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

As a believer in "Life at Conception", I will do everything in my power to publically diminish and hold
accountable all of those individuals in the Legislature, Congress, Senate and any Government Agency
that supports this legislation.




                                                                                            0044927
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13370
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dean Schoppe


                                   General Comment
With the ever increasing onslaught of diseases, the HHS needs to focus on those that do detriment
to the body.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0044928
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 556 of 1192
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f19de5
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13371
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jim Hill
Organization: Personal


                                    General Comment
The new HHS regulations require medical policies to include contraception and sterilizations. This
goes against my belief as a Catholic and feel discriminated against. It also goes beyond what our
founding Father entended in the Constitution. Please protect our rights against this type of regulation
in any form. This is blatenly against freedom of religion.




                                                                                            0044929
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 557 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13372
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Donna Davoren


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Please do not continue this attack on pregnant women and their unborn children. And please
recognize that too much government is dangerous for all of us. We must work together as a nation to
make sure that our God-given freedoms are preserved.




                                                                                           0044930
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 558 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13373
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Narciso Sanchez


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044931
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 559 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13374
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Geoffrey Hornbeck
Organization: Citizen of the United States of America


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044932
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13375
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kevin Bull


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                              Status: Posted
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13376
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Denise DiMuzio
Organization: Catholic U.S. Citizen


                                    General Comment
Gentlemen:
I respectfully ask that you do not pass the HHS-OS-2011-0023-0002 Amendment. As a faithful
Catholic this bill does not allow my Catholic institutions who serve all faiths to provide health care
according to the faith based rules which govern it. It also will force my Catholic institutions to
dispense and provide medications which destroy innocent human life in its very early developement!
Please, I beg you as a concerned taxpayor and fellow citizen of these unborn people; do not pass
this amendment!

Sincerely,
Denise M. DiMuzio




                                                                                            0044934
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13377
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Therese Stampor


                                   General Comment
In regards to Document ID HHS-OS-2011-0002: If religion is excluded from government, shouldn't
government be excluded from religion? It should not be the policy of HHS to MAKE anyone DO things
contrary to their religious belief. My money should not be used to go against my faith. Government
needs to butt out of this. If private funds wish to include this type of coverage, it should be their
choice, not mandatory.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13378
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Lachowicz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                               Status: Posted
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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13379
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: sr mary francis werner
Organization: mount assisi academy


                                    General Comment
The freedom of the American people is again under threat by the Obama Administration. The new
health regulations...which greatly limit the frredom of choice for life issues...needs to be stopped.

I am counting on our elected officials to speak out for those without an immediate voice...the
unborn...and those adults challenged to choose life!

thank you!




                                                                                             0044937
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13380
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jorge F. Vargas
Organization: Harte Hanks, Inc.


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13381
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Hill


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13382
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: BERNARD HETTINGER
Organization: Cardinal Newman Society


                                  General Comment
GET RID OFf OBAMA CARE, NOW! i CAN'T AFFORD ANY MORE GIVE A WAYS!. IF IT'S SUCH A GOOD
THING WHY DON'T ALL POLITICIANS GIVE UP THE PLAN THEY HAVE AND GO TO THIS?




                                                                                        0044940
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13383
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Donna Troyanowski


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13384
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Janet Deken
Organization: djfpoef


                                    General Comment
Please repeal the new HHS regulations on sterilization and contraception and protect the religious
freedom of Catholics as guaranteed by the First Amendment. By making this insurance coverage
mandatory, the government has violated the consciences of faithful Catholics and infringed on our
rights to practice our religious beliefs. The regulations' religious employer exemption will not protect
the hundreds of Catholic colleges, schools, and organizations, not owned by the Church, but instead
run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers should not be forced by the government to violate their religious beliefs, by
participating in the mandatory contraception and sterilization coverage. We should not be forced to
choose between our faith and health care. It is your duty to repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment. Thank you.




                                                                                             0044942
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13385
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: marion campbell
Organization: Registered nurse


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13386
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ruth Holewinski
Organization: Our Lady of the Assumption Church, Carmichael, CA


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13387
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: MARY HASSETT


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13388
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Sandra Fanguy


                                  General Comment
if we were Muslim I bet there would not be an issue here. Law abiding true God loving Americans are
having their rights trampled daily due to a president who is in bed wwith the Muslim brotherhood.
Respect our rights as true Americans .




                                                                                        0044946
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13389
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathleen McPherson
Organization: n/a


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the conscience of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions - as well as individual Catholic employers and health
insurance purchasers-are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment!




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13390
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joseph Pagani
Organization: Retired


                                    General Comment
Dear Kathleen Sebelius
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations religious employer exemption will not protect the hundreds of
Catholic colleges, schools and organizations which are not owned by the Catholic Church, but instead
run by lay Catholics. These Catholic institutions--as well as individual catholic employers and health
insurance purchasers--are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
collegesto undermine the missions as Catholic institutions. Please repeal these regulations and protect
the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044948
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 576 of 1192
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                                                               Received: September 14, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13391
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Anne R


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between their faith and health care. By making this insurance coverage mandatory, our
government violates the consciences of faithful Catholics and infringes on our rights to practice our
religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment just as the religious freedom of
other faiths are so earnestly protected.




                                                                                            0044949
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                                                              As of: April 02, 2012
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e03
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13392
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Prevish


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 578 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13393
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Martin Vandeven


                                   General Comment
The proposed regulation violates my beliefs and must not be included in any regulation. Please delete
this requirement government health regulations.

Martin Vandeven




                                                                                          0044951
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 579 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
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                                                            Posted: October 31, 2011
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                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13394
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Fran Gildon
Organization: Catholic Church


                                  General Comment
Please remove the regulation in the health care bill that affects conscientious objection to birth
control issues. It is very unfortunate that your Health and Human Services person (NOT a
PRACTICING CATHOLIC) can be forcing such things on hospitals, schools, clinics, etc. that are being
run by religious groups. The more we learn about the "health care that HAD to be passed"...the
more horific it becomes. I guess we should have clearly realized that a person (MR OBAMA) that
could continually vote for late term abortions would want to have such things pushed thru as much
as possible. We pray every day that GOD can forgive our country for what our lawmakers are putting
into affect.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13395
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Eleanor B. Pangilinan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13396
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: CHRISTINE GRIFFIN


                                  General Comment
PLEASE DO NOT ALLOW THE VIOLATION OF RELIGIOUS FREEDOM BY FORCING CATHOLIC-RUN
AGENCIES TO PROVIDE HEALTH-CARE COVERAGE THAT INCLUDES CONTRACEPTIVE METHODS
THAT VIOLATE CONSCIENCE.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13397
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mark Pharo


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13398
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa Spooner


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13399
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Christine Mullen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13400
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joey Nilan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13401
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Vicki Toumayan


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13402
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jennifer Duquaine


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 588 of 1192
                                                                As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13403
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Benita Habib


                                    General Comment
Please do not enforce certain actions on our society that you see right and just for our fellow citizens.
When actually it is not needed within our culture, nor right and Just. Our vote must count. You
represent us the people and we say no to this amendment.




                                                                                             0044961
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13404
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Denis Goyet


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13405
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathleen Skelly


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 591 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13406
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Richard Schaper
Organization: The Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13407
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marika Smith


                                    General Comment
I am strongly opposed to the proposed HHS mandates regarding contraceptives and sterilization
procedures. This are contrary to
real health care for women and men.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

I support health care that does not require the sacrifice of small human beings, or the mutilation of
women's childbearing capacities.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13408
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Stuart Holland


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13409
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Virginia Geisler
Organization: Catholic Church member


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044967
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 595 of 1192
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13410
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sheila Patterson
Organization: Roman Catholic Church


                                   General Comment
This federal sanction of euthanasia at the cost of religious freedom by will sink the Obama
administration and make a laughing stock of the United States of America.




                                                                                              0044968
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 596 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13411
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: JOAN CHAMBERS


                                  General Comment
Delete the sterilization "benefit" from any of the insurances.
Do away with Obamacare totally. This is not helping the American people and it is tready on my
rights. I do NOT want this to be a part of the American way of life and I do NOT want to pay one
thin dime for anyone else to kill another human being.




                                                                                         0044969
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13412
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mary Clifford RN


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, this
administration has violated the consciences of faithful Catholics and infringed on our rights to
practice our religious beliefs. The regulations' religious employer exemption will not protect the
hundreds of Catholic colleges, schools, and organizations which are not owned by the Church, but
instead run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and
health insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. We demand that you respect our
constitutional rights: Repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.




                                                                                            0044970
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13413
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Albert Gubbins
Organization: Self


                                   General Comment
The new HHS regulations on sterilization and contraception force Catholics to choose between our
faith and health care.
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.




                                                                                          0044971
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 599 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13414
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joe Ciufo
Organization: n/a


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044972
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13415
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Harold Felter


                                  General Comment
Stronger conscience protection need. Religious freedom must be protected.




                                                                                        0044973
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 601 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13416
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rose Jensen


                                   General Comment
Do not put this burden on Catholic Hospitals. My father was a GP at St. Mary's and St Vincent's. This
would have been horrible for his ability to practice medicine, and obey his conscience. He has died,
but this is terrible for those who practice medicine now.




                                                                                           0044974
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13417
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Ruppenthal


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 603 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13418
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Lois Donovan


                                  General Comment
I want to see Obama's healthcare revoked




                                                                                        0044976
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                                                               Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13419
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mark O'Donnell


                                    General Comment
I agree completely with these thoughts:

"The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment."




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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13420
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Karlovich


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) violate the
separation of church and force Catholics to choose between our faith and health care. The long term
outcome will be less health care for those who need it most. All because you wish to impose your
views of sterilization, contraception and abortion on an institution with legitimate and well-stated
opposing views. This is exactly the freedom that our constitution was created to protect against. I
ask you to do the right thing and protect the rights of all citizens, including those with whom you
don't agree. I want you to repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.




                                                                                          0044978
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13421
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Rebecca Ziemba
Organization: Catholic


                                    General Comment

Health care is outrageous....It violates my rights as a parent as Catholic ,to force contraception and
sterilization plans into collage-age plans is an atomic bomb to demoralize our young adult American
parents who are truly doing their job do not want this freedom to be a slut.This issue does not
belong in everyones health care.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13422
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Brian Goulet


                                    General Comment
I believe in the goodness of people in America. I believe in democracy and the greatness of this
country. I believe in freedom, a believe that was also shared by the Founding Fathers. I know that
we should never be forced to do something we know to be morally wrong. I know that this country
was created with religious freedoms and that the government cannot take away those freedoms. I
know that the Department of Health and Human Services is trying to force private health insurers to
provide contraception and I know that is morally wrong and against our rights as citizens of America.
I hope this is fixed before it is a problem. I hope the right thing is done.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Thank you for your time. Please do the right thing, not the most beneficial to yourself, not what will
get you the most money or the most power to rule over others. Please continue the greatness of the
United States of America and ensure our inalienable rights to be upheld. Thank you.




                                                                                           0044980
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13423
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathy Cobb


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13424
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Janice Hoelscher


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13425
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Donna Bond
Organization: individual


                                      General Comment
Please repeal the new HHS regulations on sterilization and contraception that violet the consciences
of faithful Catholics and infringe on our rights to practice our religious beliefs. Catholic institutions are
being forces to violate their religious beliefs. Please protect the religious freedom of Catholics and
others as quaranteed by the First Amendment.




                                                                                                 0044983
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13426
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John Thieme
Organization: Private citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 612 of 1192
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13427
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Daniel Schmitz


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13428
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Heidi Santschi


                                   General Comment
The following response was not written by me, however it expresses my view very well. I cherish our
freedoms, and want this amendment repealed.
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13429
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Paulette Kuta


                                    General Comment
Secretary Sebelius,
Pregnancy is not a disease which needs to be prevented. The gov't should not require Americans to
purchase insurance that covers contaceptives or any other method that kills babies.
Please remove these from the list of "preventive services" that the federal gov't is mandating in
private health insurance.
Also,it is necessary that any regulation needs to fully respect religious liberty. The narrow religious
exemption in HHS' s proposal rule is practically worthless as it will protect almost no one. I urge you
to allow organizations and individuals to offer, sponsor, and obtain health coverage that does not
violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13430
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Regis Dugan
Organization: home


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and homicide. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044988
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 616 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e38
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13431
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Glenn Purdy


                                   General Comment
To All Concerned:

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.


With Respect,

Glenn Purdy




                                                                                           0044989
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 617 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19e39
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13432
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: John Salitore


                                  General Comment
Why does the Government make me choose between health care and my religous convictions, ie
birth control/abortions, and expect me to pay for it.




                                                                                        0044990
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 618 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e31
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13433
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Bischoff
Organization: Self


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0044991
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 619 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e3a
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13434
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 620 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e32
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13435
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Nancy Rasmussen
Organization: Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e33
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13436
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: shirley ducey


                                   General Comment
Ms. Sebelius: You are a disgrace to your faith! Please re-think this hideous proposal. Thank you,
Shirley Ducey




                                                                                           0044994
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 622 of 1192
                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f19e3b
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13437
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Matthew Hardey


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between faith and health care. 

By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs.  The regulations'
religious employer exemption will not protect the hundreds of Catholic colleges, schools, and
organizations which are not owned by the Church, but instead run by lay Catholics.  These Catholic
institutions—as well as individual Catholic employers and health insurance purchasers—are being
forced by the government to violate their religious beliefs.  Mandatory contraception and sterilization
coverage in college student insurance plans force Catholic colleges to undermine their missions as
Catholic institutions. 

jPlease repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13438
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Frank Solis


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.




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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19e3c
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13439
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dennis Ferrara
Organization: Roman Caholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                            Tracking No. 80f19e35
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13440
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: R Fischer
Organization: personal


                                     General Comment
This simply violates our constitution. Nuff said!!!!




                                                                                        0044998
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 626 of 1192
                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f19e3d
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13441
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Pat and Charles Wiswall
Organization: US Catholic citizens


                                     General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.

America was founded on the right to religious freedom. When the rights of one group is denied, the
rights of all are put in jeopardy.

Please repeal the HHS regulations on sterilization and contraception (including abortifacients) and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              As of: April 02, 2012
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e3e
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13442
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nyana Janowsky


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045000
             Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 628 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e41
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13443
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Marjorie Shrder


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.


Sincerely,

Marjorie Shrider




                                                                                           0045001
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 629 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e42
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13444
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas A. Corcoran
Organization: Retired


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045002
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 630 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e3f
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13445
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Scott Stanton


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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             Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 631 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e43
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13446
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Heidi Wood


                                   General Comment
Dear Leaders in Government,

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Sincerely,

Heidi Wood




                                                                                           0045004
             Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 632 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e40
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13447
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mr. & Mrs. Charles aloney


                                   General Comment
Please remove the regulation that provides for sterilization and contraception including abortion, from
your healthcare bill. It goes against our Catholic belief. This is taking away our freedom. We do not
want our Catholic colleges forced to provide these in their health-care plans. They do not come under
the Catholic Churches exemption.

Sincerely,

Charles and Margaret Maloney




                                                                                           0045005
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 633 of 1192
                                                                As of: April 02, 2012
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f19e4b
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13448
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: REBECCa Bruce
Organization: Lector at the Cathedral of the Blessed Sacrament


                                    General Comment
Abortion is a criminal offense that is why America is in chaortic world. Pls understand that if people
take good care of animals why people has the option to abort a child. This is monstrous and not
acceptable.

The moment of conception, the is baby is a human being and why shd we chose the option to abort.

People has the freedom to chose our healthcare and not to be demanded which healthcare to
chose...this is insane.

Things makes complicated for people who does not understand what is to be healthy or not.

Why don't you people fr the government make a test and study w/in your family to do abortion and
see the result or make the option to chose a healthcare that you have to dictate what type of
healthcare that has to be applied w/in the members of your family and explain to us the result.




                                                                                             0045006
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 634 of 1192
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e4c
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13449
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Clovis Guevara


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




                                                                                           0045007
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13450
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: anne hamer
Organization: Catholic


                                   General Comment
Catholics do NOT believe in abortion and should not be forced to endorse this policy of murder.




                                                                                          0045008
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13451
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patrick O'Rourke
Organization: The Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045009
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13452
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Doris Engeman


                                   General Comment
Greetings!

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Thank you for your prayerful and thoughtful consideration.




                                                                                           0045010
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13453
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kerryl Helton


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13454
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carmen Martinez


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13455
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tom Ewert


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13456
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Catherine Stanton
Organization: St. Andrew Parish, Colchester, CT


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13457
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jon Rivera
Organization: Private Citizen


                                    General Comment
The new HHS regulations on sterilization and contraception ( including abortifacients ) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13458
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: jane deChantal
Organization: Visitation Monastery and School


                                  General Comment
Obama's "health care" program is a farce and I truly believe is harmful to Americans. Let Obama and
those who adhere to his ludicrous program of "health care" check the Constitution and the Bible.
Obama is violating BOTH.




                                                                                        0045016
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13459
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Sonia Maskas


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13460
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13461
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Barbara Chan


                                    General Comment
The word "Health" and "Care", I thought it means "carefully bringing the sick to good health". How
can we qualify Known complications of sterilization and prescription contraceptives as being careful"
When did the natural reproductive system works in women is consider unhealthy. It is so clear.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

If the government wants to help, please encourage education on natural family planning. It is not too
late to educate young adults to respect their bodies, to focus in what will bring them true value and
confidence in life and to become the Americans that we can be proud of and build our country on
solid grounds... Please! do not go to the wrong direction.




                                                                                            0045019
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13462
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Nat & Cassandra barbara


                                    General Comment
We are appalled at legislation that would make taxpayers purchase insurance that would have in
their coverage preventive services for women, such as sterilization, contraceptives, etc..
This not only goes against our religious beliefs, and our right of conscience, but is dictatorial and not
democratic.
Have we lost our conscience completely? Have we no fear of God? Our time on earth is short. We will
reap in eternity the seeds that we sow on this earth.
Get rid of this legislation.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13463
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: David Jones


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13464
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Rebecca Tan


                                    General Comment
he new HHS regulations on sterilization and contraception (including abortifacients) force Catholics to
choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13465
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kevin Leaver


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13466
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Megan Homan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.
Thank you for listening,
Megan C. Homan




                                                                                           0045024
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13467
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Armando Sandoval
Organization: Myself


                                  General Comment
Please do not FORCE those who object to your coverage of Preventive Services to do something that
is against their consciences and religious beliefs.




                                                                                        0045025
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13468
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: David Younger


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13469
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Kristen Hetzel


                                    General Comment
The new HHS regulations on sterilization and contraception force Catholics to choose between our
faith and health care. By making this insurance coverage mandatory, our government has violated
the consciences of faithful Catholics and infringed on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
and organizations which are not owned by the Church, but instead run by lay Catholics. These
Catholic institutions—as well as individual Catholic employers and health insurance purchasers—are
being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions. Please repeal these regulations and protect the religious freedom of
Catholics as guaranteed by the First Amendment.




                                                                                              0045027
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 655 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13470
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Eugene Lamb


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045028
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 656 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e68
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13471
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Denise Sobilo
Organization: A ve Maria School of Law


                                   General Comment
I oppose as a matter of faith and conscience the implementation of the policies re: abortion and
contraception related provisions.




                                                                                          0045029
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 657 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e6c
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13472
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Gruber
Organization: Independent voter


                                   General Comment
The proposed Health regulations affecting the "conscience exceptions" for professionals and
organizations must be changed from the current/proposed language.

The governments attempt to control the national conscience is despicable. Any legislator that votes in
favor of the current language should be tossed out in the next election as they do not understand or
appreciate the rights violations they are imposing on those with a consecince.

The current language is unconstitutional and must be changed !




                                                                                           0045030
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 658 of 1192
                                                              As of: April 02, 2012
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13473
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Connie Yates
Organization: individual


                                    General Comment
It is blatantly unconstitutional to allow the rule: Group Health Insurance Issuers Relating to Coverage
of Preventive Services under Patient Protection and Affordable Care Act: Amendment (Document ID
HHS0-OS-2011-0023-0002) to go into effect. Please repeal these regulations and protect the religious
freedom of ALL CITIZENS as guaranteed by the First Amendment.




                                                                                           0045031
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 659 of 1192
                                                              As of: April 02, 2012
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13474
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Alison Morrison


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045032
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 660 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e71
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13475
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: James Seurynck
Organization: Catholic Church


                                   General Comment
Why would a person elect to subscribe to something that is morally wrong? To elect something that
is so limiting in the scope of our existence so that they elect eternal condemnation amaizes me.
remember, if you believe it or not is not going to change what happens to us at the end of our
mortal life. Our responsibility is to make sure that our decisions are morally correct. God bless you
and guide you.




                                                                                           0045033
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 661 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e72
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13476
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John McKenna
Organization: Self


                                   General Comment
I feel strongly on this issue and feel that government involement is not warranted.




                                                                                        0045034
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 662 of 1192
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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13477
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Hussey
Organization: Roman Catholic


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045035
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 663 of 1192
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                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13478
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: David Bodien


                                    General Comment
This violates my religious beliefs, and as such I should not be required to fund.

This is the government bailing people who do not take any responsibility for the sexual conduct - nor
bear any financial accountability for their choices.. Choices come with consequences. I should not
have to pay for other's lack of integrity.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045036
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 664 of 1192
                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13479
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Susan Bertaux
Organization: Roman Catholic Church


                                    General Comment
The new HHS regulations on sterilization and contraception
(including abortifacients) force Catholics to choose between
our faith & health care. We would be forced to violate our
religious beliefs.
Please repeal these regulations to protect the religious freedom of Catholics guaranteed by the First
Ammendment.




                                                                                            0045037
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 665 of 1192
                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13480
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Virginia Williams


                                    General Comment
The new HHS regulations on sterilization & contraception(including abortifacients) force Catholics to
choose between our faith and health care!! By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics, and infringed on our right to practice
our religious beliefs. The regulations' religious employer exemption will NOT protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the church,but instead run by
Castholics! These Catholic instutitions--as well as individual Catholic employers and health insurance
purchasers are being FORCED BY THE GOVERNMENT TO VIOLATE THEIR RELIGIOUS BELIEFS!
Mandatory contraception and sterilization coverage in college insurance plans force Catholic colleges
to undermine their missions as Catholic institutions.
Please REPEAL these regulations and protect the religious freedom as GUARANTEED by the First
Amendment!!




                                                                                            0045038
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 666 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13481
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Emily Goodrich Gazda


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045039
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 667 of 1192
                                                              As of: April 02, 2012
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13482
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kris Walters


                                   General Comment
I do not support the mandate/rule requiring the offering contraception and preventive services.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045040
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 668 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13483
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Ann Vann


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045041
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                                                              As of: April 02, 2012
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e81
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13484
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: lisa bourey
Organization: catholicvote


                                   General Comment
As a registered Democrat and a registered nurse I believe that
the new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045042
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 670 of 1192
                                                            As of: April 02, 2012
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                                                            Posted: October 31, 2011
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                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13485
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: MARY DIBBLE


                                    General Comment
I am against this bill it is wrong and should not stand




                                                                                        0045043
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                                                               Posted: October 31, 2011
                                                               Tracking No. 80f19e77
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13486
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: george j carroll
Organization: Member of the Catholic Church


                                    General Comment
he new HHS regulations on sterilization and contraception (including abortifacients) force Catholics to
choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0045044
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                                                             As of: April 02, 2012
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                                                             Posted: October 31, 2011
                                                             Tracking No. 80f19e84
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13487
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lucille Bringenberg


                                   General Comment
ObamaCare violates my religious rights as an American citizen and must be revoked. It is a violation
of my Constitutional freedoms. I do not need the Government mandating that I purchase products or
services that violate my freedom to make my own decisions regarding what I need or want.




                                                                                          0045045
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 673 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13488
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Mersol
Organization: Knights of Columbus


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045046
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 674 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13489
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sara Giorgis
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045047
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 675 of 1192
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PUBLIC SUBMISSION                                                Status: Posted
                                                                 Posted: October 31, 2011
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                                                                 Comments Due: September 30, 2011
                                                                 Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13490
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: El Gee
Organization: Cardinal Newman Society


                                     General Comment
Totally opposed to above rule & Obama Plan in general.
Please be as cognizant & respectul of religious beliefs/teachings as govt. is of being politically correct
in other areas dealing w/freedom!!!




                                                                                               0045048
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 676 of 1192
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                                                                Posted: October 31, 2011
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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13491
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Barbara Brummitt
Organization: St. Monica Catholic Church


                                    General Comment
My rights for religious freedom are being violated as well as those rights of religious freedom for
Catholic colleges and hospitals. it is against our faith to support abortion, or anything that interfers
with our God given riht to bear children such as the pill etc. I strongly oppose any pro-abortion
language in my health care proposals.I am a member ofSst. Monica Curch but am writing this on the
basis of myu own conscience, not as a representative of the church.




                                                                                             0045049
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e87
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13492
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sandra Knopf


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045050
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13493
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jeannie Presley


                                   General Comment
I object to your interference with the freedom or Religion guaranteed in our Constitution. You should
not try to dictate what Catholic colleges must do in the way of health care. Pleas withdraw your
present plans and give us all freedom of conscience in our religious beliefs.




                                                                                          0045051
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13494
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Brian Fowler


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13495
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Charles Talley, Ph.D.


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13496
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rosemary Pitlyk


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13497
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jean Neis


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. Mandatory contraception and sterilization coverage in
college student insurance plans force Catholic colleges to undermine their missions as Catholic
institutions. Please repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 683 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13498
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: JoAnn Calvaruso


                                    General Comment
I Pray for you my brothers & sisters in Christ, Please the time is so dark right now in the word so now
is when we must stand up for God and for His Son Jesus. He has not forgot about us He Stands
ready to fight with us. Stand by your Catholic Vales to God and God will stand by us, In Jesus Name
I Pray do not forget who died on The Cross to open the Gates of Haven for us.Amen




                                                                                            0045056
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13499
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Allard


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13500
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Chris Bearden
Organization: John Paul II High School


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13501
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rev. Augustine Judd, OP


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045059
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13502
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Emile Casadaban


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13503
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: kathy goodfellow


                                     General Comment
This new rule stands in the face of all the Catholic Church stands for....to force secular befiefs on a
religious institution, school, employer or college is discriminatory and "the government" has
absolutely no right to conflict with the tennets of the faith.
As a mother, the thought that a catholic school would be FORCED to support abortion, etc to girls,
employees in the school puts the meaning of life and marriage in the gutter...which appears to be
where all the liberals would like it to be....Life is meaningless, so lets kill it quick....

Sorry state of affairs for our culture and world....and to know the HHS is headed by a so called
"Catholic"...what a joke...she is just a henchwoman....




                                                                                              0045061
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 689 of 1192
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19e90
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13504
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathy Schur
Organization: Stay at home mom


                                   General Comment
I am very upset that our government would force our families to have insurance this is against my
moral code. It is already terrible that planned parenthood pushes abortion! I was pushed to have an
abortion a long time ago and know a few others thathad similar experiences. I was not given the
proper information about the precious life that was in me and this has effected my soul for eternity.
It has taken a life time to forgive myself and others. Even my own parents realized that were
directed wrong! Our government should be directing our young that all life is precious and to take
responsibility for our actions.




                                                                                           0045062
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                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13505
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Gary Frederick
Organization: Retired


                                  General Comment
President Oboma, you should be very thankful that your mother was pro-life. You will not destroy
this country.




                                                                                         0045063
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 691 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13506
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Cindy Baeumler


                                    General Comment
Dear Sir/Madam:

I would like to take a moment to express my extreme displeasure with the new HHS regulations on
sterilization and contraception (including abortifacients). From a purely political standpoint, these
regulations force Catholic institutions to implement policies in direct contradiction to a key belief;
sanctity and protection of human life. From a moral perspective, I believe abortion is wrong. From
conception, life is present. From a philosophical and social perspective, abortion is wrong; it supports
a disregard for life and is damaging to the woman emotionally. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment, and do your part in
ensuring a society that values the sanctity of life and the well being of its members.




                                                                                             0045064
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13507
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Shain and Diane DeVan


                                   General Comment
Please support Catholic teaching. Do not allow any type of abortion or contraceptive teaching




                                                                                          0045065
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13508
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Kopka


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13509
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Bob Creedon


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

I demand that the Obama Administration revoke these new healthcare regulations that blatantly
violate mine & the Church's—religious freedom.




                                                                                           0045067
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                                                              Tracking No. 80f19e97
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13510
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Teresa Spracklen


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045068
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13511
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new regulations from HHS requiring those, whose religious faith and convictions differ, on being
required to furnish, support, or pay for so-called health services dealing with various aspects of
population growth is a violation of religious freedom . This is wrong and should not be mandatory
and compulsory and violates the first right expressed in the First Amendment of the Constitution.
Therefore, I am asking for reconsideration of this controversial policy which demands adherence for
those opposed on religious belief.




                                                                                          0045069
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13512
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Daniel Kinnik


                                    General Comment
I am vehemently against Obamacare for many reasons but especiallly since it violates my beliefs as a
Catholic regarding the respect for life. Obamacare is also a violation of the U.S. Constitution. This law
is an abomination and is contrary to the beliefs of the majority of all good people in the US. It must
be repealed immediately. Please do not wait!!!!!!!!!!!!!!!




                                                                                              0045070
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13513
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Hayden Mercer


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045071
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13514
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Stephen Schnelker


                                    General Comment
Dear Obama Administration:

It is outrageous that you would create any type of legislation that, in effect, forces Catholics to
participate in the issuance of contraceptives, the practice of abortion, or any other mandate that
results in death to innocents (an action revulsed by most since the days of Herod).

Why do I suspect you would not trample on the religious rights, beliefs and practices of Muslims as
you are wont to do with Catholics?

Stephen Schnelker
317.896.1111




                                                                                             0045072
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 700 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13515
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: L. Bell
Organization: individual


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0045073
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13516
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Peter Kneusel
Organization: Citizen


                                   General Comment
Just a reminder that the role of government is to serve the people, not drive them into a corner
where they have to choose between losing most of their business or betraying their values.




                                                                                          0045074
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13517
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Frank Denke
Organization: Retired IBM


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045075
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13518
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mr. and Mrs. Barry Quinn


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13519
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Megan Homan


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Thank you for listening.




                                                                                           0045077
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13520
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: jacqueline tigges
Organization: catholic


                                   General Comment
As a Catholic I deeply resent having to go along with providing abortions funds which to anyone.




                                                                                          0045078
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13521
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Pellegrini
Organization: None


                                   General Comment
Keep your politics and personnel views (both useless in my opinion) out of my religious beliefs.
Haven't you ruined the country enough?




                                                                                           0045079
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13522
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Milanowski


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045080
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13523
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Arthur Schaefer
Organization: citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045081
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13524
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Adrian Akau
Organization: None


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045082
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13525
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jessica Dominguez


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045083
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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13526
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patricia Thomas


                                   General Comment
As a mother of four wonderful children and a practicing Catholic, I am very opposed to this mandate.
I do not want my tax dollars to pay for abortion or contraceptives and sterlization that I am both
morally and religiously opposed.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045084
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13527
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jennifer Marciano


                                   General Comment
Mr. President:

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Sincerely,
Mrs. Jennifer Marciano




                                                                                           0045085
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13528
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Pamela Birdsall


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045086
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13529
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Frank Cestone


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19eb3
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13530
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James W SCHENKEL
Organization: Hucks Transmission Shop


                                   General Comment
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.

The new HHS regulations on sterilization and contraception and abortifacients force Catholics to
choose between faith and health care. Our government will violate the consciences of faithful
Catholics and infringe on our rights to practice our religious beliefs.

Catholic institutions—as well as individual Catholic employers and health insurance purchasers—are
being forced by the government to violate their religious beliefs.




                                                                                           0045088
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13531
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Raymond Anater
Organization: Private Citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

As devoted Catholic Husband and Father with three (3) college age daughters, QUITE TRAMPLING
ALL OVER MY RIGHTS AND MY DAUGHTER"S RIGHTS TO PRACTICE OUR RELIGIOUS AND NATURAL
LAW BELIEFS!!!!!!!




                                                                                           0045089
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13532
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dan Minnaert


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13533
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Bernard Knier
Organization: Private


                                     General Comment
To All Concerned;
The mandate in this bill does not take into consideration the moral values held dear by many people
who believe the use of artificial birth control goes against God's plan. To legislate this ruling into law
would mean many who believe in Natural Family Planning only would be forced to seek employment
in another field or, in the case of an institution would be forced to close its doors.
I hope you reconsider this problem and change the possible exclusion of these individuals and
institutions.




                                                                                               0045091
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13534
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dexter Koehl


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13535
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: marianna


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13536
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13537
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Brian Amundsen


                                   General Comment
Dear Sirs; The new HHS regulations on sterilization and contraception (including abortifacients) force
Catholics to choose between our faith and health care. If this insurance coverage is made
mandatory, then the government has violated the consciences of faithful Catholics and infringed on
our rights to practice our religious covenants and beliefs. There is no real exemption for Catholic
colleges, schools, and organizations run by lay Catholics. We will be forced to either deny
employment, service, enrollment and funds from non-Catholics to meet the regulations exemption or
shutdown the plans currently offered. Please repeal these regulations and protect the religious
freedom of Catholics as guaranteed by the First Amendment to practice our faith without interference
from the government. I feel strongly about this and feel these regulations go far beyond what
Congress authorized and are contrary to the specific exemptions that Congress included in the law.
Please consider so that lawsuits maybe avoided.

Sincerely hoping you hear God's voice today,
Brian Amundsen, 3048 Woodale Drive, Mounds View MN




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13538
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ellen LaScotte


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13539
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jack Lowe


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.I think
this is all
getting out of hand. The Government needs to back off telling the
citizens they have to help supply the impliments to carry out the
murder of unborn children. Some of you people in the Gov. think
you have the RIGHT TO CHOOSE for everyone,Your WRONG- we all have the God given RIGHT TO
CHOOSE on this matter for ourseleves.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13540
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marianne Stook


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13541
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Engberg


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13542
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Margaret Campbell
Organization: Cardinal Newman Society


                                    General Comment
I wholeheartedly protest the proposed regulation violating the consciences of millions of Americans by
requiring abortion related health care coverage. This is an invasion of privacy guaranteed by the U.S.
Constitution. The regulations' religious employer exemption will not protect the hundreds of Catholic
colleges, schools, and organizations which are not owned by the Church, but instead run by lay
Catholics.

Furthermore, these regulations will undermine the missions of Catholic colleges as Catholic
institutions. Please repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.

Sincerely,



Margaret Campbell




                                                                                             0045100
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13543
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Pat Kolb
Organization: Catholic


                                   General Comment
How could you allow our religious freedoms be compromised in this heatlh care plan. This must
change. We answer to God frist and the government has no right to force us to deny God's
commands. Woe to United States of America. God will not tolerate this behavior. We already are
killing the babies our future priests, nuns, parents, goverment leaders, and tax payers. Know were
are having to pay for the continued evil acts because our governement is afraid to say no in the
name of God. Woe to our country. I continue to pray for God's will be done.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13544
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Anna Bonk
Organization: A dedicated Catholic


                                     General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

The United States is on a slippery slope, just as Ancient Rome fell, so will our country, if things do
not change. Since Roe vs Wade in the 1970's we have steadily declined morally and have lost our
conscience in regard to good and evil. Please change this law to prevent obvious evil, such as,
requiring that people violate their conscience by forcing them to allow sterilization, contraception,
etc.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13545
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: audrey wiegel
Organization: prolife


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13546
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lucille Lailhengue


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Respectfully,




                                                                                           0045104
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13547
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa Luley
Organization: US citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13548
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Timothy Morris
Organization: self


                                    General Comment
This is not acceptable to me and my family in any way. This is wrong on every level.

Thank you for your consideration.




                                                                                        0045106
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 734 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13549
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dan Foreman


                                   General Comment
Not that it will do any good to try to reason with Communists bent on the destruction of America,
but until he provides a REAL birth certificate, I reject obama as president and everything he stands
for.




                                                                                           0045107
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 735 of 1192
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13550
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John F. Cherry MD
Organization: Retired


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

I believe these 'regulations' are LAWS and should be approved by our Congress, not a regulatory
agency. We must put these suggestions to a Constitutional test and proper legislative process. Again,
I am opposed to these tactics and ideas.




                                                                                           0045108
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 736 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13551
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: L. G. Roland


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13552
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Cheryl Dazey
Organization: Franciscan St. Margaret Health


                                    General Comment
The new obamacare regulations on sterilization and contraception (including abortifacients) force
many of us, especially Catholics to choose between our faith and health care...and for many their
job. By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs. The regulations'
religious employer exemption will not protect the hundreds of Catholic colleges, schools, and
organizations which are not owned by the Church, but instead run by lay Catholics. These Catholic
institutions—as well as individual Catholic employers and health insurance purchasers—are being
forced by the government to violate their religious beliefs. Mandatory contraception and sterilization
coverage in college student insurance plans force Catholic colleges to undermine their missions as
Catholic institutions. Please repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.




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                                                              Posted: October 31, 2011
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13553
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Cindy Ropp


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13554
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Denis Laplante


                                    General Comment
This new HHS regulations on sterilization and contraception (including abortifacients) force the
Catholics of USA to choose between their and health care. It's contrary to true justice.
By making this insurance coverage mandatory, this U.S. administration has violated the consciences
of faithful Catholics and infringed on theirrights to practice their religious beliefs.
The regulation's religious employer exemption won't protect the hundreds of Catholic colleges,
schools and organizations which are not owned by the Church but instead run by lay Catholics.
These Catholic institutions -as well as individual Catholic employers and health insurance purchasers -
are being forced by the government, contrary to elementary justice, to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their very missions as Catholic institutions.
Please don't act as though you were leaders of the late USSR! Please repeal these regulations and
protect the rights of American Catholics to freedom of faith as guaranteed by the First Amendment.
Thank you!




                                                                                            0045112
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13555
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Daniel O'Brien
Organization: Private Citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 741 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13556
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carmela DeNobile


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13557
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Robert Geiger


                                     General Comment
This is a blatant disregard of my moral principles and I will fight this until it is dropped.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 743 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13558
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Charlotte Sczepanski


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 744 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13559
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Matthew Robe
Organization: Professional Contractors & Engineers, Inc.


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. It also increaes employer costs in the form of higher
insurance premiums to employers already struggling in today's. By making this insurance coverage
mandatory, our government has violated the consciences of faithful Catholics and infringed on our
rights to practice our religious beliefs. The regulations' religious employer exemption will not protect
the hundreds of Catholic colleges, schools, and organizations which are not owned by the Church, but
instead run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and
health insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations in order
to protect the religious freedom of Catholics as guaranteed by the First Amendment and to help
reduce overhead costs of struggling small employers.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13560
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: maria giron


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045118
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 746 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13561
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Margaret Mans
Organization: Right to Life of Kansas, West Sedgwick County


                                  General Comment
We oppose the federal mandate for insurance companies to pay for contraception and abortion. That
is NOT health care. We can hardly afford health insurance now. This is a violation of our religious
rights and is not in the realm of good government!




                                                                                         0045119
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 747 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13562
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Gerald Schwalb
Organization: Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 748 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13563
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rosemarie McManus
Organization: Spirit of Love, Catholic Charismatic Group


                                  General Comment
I strongly object and decline to have my constitutional rights violated by the Obama Government
Administration. As a taxpayer, I abhor the poisonous uses of my freedom in my financial
responsiibilities.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 749 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13564
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Danny Muniz


                                    General Comment
Please respect the right of individuals not to be forced to violate their consciences and repeal the
onerous regulations that are against the morality of Catholics.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 750 of 1192
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13565
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: beth Richards


                                    General Comment
I strongly urge you to repeal the regulations on sterilization and contraception and protect the
religious freedom of Catholics as guaranteed by the First Amendment. The rules and regulations
represent tyrranical methods of governance by unelected officials. By making this insurance coverage
mandatory, our government has violated the consciences of faithful Catholics and infringed on our
rights to practice our religious beliefs. Though Catholics have long been disdained by the governing
bodies of the United States, this is clearly an new kind of attack on expression of strong held religious
views. Your violation of personal freedoms will be responded to a loud voice.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 751 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13566
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: jen binns


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 752 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13567
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Vaughan
Organization: St. Stephen Cathedral, Owensboro, KY


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13568
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Clarence J. Kellerman
Organization: Individual


                                   General Comment
“Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of ‘preventive services’ the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS’s
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.”

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. Please
repeal these regulations and protect the religious freedom of Catholics as guaranteed by the First
Amendment.




                                                                                           0045126
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13569
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Andrew Baalman
Organization: Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13570
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Erica Jackson
Organization: Misericordia Home


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13571
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Clifford Amore


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13572
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michelle Swing
Organization: St. Francis of Assisi Parishoner


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13573
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: louis morelli
Organization: retired


                                   General Comment
It is incredible how eroded the Constitutional is. How can these usurpers violate the law. Remember
the Constitution is the well spring from which all laws promulgate without which there is no Country.
Have we lost our way are we being taken over by a foreign force that has paid all these syncopate
politicians (save Ron Paul) to do their bidding. I think so, remember Jesus himself showed us the real
culprits when he took a whip to them in the temple--"The Money Changers" they are the culprits. All
we can do is pray the money changers are too powerful now..

Lou Morelli




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13574
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13575
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Katia Chantiri
Organization: A consciencous person


                                   General Comment
First: Obama, if your mother had aborted you, you would not have the chance to be the president of
the United states.
Second: I want my hard working money taxes to go to life projects not to death concentration
camps.
Third: People are smart, they are supposed to be responsible of their own actions. If a person kills
another person, he is in prison for life.. How with good conscience you are allowing killing the
vurenable. What a controversy.
Fourth: America stands for "Human Rights", wher is the unborn human right? are you afraid so much
of his/her human rights? so, you decide on eliminating them. What kind of democracy you are
leading.
Fith: Obama, Killing was never a winning act, it is all destruction. You are enabling people to kill
freely. So, America is the country of hatred and violence and death of the human life and existence.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13576
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Pamela Brown
Organization: Catholic pharmacists


                                    General Comment
Please repeal the regulations and protect the religious freedom of catholic christians as guaranteed by
the first amendment. This is not improving healthcare but disregarding the sanctity of all life. Is this
really the land of the free when I am forced to do something I believe is morally wrong?




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13577
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Frank Schwamberger
Organization: Retired Indivdual


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13578
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mark Valentine


                                    General Comment
There are so many implications of this part of the health care bill that will directly affect Catholic
organizations in a negative way and the government would be forcing Catholics to go against their
faith if they wanted to stay in business. Please extend the same courtesy to Catholic organizations
that is extended to others by not forcing them into conformity against their religion.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13579
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Joyce


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13580
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tony Weber


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13581
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michelle Vidal


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13582
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: David Cuddihy


                                     General Comment
The new HHS regulations on sterilization and contraception force Catholics to violate our conciences.
By making this insurance coverage mandatory, our government has violated infringed on our rights
to practice our religious beliefs. the religious employer exemption is so limited that it will not protect
the hundreds of Catholic institutions - schools, hospitals, colleges, charitable organizations - that are
run by lay Catholics. Mandatory coverage in college student insurance plans force Catholic colleges to
violate their religious beliefs. These regulations subvert the mission of Catholic organizations,
squelching their Catholic identity.
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13583
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patrick Finn


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13584
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Fgouth
Organization: Just a voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13585
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jan Moore


                                    General Comment
Stop obombacare period! Esp. in regard to free abortions, birth control pills ect.




                                                                                        0045143
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13586
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Nancy Schlageter


                                    General Comment
Please allow our Catholic Universities to manage our schools as was intended when we opted to send
our children there for their extended education. We chose these schools for a specific reason;
extension of their religious education. We did not pay for private schools for just any reasin. We
expected that they be taught a necessity of life; their beliefs and expectations. Please leave us alone
to run our own institutions; we were doiing a great job without your interference.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13587
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: anthony casale


                                   General Comment
The heath care bill is an archaic and flawed system. The best the Government can do is to set up a
CURE mentality and environment. The treatment of disease with technology and prescriptions will
only escalate the cost to a point that any sick person will be a HUGE Liability to the system.


The Government must take a lead in CURING diseases. If the government monies is tied up with
treatment the curing of disease will be impossible.
tony




                                                                                         0045145
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13588
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Brenda DesOrmeaux


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. This is a violation of the consciences of faithful
Catholics and infringes on our rights to practice our religious beliefs.

We are being forced by the government to violate our religious beliefs.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.

Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.




                                                                                            0045146
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13589
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Laura Hales


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13590
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Pat Glenn


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.

Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13591
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Leslie Verdin


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of preventive services the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects no one. I urge you to allow all organizations and individuals to offer, sponsor and
obtain health coverage that does not violate their moral and religious convistions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13592
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: George Vaughan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13593
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Suzanne Legg


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations’ religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13594
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Richard Highduke


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13595
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Gloria Relloma
Organization: Workers of St. Joseph, Perpetual Adoration Ministry,Legion of Mary Aux.


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government is violating the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13596
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Sincerely,
The Conza Family




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13597
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Richard Stahl
Organization: Analytical Chemist


                                   General Comment
The majority of American’s and Marylander’s disagree with the Obamacare bill and it needs to be
repealed! There are much better and more efficient ways of fixing our health insurance problems
over having a mandated or nationalized system!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13598
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tom Gehrlein


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations’ religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13599
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jacqueline K. Mazza
Organization: Mazza Design SOlutions, LLC


                                   General Comment
I am outraged at the arrogance of the government to stick its nose into my religious beliefs. That is
not the American way. I offer a generous health plan to my employees that is really supportive of
their life and health. I do not support death on demand.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.

Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13600
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Franklin Visek
Organization: none


                                   General Comment
Don't you folks ever listen to the people. Stop with this IMPERIAL Administration.

Do not use MY money for birth control, sterilizations, and even abortion drugs for women?

May God have mercy, F.J. Visek




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13601
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Moran


                                  General Comment
Please do not ask Americans to ignore their consciences, and be forced to provide abortifacents
under health care policies.
Don't put people on the line, and force them to choose between their beliefs and values, and their
jobs. I believe strongly that all children are created by our God and must have a chance at life.
Therefore I protest Document ID HHS-OS-2011-0023-0002, as a ciitzen, as a mother, as a taxpayer
and as a Christian.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13602
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Crystal Jauregui


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13603
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: James Kloza


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.

By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs.

The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.

These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please REPEAL these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                                Tracking No. 80f19f1a
                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13604
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Terence Mackin
Organization: Self


                                    General Comment
The new HHS regulations on sterilization and contraception will force Catholics to choose between
our religious faith and health care. By making this insurance coverage mandatory, the government
has violated the consciences of faithful Catholics and infringed on our rights to practice our religious
beliefs. The regulations' religious employer exemption will not protect the hundreds of Catholic
colleges, schools, and organizations which are not owned by the Church, but instead run by lay
Catholics. These Catholic institutions—as well as individual Catholic employers and health insurance
purchasers—are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13605
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patti Lyon


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13606
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Edward Maher
Organization: None


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.


This is violative of women's rights and unconscionable




                                                                                           0045164
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                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13607
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Sepulveda


                                   General Comment
HHS-OS-2011-0023-0002

This amendment is a direct assult against the Constitutional guarantee of Freedom of Religion.




                                                                                          0045165
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13608
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Donald Henke
Organization: Kenrick-Glennon Seminary


                                   General Comment
The new HHS regulations regarding sterilization and contraception (including abortifacients) force
Catholics to to make a morally impossible choice between the truths of our faith and health care. By
making this insurance coverage mandatory, our government has violated the consciences of faithful
Catholics and infringed on our rights to practice our religious beliefs. The regulations' religious
employer exemption will not protect the hundreds of Catholic colleges, schools, and organizations
which are not owned by the Church, but instead run by lay Catholics. These Catholic institutions—as
well as individual Catholic employers and health insurance purchasers—are being forced by the
government to violate their religious beliefs. Mandatory contraception and sterilization coverage in
college student insurance plans force Catholic colleges to undermine their missions as Catholic
institutions. Please repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.




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                                                                Tracking No. 80f19f22
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13609
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Tony Talavera


                                     General Comment
I personly think that health plans that cover preventitive services like abortion or conceptive
measures are morally wrong and against what Roman Catholics preach.

It is a flagrant display of duplicity that weakens a Catholic's image in the world's stage.




                                                                                              0045167
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13610
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: D Shaw


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Why would anyone want to encourage young girls to get sterilized by offering free procedures? I
can't understand that. No human being should be able to understand that.




                                                                                           0045168
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13611
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Dan & Pat Moriarty
Organization: Self


                                     General Comment
Always support freedom of conscience and stop government under Obama from depriving us of our
right of conscience in all fields especially the medical field, in adoption rights, and relgious rights of
conscience.




                                                                                                0045169
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 797 of 1192
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13612
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: charles laczkoskie
Organization: laczkoskie self-defense


                                    General Comment
America is clearly the land of freedom and choice. There can be no law that mandates or forces to
buy or give to that which we don believe. Therefore, forced abortion under the new health law is
illegal, un-constitutional. So is the very law that tries to madate this. we cannot be forced to buy
anything in the U.S.A.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13613
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: vincent meyer


                                    General Comment
New HHS regulations on sterilization and contraception violate the conscience of CAtholics. With
these regulations the government will force Catholics to violate their religiuos beliefs.

Please repleal these regulations.




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19f25
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13614
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Richard Klingeisen


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13615
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: martha vedder


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Do not violate Americans moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13616
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nicholas Guisto


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13617
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Nancy Broussard
Organization: Cardinal Newman Society


                                    General Comment
We are tired of all of the rules appearing in legislation from this administration which are eroding the
moral fabric of this country. Catholics in the United States are insensed that abortion is being funded
with tax dollars without our cries being heard. Allowing our young girls to be guided to the new
medical views of this administration is leading our youth down a path that will be irreversible. Please
Review Group Health Plans and Health Insurasnce Insurrers relating to preventative service under
patient protectionand affordable care act.(Document ID HHS-0s-2011-0023-0002)

Thank you for listening to the concerns of citizens who care about The morality and freedom of our
country.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13618
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Joe Schooff
Organization: Joseph H. Schooff


                                  General Comment
oBAMACARE HAS NO BUSINESS FORCING cATHOLICS TO GO AGAINST THEIR BELIEFS. oBAMACARE
FORCES cATHOLICS TO PERFORM ABORTIONS AGAINST THEIR WILL. tHIS IS NOT FREEDOM OF
RELIGION. hE IS NOT RULER OF EVERYONE'S MIND. hE IS NOT FORCED TO GO AGAINST HIS
MUSLIM BELIEFS. NEXT,HE WILL BE ENFORCING SHARIA LAW ON US.




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                                                              Tracking No. 80f19f29
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13619
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Craig Paulitz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13620
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jim Sinnerud
Organization: Creighton Prep


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13621
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Steve Pederson
Organization: NDCA


                                  General Comment
See attached file(s)



                                      Attachments
HHS comments on Health Care Plan




                                                                                        0045179
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September 14, 2011

Centers for Medicare & Medicaid Services,
Department of Health and Human Services,
Attention: CMS-9989-P
P.O. Box 8010
Baltimore, MD 21244-8010

Below are the North Dakota Chiropractic Association comments in response to CMS’ Patient Protection
and Affordable Care Act; Establishment of Exchanges and Qualified Health Plans Proposed Rule.

Entities Eligible to Carry Out Exchange Functions (§155.110)

 The North Dakota Chiropractic Association (NDCA) strongly supports HHS’ proposal to preclude health
insurance issuers from being hired to carry out responsibilities of Exchanges. NDCA also supports HHS’
proposal to require that the voting members of an Exchange governing board represent consumer interests
by ensuring that membership may not consist of a majority of representatives of health insurance issuers,
agents, or brokers, or any other individual licensed to sell health insurance. We also believe that it would
be beneficial to require those organizations that are hired to perform responsibilities of Exchanges and
those that serve on Exchange governing boards be required to disclose conflict of interest information.

The NDCA also recommends that HHS require that at least two members of Exchange boards have
experience as healthcare providers within the Exchange jurisdiction and that one member represent the
Medical Doctor (MD/DO) community and the other healthcare provider member represent providers who
are not Medical Doctors. We believe that the inclusion of individuals with healthcare provider experience
on the Exchange governing boards will help the Exchanges achieve HHS' goal of ensuring that the
Exchange board as a whole has the necessary technical expertise to ensure successful operations.

The NDCA also supports HHS’ proposal to require that Exchange boards hold regular public meetings to
provide the public with opportunities to observe and comment on Exchange policies and procedures.
Ensuring the opportunity for public input into Exchange policies and procedures will be critical to the
success of the Exchange.

Stakeholder consultation (§155.130)

The NDCA recommends that HHS more clearly specify by regulation the types of providers with whom
Exchanges must consult. The NDCA recommends that HHS indicate that “healthcare providers (to
include both MD/DO and non-MD/DO providers)” must be consulted in Exchange development and
operations. As HHS clearly recognizes the primary care crisis that our country will be facing in the
coming years, we believe that it is critical that states be directed to look beyond traditional medical
providers in gathering input on the appropriate operations of exchanges with regard to healthcare
professionals.

Establishment of Exchange network adequacy standards (§155.1050)

In delineating QHP requirements with regard to network adequacy, The NDCA believes that HHS should
clearly communicate that all QHPs are required to adhere to PPACA’s Health Insurance Market Reforms
Section 2706 “Non-discrimination in Healthcare.” As HHS is aware, this provision indicates that “a group
health plan and a health insurance issuer offering group or individual health insurance coverage shall not
discriminate with respect to participation under the plan or coverage against any health care provider who
is acting within the scope of that provider’s license or certification under applicable State law.” In HHS’




                                                                                                       0045180
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regulations pertaining to network adequacy considerations, we believe it is critical for HHS to ensure that
Exchanges and QHPs are aware of and are fully complying with this federal provision.

Given, the primary care provider shortage facing the nation, the NDCA strongly supports HHS’
recommendation to states, Exchanges and health insurance issuers to “consider broadly defining the types
of providers that furnish primary care services.” The NDCA believes this statement is so important
because Doctors of Chiropractic can help fill the workforce gap. Doctors of chiropractic are physicians
who are educated and licensed to diagnose, treat, manage or co-manage their patients' conditions and refer
to other providers, when necessary. Doctors of Chiropractic are also well trained in the cost-effective
treatment of common conditions impacting the health of Americans. For example, studies show that low
back problems are the most prevalent pain complaint affecting the general population, with up to 75
percent of Americans experiencing low back pain in their lifetime. The cost of treating spinal pain has
made it the sixth most expensive medical condition in America at $86 billion in 2005--a 65 percent
increase since 1997.

Recent research also reveals that utilizing Doctors of Chiropractic may lead to lower health care costs. A
2010 study of patients with low back pain who initiated care with a Doctor of Chiropractic resulted in
40% lower health care costs when compared with care initiated through a medical doctor.1 Another study
found that patients using chiropractic physicians as their primary care providers had significant decreases
in hospital admissions (43%), pharmaceutical costs (52%) and outpatient surgeries and procedures
(43%). 2 These findings were confirmed in a follow up study of the same population. 3 A study published
in the British Medical Journal found that patients receiving manipulation and exercise had lower relative
treatment costs and experienced more treatment benefits than those treated with general medical care.4
The NDCA appreciates HHS’ recognition of the need to broadly define primary care to ensure that
patient access is not compromised and recent research supports the strong and important role DCs can
play as primary care providers.

Thank you for the opportunity to comment on these proposed regulations.

Sincerely,



The North Dakota Chiropractic Association
Dr. Steve Pederson
President




1
  Cost of Care for Common Back Pain Conditions Initiated With Chiropractic Doctor vs. Medical Doctor/Doctor of
Osteopathy as First Physician:Experience of One Tennessee-Based General Health Insurer,” Journal of Manipulative
and Physiological Therapeutics (JMPT), 2010.
2
  Sarnat, R.; Winterstein, J. Clinical and Cost Outcomes of an Integrative Medicine IPA. JMPT, 2004.
3
  Sarnat, R.; Winterstein, J; Cambron JA. Clinical and Cost Outcomes of an Integrative Medicine IPA; an additional
3-year update. JMPT, 2007.
4
  United Kingdom Back Pain, Exercise and Manipulation Randomized Trial: Cost Effectiveness of Physical
Treatments for Back Pain In Primary Care. BMJ. 2004 Dec 11;329(7479):1381. Epub 2004 Nov 19.




                                                                                                             0045181
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 809 of 1192
                                                                 As of: April 02, 2012
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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13622
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: kenneth lange
Organization: not applicable


                                     General Comment

Please do not force institutions and individuals to act against their religious beliefs and personal
consciences as proposed under the Patient Protection and Affordable Care Act:
Amendment(Document ID HHS-OS-2011-0023-0002).

Thank you.




                                                                                               0045182
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13623
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Karen Cooper
Organization: The Cooper Household


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19f30
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13624
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nik Kleber


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045184
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13625
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Clara Schous


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13626
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mike Eddings


                                    General Comment
Revoke the new healthcare regulations that blatantly violate our—yours, mine, the Church's—
religious freedom.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.

The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13627
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Denise Koranek
Organization: None


                                    General Comment
Whatever happened to freedom to choose? Freedom of religion? Why is the current administration
rewriting our Constitution? This ruling does not affect Catholics only but people of conscience of all
faiths. Delete this provision NOW!!

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13628
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joyce Simoes
Organization: Catholic


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13629
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: ROBERT HARGARTEN
Organization: AUBURN HILLS ANIMAL HOSPITAL


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13630
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Heidi Giebel
Organization: University of St. Thomas


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13631
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Shari Van Blokland


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13632
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Janet Wright


                                    General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13633
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Melissa Paulitz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13634
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mary Blackwood
Organization: None


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13635
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Stirton


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13636
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Russell Smith
Organization: None


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Thes regulations must be repealed.
Please protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13637
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Fonseca


                                   General Comment
I strongly object to the government usurping my religious freedom by forcing me to have insurance
that provides contraception and abotifacients. There is no reason I should have to support much less
pay for something that is contrary to my beliefs. You must stop abusing the Constitution!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13638
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ned Zerwic
Organization: The Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13639
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Georgie Petitjean


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13640
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: concerned voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13641
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Eduardo Barberena
Organization: Cardinal Newman Society


                                    General Comment
Our catholiics belief are being forced by the government to violate those religious beliefs.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13642
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joyce Young
Organization: Cardinal Newman Society


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 830 of 1192
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                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19f4d
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13643
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nancy Nizzo


                                   General Comment

Catholics definitely should not have to choose between health care and their faith. When this kind of
insurance is made mandatory by the government, our personal rights to practice freedom of religion
guaranteed by the Constitution
is being seriously violated!
Catholic institutions , Catholic employers, and health insurance purchasers will find themselves
battling mandatory contraception, sterlization, and the issue of abortion.
Please consider repealing these regulations! This is America and freedom of religious practices have
been promised everyone since the passage of the First Amendment by our forefathers. I will pray for
you and all of America!
God Bless You and may America always be "One nation under God!
Thank You!




                                                                                           0045203
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 831 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13644
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mother Henrie Marie Siegrist, OAR
Organization: Augustinian Recollect


                                   General Comment
Pregnancy is not a disease and drugs and surgeries to prevent it are not basic health care that the
government should REQUIRE all Americans to purchase. Please remove sterilization and perscription
contraceptives from the list of preventive services' the federal govenrnment is MANDATING in private
health plans. Ti is expecially important to exclude any drug that may cause an early abortion and to
fully respect religious freedom as other federal laws do. the narrow religious exemption in HHS's new
rule protects almost on one. I urge you to allow all organizations and individuals to offer, sponsor
and obtain health coverage that does not violate their moral and religious convictions.

This Admendment, ID HHS-OS_2011_0023_0002, is truly an offense to American freedom and to
American people period, especially those who would like a decent place to live and get health care,
not murders for hire from their government.

Thank you for adding my name to the list who oppose this mandate of your ruling on Group Health
Plans.




                                                                                          0045204
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                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13645
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Carol Sbarboro


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions - as well as individual Catholic employers and health
insurance purchasers - are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. PLEASE REPEAL THESE REGULATIONS
AND PROTECT THE RELIGIOUS FREEDOM OF CATHOLICS AS GUARANTEED BY THE FIRST
AMENDMENT!!




                                                                                            0045205
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 833 of 1192
                                                            As of: April 02, 2012
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19f53
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13646
Comment on FR Doc # 2011-19684



                                   Submitter Information
Name: Anthony Draeger


                                      General Comment
I oppose the new HHS regulations on sterilization and contraception that make insurance coverage
mandatory.

This violates my religious beliefs.

Please repeal these regulations.




                                                                                        0045206
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 834 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19f55
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13647
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Christine Geurkink


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 835 of 1192
                                                                As of: April 02, 2012
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13648
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Cecilia M Davis
Organization: Roman Catholic Colleges


                                     General Comment
Please do not force this ruling on Catholic colleges. It violates all like-minded Catholics' freedom of
religion.




                                                                                              0045208
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 836 of 1192
                                                             As of: April 02, 2012
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PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f19f51
                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13649
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: susan jagoda


                                   General Comment
this is like requiring muslims to pay for ham sandwiches and beer for everyone else.
though i think the president is much more careful about the sensibilities of gays and muslims than
about catholics. ironic because catholics provide a disproportionate amount ot the care of the
unfortunate in this country. what will happen when he has driven us out of business? who will step
up? (sharia for gay adoptions?? or for women's health? i don't think so.) sj




                                                                                         0045209
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PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f19f56
                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13650
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Adolf
Organization: Retired Engineer and Scientist


                                   General Comment
Full religious conscience exceptions have to be guaranteed




                                                                                        0045210
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 838 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19f57
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13651
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Julianne Langevin


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 839 of 1192
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13652
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Richard Tracy


                                    General Comment
Please remove sterilization and contraceptives from the list of "preventive services", these are not
required services and are not moral.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f19f5d
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13653
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: S W


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 841 of 1192
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PUBLIC SUBMISSION                                                 Status: Posted
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                                                                  Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13654
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: julie power


                                     General Comment
Catholics are entitled to follow their faith and its teachings.This bill plans to trample over their rights
under the First Amendment.Repeal this totally biased and unjust legislation.




                                                                                                 0045214
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                                                              Tracking No. 80f19f5a
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13655
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Francis Bane


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13656
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Nancy Bakos


                                    General Comment
Regarding the conscience objection of Catholics and the promotion of baby killing. Catholics should
not participate in any way shape or form of this issue. This is the same as other religons making
acceptions for their employees in not being around pork or pork products. If you tolerate even ONE
"intolerance" then you need to accept all intolerances. You're quite mistaken if you think Catholics are
just going to change. They will NOT provide these services. Already Catholic hospitals have chosen to
close and or lock their doors. This is 30% of the hospitals here in the UNITED STATES. This is
PRIVATE PROPERTY not public property. With your intolerant ways-I fully expect to see more
hospital closings. Or very limited services.




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19f60
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13657
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Peter Smyczek


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19f68
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13658
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Douglas Touchet


                                   General Comment
This country is rooted in Christianity and not some cult from the middle east




                                                                                        0045218
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 846 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19f61
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13659
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Barbara Kane
Organization: Concerned catholic ciitizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 847 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19f63
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13660
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Keefe Jackson


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13661
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nancy Hinke


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13662
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: charles ennis
Organization: none


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13663
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Morris
Organization: James Hervey Morris Architecture & Design


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045223
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 851 of 1192
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                                                              Received: September 14, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13664
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Kralik
Organization: none


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045224
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 852 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13665
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kenneth Rehder


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045225
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13666
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: C Jeanne Bryant


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 854 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13667
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Gerald Asher
Organization: A very concerned taxpayer


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13668
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Resa Sucietto


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment. Please recognize
our rights to freely practice our faith in all phases of our lives. I believe our country was founded on
this right.




                                                                                              0045228
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13669
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Larry Carrico


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13670
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dorothy Tillberg
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13671
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Judd Lawrie
Organization: Lawrie CPA Group


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 859 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13672
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michelle Fleury
Organization: A Deeply Concerned Voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13673
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Scott Stanton


                                   General Comment
As a citizen of the United States, I am very concerned about continuing encroachment by the Federal
government upon my First Amendment Rights. In reference to HHS regulations, which violate
conscience and religious liberty in "preventative services" I particularly object to an attempt to
invalidate the bioethical position, and conscience rights, of Catholic, any many other, Citizens by
coercive regulations.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

I urge you to redress this shameful overreaching of government authority.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13674
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kathy McCoy


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13675
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Peters
Organization: US Voter


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 863 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13676
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Elena Nunez


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13677
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Sandy Benavides


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13678
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John Harrington
Organization: Roman Catholic Priest


                                    General Comment
Dear Sir:

The new HHS federal mandate will require private insurers to provide women with coverage for FDA
approved contraception, including sterilization and contraceptives that have abortifacient effects. Such
nation wide government coercion of religious people and groups to sell, broker or purchase "services"
to which they have a medical or religious objection represents an unprecedented attack on religious
liberty. Such a federal mandate is contrary to the ethical and religious priniciples which are the bed-
rock of our country's laws. This policy should be repealed immediately.




                                                                                            0045238
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13679
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Maria Raab


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. PLEASE repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13680
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Constance Darcy


                                  General Comment
No agency or health care company should be forced to provide services that are reprehensible and
against its conscience. That goes for individuals as well!
Sincerely,
Constance Darcy




                                                                                        0045240
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13681
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Dan Krall


                                    General Comment
Forcing this regulation onto Catholic institutions violates our religious freedoms which are spelled out
in the US Constitution unlike health care which is not.




                                                                                              0045241
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13682
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tony Piermatteo
Organization: N/A


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045242
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13683
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Cheek


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045243
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13684
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Taylor


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045244
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f19f83
                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13685
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: George Hodges
Organization: Knights of ColumbusThese regulations


                                    General Comment
These regulations infringe on my religious beliefs, against aborations...




                                                                                        0045245
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PUBLIC SUBMISSION                                               Status: Posted
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                                                                Tracking No. 80f19f90
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13686
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: David Rumback


                                    General Comment
I am writing to voice my opposition to the forcing of private organizations and persons to providing
coverage for contraception and or sterilization. Please respect the basic conscience rights of citzens.




                                                                                             0045246
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PUBLIC SUBMISSION                                               Status: Posted
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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13687
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Bonnie Moos


                                    General Comment
Stop forcing regulations on American citizens. Your interference with beliefs of our Catholic faith are
illegal and morally wrong.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13688
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Monika Sumcizk


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.
This forced coverage is immoral and unacceptable.




                                                                                           0045248
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13689
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Nicholas Veith


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force many
people of faith to choose between their faith and health care. By making this insurance coverage
mandatory, our government has violated the consciences of Americans everywhere and infringed on
our rights to practice our religious beliefs. The regulations' religious employer exemption will not
protect the hundreds of Catholic colleges, schools, and organizations which are not owned by the
Church, but instead run by lay Catholics. These Catholic institutions—as well as countless other
employers and health insurance purchasers of many faiths—are being forced by the government to
violate their religious beliefs. Mandatory contraception and sterilization coverage in college student
insurance plans force Catholic colleges to undermine their missions as Catholic institutions. Please
repeal these regulations and protect the religious freedom of Americans as guaranteed by the First
Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13690
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Dr and Mrs. Robert R Wheatley
Organization: Vice president, Bionetics


                                    General Comment
Dear President Obama,

I regret that you have continued to display total rejection of the what is good for this country
through your implmentation of Preventative Services abortion activities.

We plan to do all I can this next election to throw you out of office and remove the medical
nightmare you have imposed on the citizens of this country.

And we are former Democrats until you showed up!




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13691
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: WILLIAM VAN RIPER III


                                    General Comment
Until Obamacare is completely repealed, please implement true and full conscience clause exemptions
for Catholic institutions and individuals.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.

The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

The year 2012 is soon upon us and with it, God willing, a complete repudiation of the socialist
schemes of the incumbents.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13692
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Martin Lopez


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13693
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Thomas Nemeth
Organization: American citizen voter


                                    General Comment
As a voter, I am highly distressed to learn of the Obama administration's decision to force profoundly
anti-Christian policies on Christians, people of faith, and those who see the outright hostility against
human life contained in Group Health Plans and Health Insurance Issuers Relating to Coverage of
Preventive Services under Patient Protection and Affordable Care Act: Amendment (Document ID
HHS-OS-2011-0023-0002). I urge all lawmakers not/not to support blatantly the Administration's pro-
death policies and which tramples on the faith of all and will seriously and negatively impact Catholic
and other Christian institutions.




                                                                                             0045253
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13694
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Wilbur Bagley
Organization: Citizen


                                   General Comment
I oppose the regulations that affect abortion and contrception in the Affordable Care Act.




                                                                                             0045254
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13695
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Denise Piskorz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13696
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Armida Cubillas


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13697
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John Martin
Organization: I am just a concerned citizen


                                    General Comment
Dear Lawmakers:

I am very concerned about the proposed coverage of preventive services under the the patient
protection and affordable care act, admentment HHS-OS-2011-0023-0002.

As a life long catholic and taxpayer I want to voice my disapprove of this legislation. The new HHS
regulations on sterilization and contraception (including abortifacients) force Catholics to choose
between our faith and health care. By making this insurance coverage mandatory, our government
has violated the consciences of faithful Catholics and infringed on our rights to practice our religious
beliefs. The regulations' religious employer exemption will not protect the hundreds of Catholic
colleges, schools, and organizations which are not owned by the Church, but instead run by lay
Catholics. These Catholic institutions—as well as individual Catholic employers and health insurance
purchasers—are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.

Thank you, I pray that you do the right thing and abandon this legislation. John Martin




                                                                                              0045257
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13698
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Edward Crockett
Organization: Private citizen but


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13699
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patricia Demarest


                                   General Comment
The sweeping HHS contraceptive mandate violates the conscience rights of many people of faith. In
requiring almost all private health plans to cover contraception and sterilizations as "preventive
services" for women, buyers of these health plans will be supporting through their purchase actions
that violate their conscience. Some of the "emergency contraception " drugs are abortifacient drugs
which prevent conception by taking the newly created human life. The religious exception for this rule
is so narrow that religious Colleges, Hospitals, Social Services entities would be forced to choose
between faith and health. Hospitals and schools would shut down and in this terrible economic time,
the public institutions would be forced to pick up the slack. This infringement on the constituitonal
right to the free practice of religion is beyond anything I ever thought could happen in my country.
Remove this regulation.




                                                                                           0045259
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13700
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Rosemary Ames


                                    General Comment
As a Catholic I am very much againts Obama's health care plan. It does not give us the freedom that
we deserve as a Catholic. We do not believe in sterilization, contraception and abortion or any part of
it.




                                                                                            0045260
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13701
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nathaniel Sokol


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045261
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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13702
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Jean Schweiter-Lowe


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutionsâ€”as well as individual Catholic employers and health
insurance purchasersâ€”are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045262
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13703
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marina Heredia


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0045263
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13704
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Thomas Love


                                  General Comment
Your proposed health rule changes are wrong and the regulators aare wrong. Keep out of our daily
llives. Do you thing we wre stupid???




                                                                                        0045264
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13705
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Roland Mayer
Organization: None


                                   General Comment
I am strongly opposed to the IOM recommendation to HHS that suggest that pregnancy is a disease
for which preventive procedures are necessary. I am also shocked at the narrowly crafted conscience
clause that would not include Catholic institutions like hospitals and universities. Implying that
pregnancy is a disease goes against all scientific knowledge; the very narrowly crafted conscience
clause infringes on the First Amendment rights of Catholic institutions. Surely, our great country can
do better than this! Roland J. Mayer, Ontonagon, MI




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13706
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Santero


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13707
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa McAlpin
Organization: Roman Catholic


                                   General Comment
I pray your eyes will be opened to the truth. Life is about all of God's creation and here in the USA
especially we should have the freedom to live in truth and love.
Please do not continue to be blind to God's laws. They were given to us for our benefit, for our
happiness, for us to spend eternity with Him in heaven. To deny truth is to choose to live apart from
Him, and I KNOW He wants all of us to spend eternity together. But, that is your choice.
Do not force your choice on the American people; only God can be our god, else we choose to loose
everything.
I pray for you daily to see the light.
Father, forgive him, he knows not what he does.
God Bless, Theresa McaAlpin




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13708
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Nath
Organization: Concerned Citizen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13709
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Daniel DUFFY SR
Organization: SELF


                                  General Comment
PERTINENT TO: Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive
Services under Patient Protection and Affordable Care Act: Amendment (Document ID HHS-OS-2011-
0023-0002) -
I AM TOTALLY AGAINST ANY RESTRICTIVE CLAUSES THAT INTERFERE WITH THE FREEDOM OF
ANY BUSINESS TO CONDUCT SUCH BUSINESS IN ACCORDANCE WITH THEIR RELIGIOUS VIEWS.




                                                                                        0045269
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13710
Comment on FR Doc # 2011-19684



                                Submitter Information

                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




I truly believe this health care idea is truly damaging to our catholic way of life. If you choose it for
yourself, that is your own problem, but for me to choose it for others makes it our problem. I do not
believe in this plan that undermines the mission of real catholics!!!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13711
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rosemary Dunn


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13712
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Fred CaChat


                                    General Comment
Again we face proposed legislation that attacks the very principle of Life. Must we be at war with Life
even to the extent of preventing it" Is Life such an evil thing" Respect for Life begins in the human
heart. Apparently America is losing its heart for Life in all of its stages. Just because many of us have
difficulty thinking of anyone else's Life but our own doesn't mean we have the right to prevent the
Life of others.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

We hope you have the good sense to realize what this issue means to the moral fabric of our country
and society. Please do the right thing and make a Life-Respecting choice when you vote on this
matter. Without an enduring hope for Life in our culture, we become our own worst terrorists.




                                                                                              0045272
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13713
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Janette Perez


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13714
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Moffitt
Organization: Retired


                                   General Comment
I find the requirements of Patient Protection and Affordable
Care Act extremely troubling. I seem to recall the US
Constitution, Amendment 1 clearly states Congress shall make No law respecting an establashment of
religion, or
PROBHITING THE FREE EXERCISE THEREOF.

By mandating Catholics and others implement coverages and
procedures inimical to their regliious beliefs is clearly UN-CONSTITUTIONAL.

Please respect our nation's laws and remove the requirement
of all to subscribe to the mandates currently contained in
this egregious legislation.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13715
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Bill Wehnert
Organization: Personal Concern


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13716
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Vincent Lewis


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13717
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Barbara Sanborn
Organization: NA


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13718
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Finch


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13719
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jude Mc Feely
Organization: Franciscan Friars of the Immaculate


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13720
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Loralee Culbert
Organization: St. Charles Borromeo parish


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. PLEASE REPEAL THESE REGULATIONS
and protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045280
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13721
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patricia Bluett


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13722
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Leslie Thomas


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13723
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marilyn Pipkin


                                    General Comment
As a taxpaying citizen I strongly object to the government forcing, through "healthcare" that I regard
as immoral. Requiring that all employers, colleges etc. require providing contraception, sterilization
coverage is a violation kof religious freedom.

Do not pass this immoral legislation.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13724
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Richard O'Leary


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13725
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment

The Heaklthcare law is a violation of Church and state separation in that it infringes upon my Roman
Catholic beliefs in the sactredness of al life, It fosters unsafe sex and promotes lawlessness by the
most vunerable of our citizens




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13726
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Brianne Tafuro


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13727
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Yumoto


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
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colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13728
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Susan Kimbell


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13729
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Joe Wathen


                                   General Comment
Dear Mr. President and Congres,

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Please listen to this message.

Sincerely,
Joe Wathen




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13730
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Liz Williams


                                     General Comment
Please consider the life-threatening implications of this law. Contraception, sterilization and abortion
steal life. They don't improve it. Catholic institutions seek to promote, value and cherish life and they
do this faithfully, providing a valuable service to our communities and our nation. Their commitment
to life is well-reasoned, but it is beautifully faith-based. No other viewpoint can accomplish what the
Catholic viewpoint has with respect to honoring and dignifying all individuals, as this effort is based in
the belief that we are made in God's own image and are deserving of every dignity.
Contraception, sterilization and abortion demean this dignity, in all parties associated with it.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13731
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rosemary Woerner


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13732
Comment on FR Doc # 2011-19684



                                   Submitter Information
Name: William Lyons


                                     General Comment
The following text, although prepared by a concerned group, expresses in a good way what I myself
wish to tell you:

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Respectfully submitted..........




                                                                                           0045292
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13733
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Carolyn Rife


                                     General Comment
My comment is regarding the coverage of preventive services under the Patient Protection and
Affordable Care Act: Amendment (Document ID HHS-OS-2011-0023-0002). No citizens of this great
country should be forced to pay for any other citizen's birth control or sterilization. Fertility is not a
disease and does not need to be "treated" with pills, devices or self mutilation. Considering the side
effects of the pill, including an increased chance of breast cancer, it is healthier for women to stay
away from any of these things. Women choosing to have sex need to decide to pay for their own
birth control. It's outrageous to put this burden on anyone other than the person using it. Carolyn
Rife




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13734
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Chris Petroff
Organization: Dzialo Physiatry Consulting


                                   General Comment
As a physician I will have an issue practicing with this ammendment




                                                                                        0045294
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Comment On: HHS-OS-2011-0023-0002
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Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13735
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Evelyn Ong
Organization: CNS


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
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colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13736
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Marguerite Charvat
Organization: Roman Catholic Church


                                  General Comment
Stop Obamacare. It only denegrates women and God's natural laws.




                                                                                        0045296
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13737
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joy Volpi, Ph.D.


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13738
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lisa Johnson


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13739
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: doc adams
Organization: N/A -- Self


                                    General Comment
I am opposed to everything that the O'bama Administration has proposed / adopted regarding
mandatory health coverage and mandatory requirements involving contraception and abortion, both
of which are immoral...and against my Roman Catholic religion!

O'bama is occupying our White House as an impostor president, and should be ousted from there
ASAP! He had no qualifications to become president...ignorant voters put him in the presidency, and
he still doesn't have a clue! No community agitator is worthy of being president of the U.S., and living
in our White House!




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13740
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: lizz toma


                                   General Comment
I am a conscienceous objector of any abortion/sterilization being funded by my tax dollars.




                                                                                              0045300
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 928 of 1192
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13741
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John McDonough
Organization: Individual


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045301
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13742
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Timothy Brocker


                                    General Comment
The new HHS regulations on sterilization and contraception
(including abortifacients) force Catholics to choose between
our faith and health care, which is unconscionable.

By making this insurance coverage mandatory, our government
has violated the consciences of faithful Catholics and infringed on
our rights to practice our religious beliefs.

The regulations' religious employer exemption will not protect the
hundreds of Catholic colleges, schools, and organizations which are
not owned by the Church, but instead run by lay Catholics. These
Catholic institutions—as well as individual Catholic employers and
health insurance purchasers—are being forced by the government to
violate their religious beliefs.

Mandatory contraception and sterilization coverage in college student
insurance plans force Catholic colleges to undermine their missions as
Catholic institutions.

Please repeal these regulations and protect the religious freedom of
Catholics and other religious groups, as guaranteed by the First Amendment.




                                                                                        0045302
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                                                              As of: April 02, 2012
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                                                              Tracking No. 80f19fdb
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13743
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kerry Zuhlke


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045303
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13744
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patricia McGuire


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045304
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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13745
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Martin Schmitz
Organization: Conventual Franciscan Friars of Marytown


                                    General Comment
Our first and best President, George Washington, who had great principles of philosophy and respect
for all, must be turning over in his grave. He had a firm belief in God and ruled our country according
to those beliefs, and great things happened for the benefit of ALL PEOPLE. He treated all with great
respect and courtesy. He did not hesitate to stand up for what was best for our country and for each
person.

During times of war his men who defended our country, saw him kneel down on the battlefied in
prayer, begging for the special help of our creator, knowing he was personally very limited, for he
needed heavenly guidance.

To lead our country without God's help is genocide, we are not able to goven and guide with our
puny minds. He put his life on the line, even at the cost of personal gain, for the benefit of others!
God help us--God Bless American!




                                                                                              0045305
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                                                              Tracking No. 80f19fde
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13746
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Judith Reid


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045306
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13747
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Ferriss


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

This is simply unacceptable, and this regulation should be revoked immediately.




                                                                                           0045307
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13748
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Daniel Gorman
Organization: Christendom College


                                    General Comment
Where does the government get the right to deny Catholics
the ability to practice their religion--specifically regarding the
sanctity of life from the moment of conception and the sancitity of the marriage act? Your new HHS
regulations requiring coverage of sterilization and contraception (including abortion via abortifacients)
blatantly does that.
Catholic colleges will be forced to violate their reason for being, that is, to educate and develop
faithful members of the Church. And the government will be promoting a particular, secular "religion"
in violation of the beliefs of millions
and of freedom of religion. Repeal these obnoxious regulations immediately.




                                                                                              0045308
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13749
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ashley Lange


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045309
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13750
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Halina Jecmenica


                                    General Comment

Greetings,

The only great nation is the holy nation, rich in true obedience, and carried away by a divine passion
for GOD and all holy things. The idea of the supreme law of the land is falsely interpreted to mean
that it is of a higher signification THAN THE LAW OF GOD
.
MEN commit a public crime in acting as though THERE WERE NO GOD!

At the end of our life (it will be soon), each one of us WILL stand in front of GOD, ONE and ONLY,
TRUE KING of HEAVEN AND EARTH and will be judged by THE JUDGE. We will be accountable for
the erroneous, unjust laws, false freedom in the false name of 'liberty'.......to do WHAT?......good or
evil.

WOE, to those who call evil good and good evil!

May God Have Mercy on us!

In prayers,
Halina




                                                                                             0045310
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13751
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Kukula


                                   General Comment
Respectfully, it is absolutely sad that you would even consider, let alone demand that tax dollars be
used to prevent and end life and then restrict the freedom of an individual' conscience in providing
health care following God's command. What part of thou shall not kill do you not understand? Please
change this document to be that of true health "care" for illnesses and injury and allow people to
follow God's law, instead of man's law.




                                                                                           0045311
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13752
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: charles serio


                                   General Comment
I will oppose your pro-abortion and anti-women legislation with every ounce of my courage and
strength.
Yes, it is anti-women. Abortion kills the baby and the emotional stability of the woman who has the
abortion.
I have seen it hundreds of times.
No to genocide abortion.




                                                                                          0045312
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13753
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Serge Plourde


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13754
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: William P. Grossklas, Sr.
Organization: None


                                    General Comment
To Whom It May Concern:

The new HHS regulations on sterilization and contraception, including abortifacients, force Catholics
to choose between our faith and health care.

By making this insurance coverage mandatory, our government has violated our freedom of choice in
healthcare. Additionally, the consciences of faithful Catholics has been grossly violated and these
regulations have infringed on our rights to practice our religious beliefs.

The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.

These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions.

These regulations need to be repealed to protect the religious freedom of Catholics as guaranteed by
the First Amendment.




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                                                            Tracking No. 80f19ff3
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13755
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Rita Vargo


                                  General Comment
I am opposed to the new healthcare plan (ID HHS-OS-2011-0023-0002). I feel this is too much
government control of women's health care and insurance companies.




                                                                                        0045315
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13756
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Kathleen Beauchamp


                                     General Comment
Atheism is a belief. A belief that God does not exist. Therefore, allowing one belief to overshadow
another is biased. In the health care field, if one has a belief that abortion, birth control or
sterilization is immoral and that is their "belief", then they have a right to have their belief respected.
They should not be forced to participate. Also tax payer money should not be involved. This
government is taking every individual right away from us and I always believed that the government
was by and for the people!




                                                                                               0045316
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13757
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Maria Maddox


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13758
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Glenda DeJean
Organization: individual


                                    General Comment
I would like to share my experience as a young college
teenage girl. I was 18.6 years of old, pregnant and
unmarried. The father of my child did not want to assume
any responibility for her. He was 6 years older than I
and separated from his wife. I was hurt when I found
out his circumstances I hardly knew him. I was a Catholic
at the time. I went to the doctor to confirm my
pregnancy. He sent me to take a glucose tolerance test
at a lab. I was on medi-cal . To my amazement the
nurse asked me if I wanted a therapeutic abortion. That
was January, 1971. I said no I don't believe in it. Please
allow other college girls in simiilar situations to have the
same choice. Do not violate their consciences.




                                                                                        0045318
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13759
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Danny Killeen


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045319
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f19ff5
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13760
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: David Vu


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0045320
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 948 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f19fff
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13761
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: joseph maloney


                                  General Comment
Keep your Health Care and leave my faith alone!




                                                                                        0045321
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 949 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f19ff6
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13762
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Coleen Demko


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045322
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 950 of 1192
                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a000
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13763
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Maureen Russell


                                    General Comment
It is unacceptable that you would require Catholic institutions to go against their own belief system.
You would require us to pay for the killing of our own children. That is exactly what you are asking
the Church to do.




                                                                                             0045323
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 951 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a001
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13764
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Heather Hain


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 952 of 1192
                                                            As of: April 02, 2012
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a002
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13765
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Federico Derby
Organization: Personal


                                  General Comment
Given the power that has been invested on you, you must treat the majority with the right and
respect that they deserve in their beliefs.
I do not agree with the free health program and we should work more on limiting the awards given
to those who demand mal practice so that the cost of health care can come down. Put this money in
the development of new technologies and allow more people to be able to afford health care at
reasonable cost instead of giving them everything.
Fred




                                                                                        0045325
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 953 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a004
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13766
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Steve Beuerle


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 954 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a003
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13767
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jerald Archer


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 955 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a00e
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13768
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kyle Broderson


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 956 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a006
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13769
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nance Shaw


                                   General Comment
Stop this madness! The third "back-up way" the pill works is to cause an early abortion. Americans
are NOT supposed to have to pay for other people's abortions!

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Also, the pill GREATLY increases a woman's chance of getting breast cancer!




                                                                                           0045329
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 957 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a00f
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13770
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ivanka Paraga


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 958 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13771
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Siegel
Organization: Catholic Father of 4 daughters


                                   General Comment
I believe in free choice for all individuals. However, madatory regulations by the U.S. Government
under Document ID HHS-OS-2011-0023-0002 is not FREE CHOICE.

Such an Amendment should not be passed.




                                                                                           0045331
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 959 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a010
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13772
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Stan Simons


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045332
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 960 of 1192
                                                                As of: April 02, 2012
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f1a008
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13773
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Miriam Martinez


                                   General Comment
Mandatory contraception and sterilization coverage in college
students insurance plans force catholic colleges to undermine
their missions as catholic institutions. Please repeal these
regulations and protect the religios freedom of Catholics as
agreed on the F Amendment.

Our government is violating the conscienses of faithful
catholics and infringed our rights.




                                                                                        0045333
             Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 961 of 1192
                                                                 As of: April 02, 2012
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PUBLIC SUBMISSION                                                Status: Posted
                                                                 Posted: October 31, 2011
                                                                 Tracking No. 80f1a013
                                                                 Comments Due: September 30, 2011
                                                                 Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13774
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Stephen Schappa


                                     General Comment
It is SO simple. It's called freedom of religion. Ever heard of it? Let Catholics follow their consciences.

Easy, isn't it.




                                                                                               0045334
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 962 of 1192
                                                             As of: April 02, 2012
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PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f1a014
                                                             Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13775
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary D.


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.
PLEASE REPEAL THESE REGULATIOINS AND PROTECT THE RELIGIOUS FREEDOM OF CATHOLICS AS
GUARANTEED BY THE FIRST AMENDMENT.




                                                                                          0045335
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 963 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a016
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13776
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Curtis Carlson


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045336
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 964 of 1192
                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a009
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13777
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mary Bernard
Organization: self


                                    General Comment
I do not want to pay for abortions or public birth control in any way, shape, or fashion.
I do not want to have my Catholic schools or universities support it, either.
What I really want is full disclosure of the effects of any form of birth control on the physical body
and mental state. That should be full disclosure on tv just as the other prescription drugs are - why
isn't that the case? We know there are dangerous side effects, but you never see that talked about.




                                                                                            0045337
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 965 of 1192
                                                             As of: April 02, 2012
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                                                             Posted: October 31, 2011
                                                             Tracking No. 80f1a017
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13778
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Klein


                                   General Comment
I strongly oppose any effort to mandate contraceptive coverage in health insurance. It violates my
conscience and goes agianst the tenants of the faith I practice. This is wrong and no government
institution should or even has the right to do this.




                                                                                          0045338
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 966 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a018
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13779
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Isaac Block
Organization: Roman Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045339
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 967 of 1192
                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a01a
                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13780
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mary Gallagher


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, hospitals and organizations which are not owned by the Church, but
instead run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and
health insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0045340
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13781
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Gina Nakagawa
Organization: Faithful Catholic


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

I have copied this protest, because I wish to remain civil, and the palpable evil emitted by this
administration infuriates me. I pray for the salvation of all your souls every day. God bless you. God
help you. God bless America.




                                                                                            0045341
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 969 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13782
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Joy


                                   General Comment
I have to object to the government requiring insurance coverage for birth control. Pregnancy is not
an impairment.




                                                                                          0045342
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13783
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Margaret Rhodes


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13784
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: James Todd


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Just pretend we were muslims asking for religious sensitivity.




                                                                                           0045344
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13785
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Eugene Hill


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13786
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Monica Sumnicht


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13787
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: jane conder


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13788
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Loretta Knippel
Organization: Legion of Mary Catholic Ministry


                                  General Comment
AS A DEVOUT AND WITH GOOD MORAL CATHOLIC I STRONGLY OPPOSE HHS REGULATIONS
DOCUMENT ID HHS-OS 2011-0023-0002. THIS VIOLATES CONSCEINCE OF FAITHFUL CATHOLICS
AND INFRINGED OUR RIGHTS TO PRACTICE OUR RELIGIOUS BELIEF. PLEASE REPEAL THESE
REGULATIONS AND PROTECT THE RELIGIOUS FREEDOM OF CATHOLICS AS GUARANTEED BY THE
FIRST AMENDEMENT.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13789
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Cynthia Vega


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13790
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Virginia Sullivan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13791
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John McMahon
Organization: Self


                                    General Comment
Our founding fathers made up the constitution based in their formulation of conscience. Please do
not any Catholic institution Toviolate it's properly formed morals. The laws that justify the destruction
of life violate a fetus or (yet to be
Born) fetus the right to life and the pursuit of happiness.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13792
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Daniela Neuenschwander


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13793
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Brian Mullaney


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13794
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Richard Uhrie
Organization: St Catherines Catholic Church


                                     General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

As I have heard in another setting, "abortion is not health care because killing isn't healing."




                                                                                              0045354
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                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13795
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: JOHN MICHAEL CONOYER


                                  General Comment
I OBJECT TO THE BIRTH CONTROL AND RELATED MATTERS THAT YOU REQUIRE BE PART OF
"HEALTHCARE". SUCH PROVISIONS ARE CONSIDERED IMMORAL IN THE CATHOLIC COMMUNITY
AND MOST OF THE MAINSTREAM CHRISTIAN COMMUNITY. I URGE YOU TO DELETE THESE
IMMORAL AND UNNECESSARY THINGS FROM THE ENFORCEMENT OF THE LAW.

J. M. CONOYER




                                                                                        0045355
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13796
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: David Blair


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13797
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Veronica Wagner
Organization: American Catholic Citizen


                                  General Comment
Obama's Health Care bill is unconstitual and not what we
Americans should be forced into! The Congress failed to read
or understand the bill before passing and there are MANY
items that are against MY RELIGION! Stop the dictatorship!
Our only hope is that the Supreme Court will have some
comon sense.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13798
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Rita Murphy


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13799
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Geralyn Suhor
Organization: N/A


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13800
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Edward Noonan


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045360
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13801
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Marita Pfau


                                   General Comment
Please follow the below message and protect our rights and human life which is only God's right to
give and take.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13802
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Kathleen Bucher
Organization: self


                                     General Comment
PP&ACA regulations concerning mandoatory coverage for birth control & sterilization are a SERIOUS
VIOLATION OF 1ST AMENDMENT RIGHTS. Catholic organizations run by the laiety are living out the
faith - as mandated by Jesus - they are his hands and feet. The laitey cannot be separated from the
Church institution in its mission. The regulations Pres. Obama and HHS Sec. Sebelius are requiring
are a HUGE violation of religious freedom. It amounts to the U.S. government forcing people to
violate their religious freedom. It is especially heinous in its requirement to provide STUDENTS with
this sort of coverage, as it is in polar opposition to the tenets of the Catholic faith and tantamount to
government imposition of a quasi-religious philosophical belief.

It is unconstitutional, morally abhorrent, and quite frankly - frighteningly evil.




                                                                                              0045362
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13803
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Taranto


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13804
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kenneth Devine
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13805
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Poston


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13806
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: qc qc


                                  General Comment
Mr. Obama, our president, you need to stop forcing down people's throats you health care decision
to fund abortions. The federal government works for the people and the majority of Americans do not
support abortions. Please do the right thing rather then the things you want for yourself and your
extreme view points. Almost all Muslims and most Christians, and most decent people, do not support
abortions!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13807
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jim Conner
Organization: Semonin Realtors


                                   General Comment
Let' please be neutral about insurance & women's health care especially as it relates to women on
college campuses. What do we, as a nation, really have to gain by pushing such a liberal health care
agenda? Please!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13808
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: karen snyder


                                    General Comment
I respectfully ask that you consider the health care workers rights who will be required to fulfill this
mandate. I have been employed in the healthcare field since early 1960's when we fought against
having to assist in abortions peformed in hospital settings, I have worked in agencies where
contraception is handed out in mass quantities & patients do not have a clue how it works &
employees act like it is their place to prevent a pregnancy at all costs to the patient, believing &
promoting the marketing & propaganda from pharmaceutical companies. Please allow the healthcare
workers the right & respect their religious freedom & their ability to serve their patients.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13809
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rick Comstoock
Organization: Work of Christ Community


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics and all persons of faith who have strong moral objections
to abortion as guaranteed by the First Amendment.

Freedom of conscience must be protected in every institution and at all levels of involvement.
Conscientious objection is a universal right and cannot be abrogated by law or secularist, non-faith
ideological political pressure. Abrogating freedom of conscience would create an atmosphere of fear
and intimidation for which our government must not be allowed to impose or continue.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13810
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Franklin Ray


                                  General Comment
Please stop turning us into your home country of Kenya!!




                                                                                        0045370
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13811
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Caroline Schippers


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13812
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lea Thibault


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13813
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Tom OBryan
Organization: Private Citizen


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13814
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Budesky


                                   General Comment
I believe the new HHS regulations on sterilization and contraception force Catholics to choose
between our faith and health care.
By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs.
The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.
Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment and stop the social engineering that is becoming evident in recent government
regulations.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13815
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Wendy Kirkwood


                                    General Comment
I am opposed to the legislation that would implement the new health care law... the U.S. Department
of Health and Human Services (HHS) has now issued a rule mandating contraceptive and sterilization
coverage in almost all private health plans nationwide. The USCCB General Counsel, criticizing this
“nationwide government coercion of religious people and groups to sell, broker or purchase ‘services’
to which they have a moral or religious objection,” has called it “an unprecedented attack on religious
liberty.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13816
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Marian Sneeringer


                                     General Comment
This legislation is eliminating our rights as Catholic citizens to be able to act as our conscience
dictates - please repeal this plan - it does not respect women in many ways - this is not good
legislation. Marian Sneeringer




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Docket: HHS-OS-2011-0023
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13817
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jean Alexander
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government violates the consciences of faithful Catholics and infringes on our rights to practice our
religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. I respectfully request that you repeal
these regulations and protect the religious freedom of Catholics as guaranteed by the First
Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13818
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Nina Bryhn, MD


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13819
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carol Maxwell
Organization: Private


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045379
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1007 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13820
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: David Burns, Jr.
Organization: none


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045380
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13821
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: James Tsakanikas
Organization: None


                                    General Comment
The gloves are off, to this point and time civility has kept back the personal confrontations, but now
you are planning evil that will affect many that are near and dear to me. Your HHS regulations on
sterilization and contraception (including abortifacients) force Catholics to choose between the
teaching brought to us by Christ Jesus, the foundation of our faith and health care. There is no
question in my mind which I will uphold. You have a person in charge of the HHS that claims roots in
Catholicism but so to was Hitler for religious background.

By making your insurance coverage mandatory, our government and all those that have taken part in
this dastardly deed, have violated the consciences of faithful Catholics and other Christian
denomination infringing on our rights to practice our religious beliefs. You and your cohorts (in crime,
yes it is criminal) have also blatantly violate the commerce clause so the “means justify the ends”,
and we all know what political realm this comes from. The regulations' religious employer exemption
does not and will not protect the hundreds of Catholic colleges, schools, and organizations which are
not owned by the Church, but instead run by lay Catholics that hold firm to faith causing them to be
disobedient or simply close down. These Catholic institutions—as well as individual Catholic
employers and health insurance purchasers—are being forced by the government to violate their
religious beliefs. Mandatory contraception and sterilization coverage in college student insurance
plans force Catholic colleges to undermine their missions as Catholic institutions. I do not ask you to
“Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment,” but demand it. cease and desist from destroying Catholic religious liberties but the
Constitution of the United States of America as well, unless this is your goal.




                                                                                             0045381
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13822
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Wanda Hartman


                                    General Comment
Conscience Rights must be Protected in Health Care

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

I strongly oppose paying for someone else to be sterilized or to be given free birth control, including
the morning after abortion pill. This must not happen.




                                                                                             0045382
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                                                                As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13823
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Molly Mehan


                                    General Comment
I am opposed to the requirement that insurance plans cover contraception and sterilization. This
violates the rights of Catholics and others to practice their religion in good conscience. Please repeal
these regulations as they are completely unjust.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13824
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dorothy Martin
Organization: Nurse


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.

AS A NURSE WHO WAS FORCED TO ASSIST IN ABORTION SURGERY, I KNOW WHAT I AM SAYING.
THIS KIND OF LEGISLATION VIOLATES MY BELIEFS AND ELIMINATES THE RIGHTS GIVEN TO ME
BY THE FIRST AMMENDMENT. DO NOT FORCE ME TO PARTICIPATE IN WHAT WILL DESTROY MY
LIFE. STOP THIS INTERFERENCE IN WHAT IS MY MEDICAL CHOICE.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13825
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Laura Smrecek
Organization: prolifer


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13826
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: John Jenks
Organization: Retired


                                   General Comment
This is what we get with Muslim leadership.




                                                                                        0045386
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                                                               As of: April 02, 2012
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13827
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Margaret Reilly


                                    General Comment
It is against the conscience of Catholics to support abortion or birth control. This religious belief
needs to be respected by our government. Many Catholic agencies lighten the social burden on our
government and need to be supported in the free practice of their faith.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13828
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Margaret Albright


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13829
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: George & Donna-Jean Gulyas
Organization: GUSTO! Enterprises


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay catholics. These Catholic institutions--are being forced by the government to violate their religious
beliefs. Mandatory contraception and sterilization coverage in college student insurance plans force
Catholic colleges to undermine their missions as Catholic institutions. Please repeal these regulations
and protect the religious freedom of Catholics as guaranteed by the First Ammendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13830
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Diane Shofner
Organization: catholic


                                   General Comment
sample text to copy or help you draft your own comment:



The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Diane Shofner




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13831
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Eileen Cochran
Organization: private corporation


                                     General Comment
The HHS regulations are blatantly violating the rights of Catholic Americans to practice their beliefs.
It is not tolerable or legal in this country for government to force individuals to violate their religious
beliefs when it in no way harms those individuals or fellow citizens. Government needs to ill back and
get it's tentacle out of every aspect of life in America. This country has gone so far backwards in the
last 3 years it is absolutely staggering and those paying attention are going to have to be the voice
for the ignorant.




                                                                                               0045391
           Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1019 of 1192
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13832
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: maureen kraemer


                                     General Comment
please cease this mandate on contrception for this future health
plan. it totally violates my Faith beliefs. please end this atrocity
for our country -- one nation under God




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                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13833
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lori Pieper


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13834
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Thomas Kelly
Organization: My Family


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13835
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Analee Tegeler


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13836
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Olivier Lemaignen


                                    General Comment
It is unconscionable to propose legislation that clearly counters religious freedoms and negatively
affects the level of care for a significant portion of the US population. That's exactly what you are
doing with the PPACA amendment despite the way you are attempting to portray it.

Many organizations that provide care to the US population are Catholic organizations. They serve the
general population regardless of their beliefs and religious affiliation (or lack thereof).

By forcing these organizations to submit themselves to constraints they cannot accept, you are
essentially shutting them down. As a result, you are also shutting down quality care for a lot of folks
who are relying on Catholic organizations to provide health care to them.

I urge you to revisit your proposal to avoid alienating so many and negatively impacting the level of
care that will be available to the US population.




                                                                                              0045396
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13837
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa Currey


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Tracking No. 80f1a062
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13838
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Edward McGowan
Organization: Catholic


                                   General Comment
slowly but surely Mr. Obama, you and your socialistic form of government are forcing us
catholics/Christians into a corner, and when forced into a corner, we tend to come out fighting. Now,
you are forcing Christians to submit to your ridiculous amendment, HHS-OS-2011-0023-0002, What
in the world is wrong with you and your cronies up there in Washington D.C. We Catholic/Christians
adhere to certain moral valuse, and we will not deter from them just because you "Think" you are
doing what is right or not. Wake Up! Let me give you a short version of the bible teachings. What
was a sin, 2,000-5,000 years ago is "STILL A SIN TODAY". Allow us Catholics/Christians the right to
Adhere to our moral values, and not be forced to make a decision "just to keep our jobs".




                                                                                          0045398
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1026 of 1192
                                                                 As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13839
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: George Hoppenjan


                                     General Comment
This is a violation of my religious beliefs. This is unbelieviable that you would even try to install such
a requirement that goes against so many Americans. I hope that those who have come up with this
will see the error and correct it.




                                                                                               0045399
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1027 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13840
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045400
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1028 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f1a06b
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13841
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: mark buynak


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045401
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1029 of 1192
                                                               As of: April 02, 2012
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                                                               Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13842
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Leah Rieckens


                                    General Comment
I am writing to ask you to revoke the new healthcare regulations. The new HHS regulations on
sterilization and contraception (including abortifacients) force Catholics to choose between our faith
and health care. By making this insurance coverage mandatory, our government has violated the
consciences of faithful Catholics and infringed on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
and organizations which are not owned by the Church, but instead run by lay Catholics. These
Catholic institutions—as well as individual Catholic employers and health insurance purchasers—are
being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions. Please repeal these regulations and protect the religious freedom of
Catholics as guaranteed by the First Amendment. Please listen to the people of America and don't
violate our rights.




                                                                                             0045402
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1030 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13843
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: James Foote


                                   General Comment

We demand that the Obama Administration revoke new healthcare regulations that blatantly violate
our religious freedom.


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045403
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1031 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13844
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jean Cooper
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045404
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                                                              As of: April 02, 2012
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13845
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: gerard lachiewicz


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1033 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13846
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: David Frickey


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1034 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13847
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Bill Litzendorf


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1035 of 1192
                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13848
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: David Seiner


                                    General Comment
The new HHS regulations on sterilization & contraception (including
abortifacients) force Catholics to choose between our faith and health care. By making this insurance
coverage mandatory, our government has violated the consciences of faithful Catholics and infringed
on our rights to practice our religious beliefs. The regulations' religious employer exemption will not
protect the hundreds of Catholic colleges, schools, and organizations which are not owned by the
church, but instead run by lay Catholics. These Catholic institutions-as well as individual Catholic
employers and health insurance purchasers-are being forced by the government to violate their
religious beliefs. Mandatory contraception & sterilization coverage in college student insurance plans
force Catholic colleges to undermine their missions as Catholic institutions. Please repeal these
regulations and protect the religious freedom of Catholics as guaranteed by the FIRST AMENDMENT.




                                                                                            0045408
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1036 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13849
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Rebecca Taylor


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations’ religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045409
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1037 of 1192
                                                               As of: April 02, 2012
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                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a069
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13850
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Brian Flatley, SR


                                    General Comment
To our National leaders;

You have the option to mandate health care provisions that make available birth control and abortion
to all Christians in our Country. You may believe this legislation is in the best interests of my fellow
citizens, however it violates laws handed down to us by God. "Thou shalt not kill!" It also violates
words given to us by our Lord and Saviour, Jesus Christ: "lead us not into temptation, but deliver us
from evil."
You should stand up to your professed faiths. Even if you're not Catholic, it is still my understanding
that all Christian Faiths still believe in and say the Our Father. Well, say it a little more often and
maybe you'll be able to stand up and profess it.
God bless and protect you,

Brian




                                                                                             0045410
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1038 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13851
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Brendan Case


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Thank you for your consideration.




                                                                                           0045411
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1039 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13852
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: MSgt Joseph Trovini USAF Retired
Organization: USAF Retored


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




                                                                                           0045412
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1040 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13853
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jane Franzese
Organization: Roman Catholic


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




                                                                                           0045413
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1041 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13854
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robert Burns


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




                                                                                           0045414
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                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13855
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Footer


                                   General Comment
Proposed regulations which require religious institutions to violate their teachings and beliefs are
repugnant and intolerable. Religious institutions should be granted exemptions based on conscience.




                                                                                          0045415
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13856
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Edward Scott


                                   General Comment
Please do not require violation of religous conscience. Required insurance coverage for contraception,
forced coverage for abortions, adoption to same sex couples, all violate religous freedom, one of the
foundations of our country.




                                                                                           0045416
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1044 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13857
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Myra Camp


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045417
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1045 of 1192
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                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a07f
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13858
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Terry Leedy


                                    General Comment
I want to express my extreme disappointment regarding the new HHS regulations on sterilization and
contraception (including abortifacients) that force Catholics to choose between our faith and health
care. By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs. The regulations'
religious employer exemption will not protect the hundreds of Catholic colleges, schools, and
organizations which are not owned by the Church, but instead run by lay Catholics. These Catholic
institutions—as well as individual Catholic employers and health insurance purchasers—are being
forced by the government to violate their religious beliefs. Mandatory contraception and sterilization
coverage in college student insurance plans force Catholic colleges to undermine their missions as
Catholic institutions. Please repeal these regulations and protect the religious freedom of Catholics as
guaranteed by the First Amendment.

Terry & Kay Leedy




                                                                                             0045418
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1046 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a079
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13859
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa Caviness
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045419
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1047 of 1192
                                                                As of: April 02, 2012
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f1a081
                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13860
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Andrew Mehan
Organization: concerned Catholic


                                    General Comment
In the name of all that is holy I beschee you, the goverment, to not force religious institutions to
have to make choices that are not in accordance to our beliefe s




                                                                                             0045420
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a082
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13861
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Marie Ruiz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1049 of 1192
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PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
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                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13862
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Gloria Stewart


                                    General Comment
Catholic teaching leads us to compassion for the poor and afflicted, so it is with tremendous regret
that I stand opposed to your plan for healthcare coverage for all. The call to compassion takes into
account the spiritual as well as physical well-being of all, therefore we must stand firm against things
that according to the teachings of the church and the Ten Commandments are morally wrong. We
are not trying to impose our sense of morality on others, but we are asking the same respect for
matters of conscience to which all peoples are entitled. We respectfully imploe you to modify the
requirements for health insurance coverage relating to those procedures which violate the teachings
of the Catholic Church. Anything else would be a violation of the Rights of Conscience.
Respectfully,
Gloria Pat Stewart
West Palm Beach




                                                                                             0045422
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                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a083
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13863
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Andrea Strecker


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1051 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13864
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Stephen Orris Jr


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1052 of 1192
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PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f1a085
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13865
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Deck
Organization: None


                                   General Comment
Please repeal the HHS regulations on sterilization and contraception. Among other problems, they
violate religious freedom. They should be abolished. Thank you very much. Paul Deck, New York.




                                                                                         0045425
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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13866
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Cristina calatayud


                                    General Comment
This is wrong. Catholic schools should remain with their Christian principles.




                                                                                        0045426
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13867
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Pamela Johnson


                                   General Comment
The government has no business in my personal business. I believe in the Right of Life in all forms
and do not believe that anyone should have the government paying for abortions or other personal
choices. This is a private family issue only.




                                                                                          0045427
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1055 of 1192
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PUBLIC SUBMISSION                                                  Status: Posted
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                                                                   Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13868
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Alan De Schinckel


                                     General Comment
This bill is a thinly disguised attack on my right to freedom of
religion. Forcing Catholics to paid for "medical" bills that are
against are religous beliefs. You will Never get my vote on
any issue, state or federal!




                                                                                          0045428
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                                                              Tracking No. 80f1a088
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13869
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa Jones
Organization: The Cardinal Newman Society


                                   General Comment
I strongly object to the new HHS regulations which force Catholic organizations to act contrary to
their belief system by providing sterilization and contraception in their health care plans. Our
government is overstepping its bounds and breaking the First Amendment by forcing its citizens to
violate their own conscienses.
I urge you to repeal this bad law and protect the religious freedom of all Catholics as guaranteed by
the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1057 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13870
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jim Alvaroe
Organization: Member of St. Mary's Parish, Chelsea, MI


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045430
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                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a08a
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13871
Comment on FR Doc # 2011-19684



                                Submitter Information

                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.

By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs. The regulations'
religious employer exemption will not protect the hundreds of Catholic colleges, schools, and
organizations which are not owned by the Church, but instead run by lay Catholics. These Catholic
institutions—as well as individual Catholic employers and health insurance purchasers—are being
forced by the government to violate their religious beliefs.

Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0045431
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1059 of 1192
                                                              As of: April 02, 2012
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13872
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Katharina Bumb
Organization: Family


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045432
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1060 of 1192
                                                               As of: April 02, 2012
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13873
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marita Mack
Organization: American Catholic voter


                                    General Comment
Dear President Obama and Secretary Sebelius,

Our ancestors came to this country in search of religious freedoms. As a Catholic, it is my belief and
my right as an American to express to you that contraception and sterilization mandates for
insurance companies take away the gift of life from God. Please, please,please do not continue to
offend Almighty God with these sinful practices.
It is possible to create a healthcare system that provides for every American, and that includes the
unborn.

If we truly are a nation to preserve the freedom of all its inhabitants, then we need to look closer to
find a better solution for EVERYONE. Often doing what is right is not always popular, but in the end
showing the world that every human counts, is a much stronger message.




                                                                                             0045433
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a094
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13874
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Susan Paschall


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045434
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                                                               As of: April 02, 2012
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PUBLIC SUBMISSION                                              Status: Posted
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                                                               Tracking No. 80f1a08d
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                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13875
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Candice Anastasi


                                    General Comment
Dear Secretary Sebelius,

Pregnancy is not a disease which needs to be prevented. The government should not require all
Americans to purchase insurance that covers sterilization and contraceptives. Please remove these
from the list of "preventive services" the federal government is mandating in private health plans.

In addition, it is necessary that any regulation fully respect religious liberty. The narrow religious
exemption in HHS's proposed rule is practically worthless since it will protect almost no one. I urge
you to allow all organizations and individuals to offer, sponsor and obtain health coverage that does
not violate their moral and religious convictions.

Thank you.
Candice




                                                                                            0045435
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                                                              Tracking No. 80f1a096
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13876
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Barta


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13877
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Michael Sicsko


                                     General Comment
I object to this administrations attempts to infringe on religious and personal matters of conscience.
Our constitution expressly prohibits the government from enacting laws that control or limit religious
practices and opinions. This administration is willfully enacting legislation that is unconstitutional and
not in the best interest of the majority. This administration is known to be corrupt. If it were not for
the fact the the media is controlled by the ultra rich who also control this administration, most of our
political leaders would be in prison for their crimes against humanity and for treason.
I implore you to act prudently and with conscience and do what will benefit your constituents rather
than building your own empires.




                                                                                               0045437
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1065 of 1192
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a090
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13878
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Eugene Ritter
Organization: Committed Catholic - St. Louis Church, Batesville IN


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

Once again let me state "abortion is NOT health care". HHS has stepped way beyond any reasonable
bounds to try tocontrol conscience and force Obama's Pro-abortion policies and beliefs on the
Christian American population.




                                                                                           0045438
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1066 of 1192
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a098
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13879
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Patrick McCarthy


                                   General Comment
Please do not support contraception or abortion . . . both of these are ways that 'seem' right to man .
. . but the 'way' thereof leads to death of individuals to death of societies and to death of countries
and to the death of the whole human race.

GOD Bless us all.




                                                                                           0045439
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1067 of 1192
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a099
                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13880
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: anthony donofrio
Organization: right to life


                                  General Comment
this is absolutely unacceptable..what happened to ""separation of church and state".shame on those
who have no regard to Catholic colleges who believe that all unborn are human beings and have a
God given right to be born.




                                                                                        0045440
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13881
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Kozina
Organization: Stanford University


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13882
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Robbie Pellon


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1070 of 1192
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13883
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Doug Praska
Organization: Roman Catholic Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                               Status: Posted
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13884
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mark Boron


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. The government has NO rights in doing this
whatsoever. By making this insurance coverage mandatory, our government has violated the
consciences of faithful Catholics and infringed on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
and organizations which are not owned by the Church, but instead run by lay Catholics. These
Catholic institutions—as well as individual Catholic employers and health insurance purchasers—are
being forced by the government to violate their religious beliefs. An this at no constitutional authority
even implied. Mandatory contraception and sterilization coverage in college student insurance plans
force Catholic colleges to undermine their missions as Catholic institutions. THE CONSTITUTION'S
FIRST AMENDMENT EXPRESSLY FORBIDES THE GOVENMENT FROM INTERFERING WITH THE
PRACTICE OF ONE'S FAITH! Please repeal these regulations and protect the religious freedom of
Catholics.




                                                                                              0045444
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13885
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Susan


                                    General Comment
This Obamacare mandated healthcare must not be incorporated into the American health care
system. This program is anti-freedom, anti-health, anti-common sense. It's insanity - blatant insanity.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1073 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13886
Comment on FR Doc # 2011-19684



                               Submitter Information

                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13887
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Christopher Martel


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13888
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: ken clark


                                    General Comment
Please stop the religious persecution . The constituion says you should not discriminate againt
religions - you swore to uphold this constituion - do it now!




                                                                                            0045448
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13889
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patricia Finlayson S.
Organization: None.


                                   General Comment
I strongly object to the measures to be put into effect through the enforcement of the AMENDMENT
under the PATIENT PROTECTION AND AFFORDABLE CARE ACT.

It goes against every moral principle of Christians, and or moral persons as well.I have a grand
daughter and I feel outraged at what is taking place...please stop this!

Thank you,

Patricia finlayson S.




                                                                                           0045449
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13890
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Reverend Martin Laird


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13891
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joan Klemko


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.

By making this insurance coverage mandatory, our government has violated the consciences of
faithful Catholics and infringed on our rights to practice our religious beliefs.

The regulations' religious employer exemption will not protect the hundreds of Catholic colleges,
schools, and organizations which are not owned by the Church, but instead run by lay Catholics.
These Catholic institutions—as well as individual Catholic employers and health insurance purchasers
—are being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions.

Please repeal these regulations and protect the religious freedom of Catholics as guaranteed by the
First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13892
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carol McHale


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13893
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Dejah Simunds


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13894
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Jack Natterman
Organization: same


                                  General Comment
What part of "KILLING BABIES" don't you understand?




                                                                                        0045454
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13895
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Janice Schacherl


                                    General Comment

My rights are being violated if I am forced to pay for birth control and other aboritfacts. Please
consider fairness for all
Americans. Don't' force this down my throat. Where is my choice?




                                                                                             0045455
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13896
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Anita Pietrzykowski


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13897
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Thomas Shea


                                     General Comment
Your discrimination against religion in general and Catholics in particular is appaulling. I pray that you
will reconsider your Godless ways and respect our constitution.

Your new law should of course ultimately be struck down by the courts as your Healthcare law will.
Show us some semblance of class and stop this non-sense now!

Thomas Shea




                                                                                              0045457
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                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13898
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Philip Mason
Organization: Philip Mason


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045458
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1086 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
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                                                              Tracking No. 80f1a0b1
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13899
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Paul Dudenhoeffer


                                   General Comment
Abraham Lincoln said it best, The function of government is to do for the people what they can't do
for themselves.

People can avoid sex if they don't want kids. If they have sex, they should be ready to accept the
conequences.

Also, almost every part of this regulation is a violation of one of the Ten Commandmemts.




                                                                                            0045459
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1087 of 1192
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a0bb
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13900
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Yetto


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045460
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1088 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
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                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a0bd
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13901
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: kurt brenner


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




                                                                                           0045461
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1089 of 1192
                                                              As of: April 02, 2012
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13902
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jeffrey Pavlock


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1090 of 1192
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                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13903
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: William Bellot


                                   General Comment
I am outraged at the way the healthcare legislation you signed into law openly attacks my freedom of
religion! Obamacare clearly demands that American Christians adhere to tenants that I will not obey,
as they violate my moral convictions.




                                                                                         0045463
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1091 of 1192
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13904
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Dalton


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1092 of 1192
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                                                                Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13905
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John Boyce


                                     General Comment
This proposed legislation constitutes a violation of freedom of religion and is unconstitutional.

It must not be passed until freedom of religion an conscience is guaranteed.

There's another election just around the corner; think well on it.




                                                                                              0045465
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13906
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kevin Gaffney
Organization: Knights of Columbus


                                   General Comment
This requirement goes against the beliefs of the Catholic Church and its members of faith. Forcing
free access to birth control and abortions goes against God's laws, and should not be forced upon
anyone.

Please rethink the situation and do NOT put these regulations into effect.

Thank you,
Kevin Gaffney




                                                                                          0045466
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13907
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: David


                                    General Comment
This covereage makes insurence coverage for contraception a mnadatory regulation for all. Not only
is contraception a deprivation because it destroys the marital act of procreation thus preventing unity
of spouses and the creation of children, bu also because it infringes upon the consciences and moral
obligations of many if not most Americans. This is inconsitutional. This act at the very least must be
revised.




                                                                                            0045467
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13908
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: margaret moshy
Organization: private citizen


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045468
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1096 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13909
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joseph Chamandy


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1097 of 1192
                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13910
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Yvette Lloyd
Organization: self


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Tracking No. 80f1a0c8
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13911
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Catherine Hanks


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13912
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Maureen Rego
Organization: stay at home wife and mother of 7


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1100 of 1192
                                                            As of: April 02, 2012
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                                                            Posted: October 31, 2011
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                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13913
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Sue Delamater
Organization: Our Lady of Grace Chruch


                                  General Comment
We need to bring God back into our lives--not take more measures to keep Him out!!!




                                                                                        0045473
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1101 of 1192
                                                              As of: April 02, 2012
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                                                              Posted: October 31, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13914
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carol Gorecki


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13915
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mark Gibson
Organization: U.S. Citizen


                                    General Comment
As a tax-paying and voting American, I am outraged that my rights as a free American are being
denied by the recent HHS mandate forcing free Americans to violate their conscience by providing
coverage for taking the life of innocent children and for women to have themselves mutilated in
order to use their reproductive powers in a way that is not open to life, as their reproductive power
was made to do. I am also outraged that this mandate will force free Americans to go against their
conscience by providing coverage for contraceptives and to provide them free for young women.
Please rescind this mandate (HHS-OS-2011-0023-0002) immediately, as it is in violation of our
constitutional right to act according to our conscience. Thank you for your immediate attention to
this important matter.




                                                                                           0045475
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                                                              Tracking No. 80f1a0c4
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13916
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Vicki Wilson
Organization: Catholic


                                   General Comment
Don't even think about forcing regulations on our church when you have no business doing so. We
have our values and beliefs and, God (yes, GOD) knows, you have your beliefs.........and they really
don't match.




                                                                                           0045476
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                                                              Tracking No. 80f1a0cd
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13917
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John Ehlers


                                    General Comment
Document HHS-OS-2011-0023-0002 is a clear violation of a person's or organization to conscience
objection, which is a foundational principle of our constitution. It is simply wrong to demand persons
or organizations must provide services which are objectionable to their conscientious sensibilities.
Please do not put this rule into effect. It is bad policy, it sets a bad preceident and will probably
result in many catholic services being shut down.




                                                                                            0045477
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13918
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Karen Combs
Organization: The Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045478
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13919
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carol Smith
Organization: NA


                                   General Comment

I am prolife and oppose our government's interference in health care and healthcare issues. Nothing
good ever comes out of government interference in the lives of Americans, get out of our lives!




                                                                                         0045479
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13920
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Armindo Silva
Organization: Universidade Autónoma de Lisboa


                                    General Comment
The Obama's government intends to face God Creator of the men, forgeting His main Mission given
to Obama when him was conceived.

God gives a Mission to every man to fullfill on Earth: acomplish the will of God.
Obama intends - with his force in US government - change that Sacred Mission on Earth!

This is a copy of the offer of Satan to Jesus in Desert: Change Your Mission.

Jesus rules the world in the hearts of those who know that Jesus Christ sustains every man and all
the universe!

I pray for the Victory of Jesus in the heart of every US citizen and the defeat of Satan and his power
exercised trough the men that have chosen to be his agents in earth




                                                                                            0045480
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13921
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Brianna Hanni


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13922
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jill Hartman
Organization: Lancaster Catholic High School


                                    General Comment
Please do not enact law that violates my belief system ... value system ... and faith.

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13923
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carla Olheiser


                                   General Comment
Please take heed of this message. There are so many people who are opposed to this mandate based
on their moral and religious convictions. It is not right to force us to pay for something so
reprehensible to our conscience.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13924
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Telma Perez


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13925
Comment on FR Doc # 2011-19684



                              Submitter Information

                                  General Comment
Say no to healthcare mandates that violate humanity and impose sterilization and other unhealthy
human measures. To impose such measures violate my religious freedom and beliefs. Thank you.
Sincerely, Karen Troendle




                                                                                        0045485
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13926
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patricia Lowe


                                   General Comment

President Obama
It seems this is a grave time for our Country with all that is going on worldwide and in the United
States that needs your complete attention.
For this reason, I am asking that our Government focus on the large issues, like our debt. over
spending, government growth, no jobs, Israel, Iran, illegal immigration, to mention a few.
The Government has plenty to take care of without getting involved in birth control for our young
and college children. This is sounding more like China's mandate and that isn't good for our Country.
Respectfully submitted.




                                                                                          0045486
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13927
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Bernadette Sangston


                                    General Comment
This rule not only violates my religious freedom, it also encourages irresponsible behavior. The
religious employer exemption is insufficient. The effects of birth control are widely documented and
devastating. I should not be forced, as a taxpayer, to foot the bill for this regulation. Do the right
thing and repeal it.




                                                                                             0045487
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13928
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mary Reviere
Organization: none


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13929
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Irene Compton


                                     General Comment
This legislation forces lay Catholic apostolates to violate their consciences in providing health care to
their employees. This is a clear violation of religious freedom. To mandate a choice between
providing just medical coverage for employees and the right to live Catholic teaching prohibiting
manipulation of the conjugal act is no choice at all! I demand that my right to practice my faith be
recognized and defended by the government of the United States.

Irene Compton




                                                                                              0045489
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13930
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jerry Hamilton
Organization: SSPX


                                   General Comment


The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045490
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13931
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Ann Tran
Organization: Pro-Life


                                  General Comment
I do not support Obama Care because it is including many kinds of coverages that killng people who
are weak that cannot defend themseves.
Obama Care used taxpayers dollar to fund such as Pro-Abortion fund, teenage suicide, Euthanasia
fund...
Group Health Plans....these are harmful coverage programs that killing elderly, teenagers, and
unborn babies.




                                                                                        0045491
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13932
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Deborah Paglia


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Actons outlined in this mandate, explain to the general public why we have child abuse, bullying, and
other horrific actions in our country! We must place a value on every single life. God loves us all
equally. This government mandate is a pure sin!




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13933
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Joe Hensley


                                    General Comment
As a Catholic Christian I feel this mandate is overstepping the government's authority. As a Catholic I
feel it is imperative to bring conscience into not only medical decisions but into how we operate our
benefits to employees.

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.

Thank you for your time and consideration of all points of view on this matter. I sincerely hope that
the conscience clause will be maintained and honored.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13934
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Theresa McCutcheon


                                   General Comment
I strongly oppose the mandatory contraception and sterilization provisions forced on our insurance
companies!




                                                                                          0045494
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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13935
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Michael Loin Jr


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13936
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Joan M. Statz
Organization: not affiliated w/any organization


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13937
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Bernadette Bergen


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of people of faith. Please REPEAL THESE REGULATIONS!




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Comment On: HHS-OS-2011-0023-0002
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Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13938
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Mike Callis


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045498
             Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1126 of 1192
                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a0e5
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13939
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Karen Whitesell


                                    General Comment
Dear Secretary Sebelius,

Pregnancy is not a disease which needs to be prevented. The government should not require all
Americans to purchase insurance that covers sterilization and contraceptives. Please remove these
from the list of "preventive services" the federal government is mandating in private health plans.

In addition, it is necessary that any regulation fully respect religious liberty. The narrow religious
exemption in HHS's proposed rule is practically worthless since it will protect almost no one. I urge
you to allow all organizations and individuals to offer, sponsor and obtain health coverage that does
not violate their moral and religious convictions.

Sincerely,

Karen Whitesell




                                                                                            0045499
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1127 of 1192
                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13940
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Sue McQueen
Organization: Central MI University


                                    General Comment
Each patient should know what is going on in medical terms - should be explained so they
understand. Health care plan shouldn't force Catholic colleges or schools to violate their Catholic
identity, by providing immoral health benefits. Health care shouldn't have regulations that require
woman's health plans to cover sterilization and contraception, including abortifacients that cause
abortion. Health care shouldn't be offering free birth control.




                                                                                            0045500
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1128 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a0f0
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13941
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ada


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045501
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1129 of 1192
                                                               As of: April 02, 2012
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                                                               Tracking No. 80f1a0ea
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13942
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Susie Nelson


                                    General Comment
Please stop trying to force your choices on us when they are against our religious beliefs. This
country was formed on religious freedom and this time you have gone to far.




                                                                                            0045502
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1130 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f1a0f3
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13943
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ana Maria Erkelens


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1131 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13944
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: JoAnn Kordsmeier
Organization: peaceful mother of four


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1132 of 1192
                                                            As of: April 02, 2012
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                                                            Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13945
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: MARILYNN HILPERT
Organization: CARDINAL NEWMAN SOCIETY


                                  General Comment
AN UNBORN BABY SHOULD NOT BE ALLOWED TO BE DESTROYED BY A "HEALTH" CARE RULE.
HEALTHCARE IS INTENDED TO PROMOTE HEALTH NOT DESTRUCTION OF LIFE. I CANNOT
SUPPORT THIS RULE UNDER ANY CIRCUMSTANCE. IT MUST BE REMOVED FROM THE BILL AS
STATED ABOVE.




                                                                                        0045505
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                                                               As of: April 02, 2012
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                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13946
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Dalene Werner


                                    General Comment
If any government entity mixes in to regulating moral issues of the Catholic Church, I can assure you
that you will have awakened a sleeping dragon! It's bad enough that leading or saying a prayer
anywhere, including public buildings, has been outlawed because authorities cannot tell the
difference between the government "establishing a religion" and simply allowing citizens to practice
their freedom of religion. I cannot believe the attack on liberties that this adminitration keeps trying
to hack away at.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1134 of 1192
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13947
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Anita Leonard


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13948
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Tricia Eilers


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Tracking No. 80f1a0f6
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13949
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Leo Brand


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.
I will vote against any person or party that supports these issues.




                                                                                           0045509
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                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13950
Comment on FR Doc # 2011-19684



                                Submitter Information

                                    General Comment
Dear Sirs and madams,

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.

I appreciate your kind considerations.

Regards,




                                                                                           0045510
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                                                              As of: April 02, 2012
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13951
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Marcella Peters


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045511
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                                                              Tracking No. 80f1a0f7
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13952
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ruth Grenier
Organization: Catholic


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment. I oppose the new
regulation based on my faith as a Roman Catholic parishioner.




                                                                                           0045512
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1140 of 1192
                                                                As of: April 02, 2012
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                                                                Tracking No. 80f1a0fa
                                                                Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13953
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Dr. David Gierlus-Family Physician
Organization: Trinity-Muscatine


                                    General Comment
Please help undue HHS regulations that force Catholics to choose between heathcare and their faith.
By making sterilization and abortifacients insurance coverage mandatory the goverment has violated
the coscience of the faithful Catholics and infringe on our rights to practice our religious beliefs. The
religious exception DOES NOT protect Catholic organizations NOT owned by the church. This includes
hundreds of "Catholic" colleges, schools, and organizations
that will be forced to violate their christian values by this change in regulation. Mandatory
sterilization and contraception insurance coverage will undermine their Catholic mission.
Please repeal these regulations that are protected by the First Amendment.




                                                                                              0045513
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                                                              Tracking No. 80f1a104
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13954
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Scott Jones


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13955
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Helga Miley


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045515
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                                                              Tracking No. 80f1a0fc
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13956
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Elizabeth Hutchings


                                   General Comment

The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045516
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
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                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
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the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13957
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Russell Mellinger Jr.
Organization: Cardinal Newman Society


                                    General Comment
You are in volition of church and State. Which is NOT in the Constitution. But you guys love to use it
when it suit's you. SO Stay out of our lives. We will not honor it. IT is against our Faith!!!!
Respectfully summit.




                                                                                            0045517
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                                                               Tracking No. 80f1a0fd
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                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13958
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: John Paul
Organization: Telesis Solutions Inc


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations’ religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.


Please -the Soviets already tried your approach -it failed miserably -please donnot repeat their
mistake.




                                                                                            0045518
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1146 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a109
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13959
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: V. Paul Timko
Organization: St Ann Church


                                  General Comment
Dear Mr Pres Obama: Please stop the descrimination against the Catholic Church.




                                                                                        0045519
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1147 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a101
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13960
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: JOHN SUICH
Organization: ROMAN CATHOLIC CHURCH


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment




                                                                                           0045520
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1148 of 1192
                                                                 As of: April 02, 2012
                                                                 Received: September 14, 2011
PUBLIC SUBMISSION                                                Status: Posted
                                                                 Posted: October 31, 2011
                                                                 Tracking No. 80f1a10a
                                                                 Comments Due: September 30, 2011
                                                                 Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13961
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Barbara Ersfeld


                                     General Comment
Re: file code CMS-9992-IFC2
I strongly urge the administration to rescind the misguided and coercive mandate requiring that all
health insurance plans cover controversial contraceptives and sterilization procedures, regardless of
cost or conscientious objection.

It is unconscionable to force all Americans to subsidize controversial drugs such as ella and Plan B,
which according to the FDA can end the development of a living human embryo.

The fig-leaf conscience exemption in the mandate is so narrow as to force many religious
organizations, especially those that provide care for individuals outside the faith, to violate
conscientiously held moral standards.

At a minimum, I urge you to remove contraceptives and sterilizations from the list of mandatory
preventive services.
Thank you for your consideration of these views. I understand this comment will become part of the
public record.
Thank you.




                                                                                                  0045521
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1149 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a102
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13962
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Jan Storey


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045522
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1150 of 1192
                                                             As of: April 02, 2012
                                                             Received: September 14, 2011
PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f1a10b
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13963
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Francis David Malak
Organization: Ener-Con


                                    General Comment
I strongly object to your imposing rules which are totally
forbidden by our religous beliefs.




                                                                                        0045523
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1151 of 1192
                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a10c
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13964
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Nance Shaw
Organization: Pro-Life Org of Grimes and Waller Counties (Texas)


                                    General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase.
Please remove sterilization and prescription contraceptives from the list of "preventive services" the
federal government is mandating in private health plans.
It is especially important to exclude any drug that may cause an early abortion, and to fully respect
religious freedom as other federal laws do.
The narrow religious exemption in HHS's new rule protects almost no one.
I urge you to allow all organizations and individuals to offer, sponsor and obtain health coverage that
does not violate their moral and religious convictions.




                                                                                            0045524
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1152 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a10d
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13965
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Jessica Nieblas


                                  General Comment
See attached file(s)



                                      Attachments
Jessica Nieblas




                                                                                        0045525
Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1153 of 1192



Dear Secretary Sebelius,

Women who work for Catholic and other religious employers deserve the same, complete access
to contraceptive coverage that HHS has approved for others. Anything less would be
discriminatory and contrary to the social justice tradition central to my Catholic faith. I therefore
urge you and the Department of Health and Human Services to include comprehensive family
planning services for all women as a preventive benefit under the Affordable Care Act.

More than six in ten Catholic voters (63%) support health insurance coverage for contraception,
including birth control pills. This is unsurprising, as restrictions to reproductive healthcare access
harm Catholics—98 percent of sexually active Catholic women have used a modern method of
birth control, mirroring the rates of the population at large (99%).

I have heard the stories of women workers who will be affected by these refusal clauses, women
who are trying to support themselves and their families in these tough times. These women
include thousands of teachers in Catholic schools and diocesan employees. They also include the
spouses and dependents of others working for Catholic institutions, who may share insurance
plans with their loved ones. All of these women provide the backbone of our Catholic
community, even if they are not Catholic themselves. I cannot in good conscience support any
rule that would treat them as second-class citizens unworthy of the same full access to
comprehensive family planning coverage that other women receive.

You have heard recently from the US Conference of Catholic Bishops and other conservative
Catholics on this issue. They are speaking neither for me nor the majority of the 68 million
Catholics in the US. Rather than allowing their employees to follow their own consciences in
making healthcare decisions, the bishops are attempting to impose their personal beliefs on
everybody.

I respect the consciences of the bishops. I just expect them, in keeping with the teachings of our
Catholic faith, to respect my conscience and the consciences of the women who work for them,
too.

Sincerely,

Jessica Nieblas
1431 Mandeville St.
New Orleans, LA 70117




                                                                                                         0045526
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1154 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a10f
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13966
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: laurie owens


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1155 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a119
                                                              Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13967
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Patricia Michalak


                                   General Comment
Government has no business requiring Americans to have health care. Period. We do not want or
need Government run health care. Period. It is wrong to contracept or to take a life either at the
beginning or the end of natural life because by doing so we no longer follow the path that God has
chosen for us but we take the decision making from The Almighty and make ourselves as gods.
Christians can not in good conscience have abortions, pay for abortions or any abortifacients in any
way. God Bless America and have mercy on us.




                                                                                           0045528
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1156 of 1192
                                                            As of: April 02, 2012
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PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
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                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13968
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Eleanor Colgan
Organization: Private


                                  General Comment
No one should ever be obliged by any government to purchase health care. This is a matter of
individual choice. Are you
against individual choice? Evidence shows that you, Harry Reid, Nancy Pelosi and the whole process
of passing the PPACA bill
are constitution and anti-American. The bill was pushed through the House and Senate before people
and legislators knew
its contents . Sounds like secet government.




                                                                                        0045529
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1157 of 1192
                                                              As of: April 02, 2012
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PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a111
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13969
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Lorraine Ganem


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045530
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1158 of 1192
                                                                As of: April 02, 2012
                                                                Received: September 14, 2011
PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f1a112
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13970
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: MP Medina


                                    General Comment
The new HHS regulations on sterilization and contraception force Catholics to choose between our
faith and health care. By making this insurance coverage mandatory, our government has violated
the consciences of faithful Catholics and infringed on our rights to practice our religious beliefs. The
regulations' religious employer exemption will not protect the hundreds of Catholic colleges, schools,
and organizations which are not owned by the Church, but instead run by lay Catholics. These
Catholic institutions—as well as individual Catholic employers and health insurance purchasers—are
being forced by the government to violate their religious beliefs. Mandatory contraception and
sterilization coverage in college student insurance plans force Catholic colleges to undermine their
missions as Catholic institutions. Please repeal these regulations and protect the religious freedom of
Catholics as guaranteed by the First Amendment.




                                                                                              0045531
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1159 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a11a
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13971
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Jessica Rodzen


                                  General Comment
See attached file(s)



                                      Attachments
Jessica Rodzen




                                                                                        0045532
Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1160 of 1192



Dear Secretary Sebelius,

Women who work for Catholic and other religious employers deserve the same, complete access
to contraceptive coverage that HHS has approved for others. Anything less would be
discriminatory and contrary to the social justice tradition central to my Catholic faith. I therefore
urge you and the Department of Health and Human Services to include comprehensive family
planning services for all women as a preventive benefit under the Affordable Care Act.

More than six in ten Catholic voters (63%) support health insurance coverage for contraception,
including birth control pills. This is unsurprising, as restrictions to reproductive healthcare access
harm Catholics—98 percent of sexually active Catholic women have used a modern method of
birth control, mirroring the rates of the population at large (99%).

I have heard the stories of women workers who will be affected by these refusal clauses, women
who are trying to support themselves and their families in these tough times. These women
include thousands of teachers in Catholic schools and diocesan employees. They also include the
spouses and dependents of others working for Catholic institutions, who may share insurance
plans with their loved ones. All of these women provide the backbone of our Catholic
community, even if they are not Catholic themselves. I cannot in good conscience support any
rule that would treat them as second-class citizens unworthy of the same full access to
comprehensive family planning coverage that other women receive.

You have heard recently from the US Conference of Catholic Bishops and other conservative
Catholics on this issue. They are speaking neither for me nor the majority of the 68 million
Catholics in the US. Rather than allowing their employees to follow their own consciences in
making healthcare decisions, the bishops are attempting to impose their personal beliefs on
everybody.

I respect the consciences of the bishops. I just expect them, in keeping with the teachings of our
Catholic faith, to respect my conscience and the consciences of the women who work for them,
too.

Sincerely,

Jessica Rodzen
8714 N. St Louis Ave
Skokie, IL 60076




                                                                                                         0045533
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1161 of 1192
                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a11c
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13972
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Mark Steury


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force people to
choose between morality and health care. By making this insurance coverage mandatory, our
government has violated the consciences of God-fearing people and infringed on our rights to
practice our religious beliefs. The regulations' religious employer exemption will not protect the
hundreds of Catholic colleges, schools, and organizations which are not owned by the Church, but
instead run by lay Catholics. These Catholic institutions—as well as individual Catholic employers and
health insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                            0045534
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1162 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a11d
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13973
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Linda Roberts
Organization: Cardinal Newman Society


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045535
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1163 of 1192
                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a11f
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13974
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Robert McKenna
Organization: Cardinal Newman Society


                                    General Comment
Please, please rescind the regulations that mandate Catholic institutions to act contrary to the sacred
teachings of our church. Freedom of religion is one of the most cherished Rights of our citizens, and
this administration apparently does not believe in that Right. The most ironic ting about this is the
use by the administration of a woman who claims to be a Catholic to implement these heinous
regulations.




                                                                                            0045536
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1164 of 1192
                                                                As of: April 02, 2012
                                                                Received: September 14, 2011
PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f1a113
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13975
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Brigid DiDonna


                                    General Comment
I urge you to repeal the regulations which force Catholic colleges to carry mandatory contraception
and sterilization coverage in their college student insurance plans. This undermines their missions as
Catholic institutions and fails to protect the religious freedom of Catholics as guaranteed by the First
Amendment.




                                                                                              0045537
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1165 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a114
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13976
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Victor Erdmann
Organization: Annunciation Church


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045538
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1166 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a120
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13977
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Carolyn Pierini


                                   General Comment
Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                           0045539
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1167 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a121
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13978
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Jessica Haro


                                  General Comment
See attached file(s)



                                      Attachments
Jessica_Haro




                                                                                        0045540
Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1168 of 1192



Dear Secretary Sebelius,

Women who work for Catholic and other religious employers deserve the same, complete access
to contraceptive coverage that HHS has approved for others. Anything less would be
discriminatory and contrary to the social justice tradition central to my Catholic faith. I therefore
urge you and the Department of Health and Human Services to include comprehensive family
planning services for all women as a preventive benefit under the Affordable Care Act.

You have heard recently from the US Conference of Catholic Bishops and other conservative
Catholics on this issue. They are speaking neither for me nor the majority of the 68 million
Catholics in the US. Rather than allowing their employees to follow their own consciences in
making healthcare decisions, the bishops are attempting to impose their personal beliefs on
everybody.


Sincerely,

Jessica Haro
760 Mateo Ct
Santa Barbara, CA 93111




                                                                                                        0045541
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1169 of 1192
                                                             As of: April 02, 2012
                                                             Received: September 14, 2011
PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f1a115
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13979
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Katherine david


                                   General Comment
I am asking you as a Catholic christian to no enforce your beliefs on me, my children and my Catholic
community.
Your job is to take care of our government not our personal lives.
The policies that you set are taking away the Christian freedom that our country was based on.
I will continue to pray that you will understand the harm and religious freedoms you are taking away.
You are NOT in control of us. Only God is and He is the One whom all of us will have to answer to.




                                                                                          0045542
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1170 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a116
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13980
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Marly Volpicelli


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045543
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1171 of 1192
                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a117
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13981
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Paul Ernst
Organization: Mary Queen of Peace Catholic Church


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and healthcare. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions as well as individual Catholic employers and health insurance
purchasers are being forced by the government to violate their religious beliefs. Mandatory
contraception and sterilization coverage in college student insurance plans force Catholic colleges to
undermine their missions as Catholic institutions. Please repeal these regulations and protect the
religious freedom of Catholics as guaranteed by the First Amendment.
Thank you.




                                                                                             0045544
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1172 of 1192
                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a12c
                                                               Comments Due: September 30, 2011
                                                               Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13982
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Jim Brey
Organization: Individual


                                    General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care.  By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs.  The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics.  These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs. 
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions.  Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1173 of 1192
                                                             As of: April 02, 2012
                                                             Received: September 14, 2011
PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f1a12d
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13983
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Barbara McKinley


                                   General Comment
I am commenting on Group Health Plans and Health Insurance Issuers relating to Coverage of
Preventive Services under Patient Protection and Affordable Care Act: Amendment (Document ID
HHS-0S-2011-0023-0002).

I am asking you to repeal these regulations that would infringe on religious freedom of Catholics;
colleges, institutions and charities. We do not want our children and grandchildren exposed to such
evil violations. The First Amendment guarrantees us against forcing us to go against our Catholic
beliefs and violates those beliefs.

Thank you for helping these regulations to be repealed!




                                                                                          0045546
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1174 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a12e
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13984
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Milan Beres, MD
Organization: -


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045547
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1175 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a123
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13985
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Johanna Durling


                                  General Comment
See attached file(s)



                                      Attachments
Johanna Durling




                                                                                        0045548
Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1176 of 1192



Dear Secretary Sebelius,

Women who work for Catholic and other religious employers deserve the same, complete access
to contraceptive coverage that HHS has approved for others. Anything less would be
discriminatory and contrary to the social justice tradition central to my Catholic faith. I therefore
urge you and the Department of Health and Human Services to include comprehensive family
planning services for all women as a preventive benefit under the Affordable Care Act.

More than six in ten Catholic voters (63%) support health insurance coverage for contraception,
including birth control pills. This is unsurprising, as restrictions to reproductive healthcare access
harm Catholics—98 percent of sexually active Catholic women have used a modern method of
birth control, mirroring the rates of the population at large (99%).

I have heard the stories of women workers who will be affected by these refusal clauses, women
who are trying to support themselves and their families in these tough times. These women
include thousands of teachers in Catholic schools and diocesan employees. They also include the
spouses and dependents of others working for Catholic institutions, who may share insurance
plans with their loved ones. All of these women provide the backbone of our Catholic
community, even if they are not Catholic themselves. I cannot in good conscience support any
rule that would treat them as second-class citizens unworthy of the same full access to
comprehensive family planning coverage that other women receive.

You have heard recently from the US Conference of Catholic Bishops and other conservative
Catholics on this issue. They are speaking neither for me nor the majority of the 68 million
Catholics in the US. Rather than allowing their employees to follow their own consciences in
making healthcare decisions, the bishops are attempting to impose their personal beliefs on
everybody.

I respect the consciences of the bishops. I just expect them, in keeping with the teachings of our
Catholic faith, to respect my conscience and the consciences of the women who work for them,
too.

Sincerely,

Johanna Durling
Vancouver, WA




                                                                                                         0045549
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1177 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a127
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13986
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Kelly Race


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045550
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1178 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a128
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13987
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Erich Wolz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045551
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1179 of 1192
                                                                As of: April 02, 2012
                                                                Received: September 14, 2011
PUBLIC SUBMISSION                                               Status: Posted
                                                                Posted: October 31, 2011
                                                                Tracking No. 80f1a129
                                                                Comments Due: September 30, 2011
                                                                Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13988
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Elizabeth M. Long


                                    General Comment
I am appealing to the Department of Health and Human Services to repeal the regulations requiring
insurance coverage of abortifacients and other birth control methods which are contrary to Catholic
moral and ethical teaching, and those which will require institutions (including Catholic and Christian
colleges and universities) and providers to provide that coverage and those "services," despite their
conscientious objection to them. Please amend this act to guarantee freedom to these individuals
and organizations not to have to provide this coverage and these "services." Thank you.




                                                                                             0045552
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1180 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a12a
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13989
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: John Doyle


                                  General Comment
See attached file(s)



                                      Attachments
John Doyle




                                                                                        0045553
Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1181 of 1192



Dear Secretary Sebelius,

Women who work for Catholic and other religious employers deserve the same, complete access
to contraceptive coverage that HHS has approved for others. Anything less would be
discriminatory and contrary to the social justice tradition central to my Catholic faith. I therefore
urge you and the Department of Health and Human Services to include comprehensive family
planning services for all women as a preventive benefit under the Affordable Care Act.

More than six in ten Catholic voters (63%) support health insurance coverage for contraception,
including birth control pills. This is unsurprising, as restrictions to reproductive healthcare access
harm Catholics—98 percent of sexually active Catholic women have used a modern method of
birth control, mirroring the rates of the population at large (99%).

I have heard the stories of women workers who will be affected by these refusal clauses, women
who are trying to support themselves and their families in these tough times. These women
include thousands of teachers in Catholic schools and diocesan employees. They also include the
spouses and dependents of others working for Catholic institutions, who may share insurance
plans with their loved ones. All of these women provide the backbone of our Catholic
community, even if they are not Catholic themselves. I cannot in good conscience support any
rule that would treat them as second-class citizens unworthy of the same full access to
comprehensive family planning coverage that other women receive.

You have heard recently from the US Conference of Catholic Bishops and other conservative
Catholics on this issue. They are speaking neither for me nor the majority of the 68 million
Catholics in the US. Rather than allowing their employees to follow their own consciences in
making healthcare decisions, the bishops are attempting to impose their personal beliefs on
everybody.

I respect the consciences of the bishops. I just expect them, in keeping with the teachings of our
Catholic faith, to respect my conscience and the consciences of the women who work for them,
too.

Sincerely,

John Doyle
303 W 11 St
3E
New York, NY 10014




                                                                                                         0045554
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1182 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a12f
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13990
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Ann Rae


                                   General Comment
I oppose the birth control and sterilization mandates for the insurance companies.




                                                                                        0045555
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1183 of 1192
                                                            As of: April 02, 2012
                                                            Received: September 14, 2011
PUBLIC SUBMISSION                                           Status: Posted
                                                            Posted: October 31, 2011
                                                            Tracking No. 80f1a130
                                                            Comments Due: September 30, 2011
                                                            Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13991
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: michael ramage


                                  General Comment
PLEASE DO NOT PASS THIS BILL Amendment (HHS-OS-2011-0023-0002), .
IT IS IMPERATIVE THAT THIS BILL DOES NOT PASS. WHAT ARE YOU TRYING TO DO, WRECK OUR
COUNTRY MORALS!! ENOUGH OF THE OBAMA "NONSENSE".




                                                                                        0045556
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1184 of 1192
                                                                 As of: April 02, 2012
                                                                 Received: September 14, 2011
PUBLIC SUBMISSION                                                Status: Posted
                                                                 Posted: October 31, 2011
                                                                 Tracking No. 80f1a138
                                                                 Comments Due: September 30, 2011
                                                                 Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13992
Comment on FR Doc # 2011-19684



                                 Submitter Information
Name: Richard Kehoe


                                     General Comment
Re: file code CMS-9992-IFC2
I strongly urge the administration to rescind the misguided and coercive mandate requiring that all
health insurance plans cover controversial contraceptives and sterilization procedures, regardless of
cost or conscientious objection.
It is unconscionable to force all Americans to subsidize controversial drugs such as ella and Plan B,
which according to the FDA can end the development of a living human embryo.

The fig-leaf conscience exemption in the mandate is so narrow as to force many religious
organizations, especially those that provide care for individuals outside the faith, to violate
conscientiously held moral standards.

At a minimum, I urge you to remove contraceptives and sterilizations from the list of mandatory
preventive services.

Thank you for your consideration of these views.




                                                                                                  0045557
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1185 of 1192
                                                             As of: April 02, 2012
                                                             Received: September 14, 2011
PUBLIC SUBMISSION                                            Status: Posted
                                                             Posted: October 31, 2011
                                                             Tracking No. 80f1a131
                                                             Comments Due: September 30, 2011
                                                             Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13993
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: George Roxandich


                                  General Comment
If you force HHS-OS-2011-0023-0002 to affect Catholic hospitals, colleges and the girls and women
to comply wit h the onerous requirements against the conscience of the providers, you will lose my
vote forever, including for any Democrat in Congress.
Please reconsider.




                                                                                         0045558
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1186 of 1192
                                                              As of: April 02, 2012
                                                              Received: September 14, 2011
PUBLIC SUBMISSION                                             Status: Posted
                                                              Posted: October 31, 2011
                                                              Tracking No. 80f1a139
                                                              Comments Due: September 30, 2011
                                                              Submission Type: Web

Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13994
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Janice Huth


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




                                                                                           0045559
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                                                               As of: April 02, 2012
                                                               Received: September 14, 2011
PUBLIC SUBMISSION                                              Status: Posted
                                                               Posted: October 31, 2011
                                                               Tracking No. 80f1a13a
                                                               Comments Due: September 30, 2011
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13995
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Angela Flood


                                    General Comment
Please, please consider this message. Disease is harmful - pregnancy is life-giving. I don't consider
any of my children a product of disease, nor did/does your mother. I feel violated that some of the
best parts of my life -- my pregnancies - are considered a disease!

Pregnancy is not a disease, and drugs and surgeries to prevent it are not basic health care that the
government should require all Americans to purchase. Please remove sterilization and prescription
contraceptives from the list of "preventive services" the federal government is mandating in private
health plans. It is especially important to exclude any drug that may cause an early abortion, and to
fully respect religious freedom as other federal laws do. The narrow religious exemption in HHS's
new rule protects almost no one. I urge you to allow all organizations and individuals to offer,
sponsor and obtain health coverage that does not violate their moral and religious convictions.




                                                                                            0045560
          Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1188 of 1192
                                                            As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13996
Comment on FR Doc # 2011-19684



                              Submitter Information
Name: Joyce Frohn


                                  General Comment
See attached file(s)



                                      Attachments
Joyce Frohn




                                                                                        0045561
Case 2:17-cv-04540-WB Document 126-11 Filed 01/07/19 Page 1189 of 1192



Dear Secretary Sebelius,

Women who work for Catholic and other religious employers deserve the same, complete access
to contraceptive coverage that HHS has approved for others. Anything less would be
discriminatory and contrary to the social justice tradition central to my Catholic faith. I therefore
urge you and the Department of Health and Human Services to include comprehensive family
planning services for all women as a preventive benefit under the Affordable Care Act.

More than six in ten Catholic voters (63%) support health insurance coverage for contraception,
including birth control pills. This is unsurprising, as restrictions to reproductive healthcare access
harm Catholics—98 percent of sexually active Catholic women have used a modern method of
birth control, mirroring the rates of the population at large (99%).

I have heard the stories of women workers who will be affected by these refusal clauses, women
who are trying to support themselves and their families in these tough times. These women
include thousands of teachers in Catholic schools and diocesan employees. They also include the
spouses and dependents of others working for Catholic institutions, who may share insurance
plans with their loved ones. All of these women provide the backbone of our Catholic
community, even if they are not Catholic themselves. I cannot in good conscience support any
rule that would treat them as second-class citizens unworthy of the same full access to
comprehensive family planning coverage that other women receive.

You have heard recently from the US Conference of Catholic Bishops and other conservative
Catholics on this issue. They are speaking neither for me nor the majority of the 68 million
Catholics in the US. Rather than allowing their employees to follow their own consciences in
making healthcare decisions, the bishops are attempting to impose their personal beliefs on
everybody.

I respect the consciences of the bishops. I just expect them, in keeping with the teachings of our
Catholic faith, to respect my conscience and the consciences of the women who work for them,
too.

Sincerely,

Joyce Frohn
425 Congress Ave
Oshkosh, WI 54901




                                                                                                         0045562
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                                                              As of: April 02, 2012
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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13997
Comment on FR Doc # 2011-19684



                               Submitter Information
Name: Therese Szyszkiewicz


                                   General Comment
The new HHS regulations on sterilization and contraception (including abortifacients) force Catholics
to choose between our faith and health care. By making this insurance coverage mandatory, our
government has violated the consciences of faithful Catholics and infringed on our rights to practice
our religious beliefs. The regulations' religious employer exemption will not protect the hundreds of
Catholic colleges, schools, and organizations which are not owned by the Church, but instead run by
lay Catholics. These Catholic institutions—as well as individual Catholic employers and health
insurance purchasers—are being forced by the government to violate their religious beliefs.
Mandatory contraception and sterilization coverage in college student insurance plans force Catholic
colleges to undermine their missions as Catholic institutions. Please repeal these regulations and
protect the religious freedom of Catholics as guaranteed by the First Amendment.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13998
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Marcella Peters


                                    General Comment
These regulations issued by the Secretary of Health, Education and Welfare violate my conscience. I
do not believe in abortion. It is morally wrong, and the government cannot make it moral.

I ask that the Secretary rescind these regulations. This also constitutes an attack by the US
Government on the Catholic Church in America.




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Docket: HHS-OS-2011-0023
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
the Patient Protection and Affordable Care Act

Comment On: HHS-OS-2011-0023-0002
Group Health Plans and Health Insurance Issuers Relating to Coverage of Preventive Services under
Patient Protection and Affordable Care Act: Amendment

Document: HHS-OS-2011-0023-13999
Comment on FR Doc # 2011-19684



                                Submitter Information
Name: Roneva Monreal


                                    General Comment
Religious freedom is being violated by our government's plan to force all institutions to provide birth
control, sterilization, and abortion coverage under their insurance plans. This is a blatant attack on
some institution's beliefs that each one of these is a violation of the law of God. To provide coverage
for these things is to force them to say one thing but act in another way. Government should NOT
be interfering in these matters. If a person chooses to want these services, they should find another
place of employment or education. It is a matter of personal and religious freedom of choice. The
president and his people need to stop forcing their beliefs on all the rest of us, now!




                                                                                            0045565
